                   EXHIBIT 2




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1               IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
2                        SOUTHERN DIVISION
                          NO. 7:23-CV-897
3
       IN RE:                        )
4                                    )
       CAMP LEJEUNE WATER LITIGATION )
5                                    )
                                     )
6      This Document Relates to:     )
       ALL CASES                     )
 7     ______________________________)
 8
 9                 VIDEOTAPED DEPOSITION OF
10                  REMY J-C. HENNET, PH.D.,
11     a witness herein, called by the Plaintiffs for
       examination, taken by and before Ann Medis, RPR, CLR,
12     CSR-WA, and Notary Public in and for the Commonwealth
       of Pennsylvania, via Zoom Videoconference, at the
13     offices of Motley Rice, 401 9th Street, NW, Washington,
       DC 20004, on Thursday, March 20, 2025, commencing at
14     9:05 a.m.
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1                    A P P E A R A N C E S
2      On behalf of Plaintiff
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4                     MARGARET SCALISE JOHNSON, ESQUIRE
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8                    BY:  LAURA J. BAUGHMAN, ESQUIRE
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12
       On behalf of Defendant United States of America
13
                     U.S. DEPARTMENT OF JUSTICE
14                   BY:  ALLISON O'LEARY, ESQUIRE
                          ALANNA HORAN, ESQUIRE
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                     allison.o'leary@usdoj.com
17                   allana.horan@usdoj.com
18
       Also present via Zoom
19
       Bradley Loy, videographer
20
21
22
23
24
25

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1                             P R O C E E D I N G S
2                                     - - - -
3                    THE VIDEOGRAPHER:           We are now other
4      record.      My name is Bradley Loy.             I'm a
5      videographer for Golkow.              Today's date is
6      March 20, 2025.           The time 9:05.       This deposition
7      is being held at 401 9th Street, Northwest,
8      Washington, D.C., taken in the matter of Camp
9      LeJeune Water Litigation, for the United States
10     District Court for the Eastern District of North
11     Carolina, Southern Division.               The deponent is Remy
12     J.-C. Hennet.
13                   Will counsel please identify themselves.
14                   MR. DEAN:        Good morning.       This is Kevin
15     Dean here on behalf of THE PLG.
16                   MS. O'LEARY:         Allison O'Leary on behalf
17     of the United States.
18                   MS. BAUGHMAN:         Laura Baughman on behalf
19     of plaintiffs.
20                   MS. BOLTON:         Devin Bolton on behalf of
21     the plaintiffs.
22                   MS. HORAN:        Alanna Horan on behalf of
23     the United States.
24                   MS. JOHNSON:         Margaret Johnson on behalf
25     of the plaintiffs.

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1                    THE VIDEOGRAPHER:          Will the court
2      reporter please swear in the witness.
3                       REMY J.-C. HENNET, PH.D.,
4            having been first duly sworn, was examined
5                       and testified as follows:
6                                 EXAMINATION
7      BY MR. DEAN:
8             Q.     Good morning, Dr. Hennet.
9             A.     Good morning.
10            Q.     Did I pronounce your name correctly?
11            A.     Yes, you did.
12            Q.     I'm going to try to always refer to you
13     as Dr. Hennet.         But I've read so much about you in
14     the last several months, it may very be I
15     mistakenly refer to you as Remy, but I don't do so
16     out of disrespect.           Okay.
17            A.     You choose.
18            Q.     Thank you.       You just swore under oath to
19     tell the truth.         Do you understand what that means
20     today?
21            A.     Yes, I do.
22            Q.     And are you having any illnesses today
23     or anything wrong with you that would prevent you
24     from completely responding to all my questions and
25     telling the truth?

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1             A.     I do not.
2             Q.     You're not under any medications or
3      anything like that that would cause you not to be
4      able to testify truthfully?
5             A.     I am not.
6             Q.     From your CV, I believe at least since
7      2020 you've been deposed about three times; right?
8             A.     I would have to look at my CV.
9             Q.     We'll look at that in a minute.                 My
10     point is there's a few typical ground rules for
11     depositions.           First of all, if you feel like you
12     need to take a break at all during the deposition
13     today, you tell me, and I'll be happy to stop and
14     we'll take a break.            I recognize the camera is
15     rolling and a lot of people in the room, but we'll
16     be as informal as we can.              And if need to take a
17     break, you just and I'll stop.                Okay?
18            A.     I will.
19            Q.     If, however, we do take a break, if you
20     would he refrain from talking with the lawyers
21     with regard to your testimony today, I would
22     appreciate that.           Okay?
23            A.     Yes.
24            Q.     Now, sometimes I ask two questions in
25     one.     I'll be honest with you.             It's called a

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1       compound question.             Lawyers may even object.           But
2       what I want to make sure you do today is I ask a
3       question that you understand and you feel like you
4       can respond.          And if I don't, you tell me you
5       don't understand my question, and I'll rephrase it
6       or re-ask it.          Okay?
7              A.     I do understand.
8              Q.     Because I want to be able to rely today
9       on your responses in the sense that you understood
10      my question.          Okay?
11             A.     I understand that.
12             Q.     So if you answer a question and you
13      don't ask me to re-ask it or that you don't
14      understand it, then I'm going to assume you
15      understood my question.             Fair?
16             A.     Fair.
17                    (Hennet Exhibit 1 was marked.)
18      BY MR. DEAN:
19             Q.     Now I'm going to show you what I've
20      marked as Deposition Exhibit No. 1 Dr. Hennet.
21      It's called a deposition notice.                And attached to
22      it is a subpoena.             At the back of the subpoena is
23      a list documents that we asked that you and S.S.
24      Papadopulos & Associates produce to us.
25                    Do you see that list?

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1              A.     Yes, I do.
2              Q.     Now, my first question about that is:
3       Did you bring anything today additional that that
4       was responsive to that subpoena?
5              A.     No.      I don't have anything.
6              Q.     Have you seen that list of items to
7       bring to the deposition attached to the subpoena
8       before today?
9              A.     I have.
10             Q.     Did you personally or anyone at your
11      direction after seeing that subpoena undertake an
12      effort to gather documents?
13             A.     To the extent that we could answer those
14      questions, it was done.             I asked, you know -- I
15      reviewed my files to respond to the subpoena.
16      Everything I did have, I just provided it to
17      counsel.
18             Q.     And when would you have provided that to
19      counsel after receipt of the subpoena?
20             A.     I don't recall when.
21             Q.     Actually, I've got a copy right here
22      myself.     Look at the date of the subpoena.
23                    The original subpoena, it was the middle
24      of February.          I'll get a specific date in just a
25      moment.     But it was sometime in the middle of

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1       February that the subpoena was first served with a
2       deposition notice after we agreed on your date for
3       your deposition.
4                     What my question you to is, that's a
5       little over 30 days ago, 30, 35, 40 days ago.                     Do
6       you know when you responded and provided documents
7       to the Department of Justice to produce in this
8       case after receipt of the first subpoena?
9                     MS. O'LEARY:        Object to the form and
10      foundation.
11                    THE WITNESS:        I do not recall when.
12      BY MR. DEAN:
13             Q.     Now, you said you supplied some
14      materials that you could find or that were
15      responsive.
16                    Did you hand deliver them, or did you
17      send them electronically, a share file?                  Do you
18      remember the delivery method of that information?
19             A.     I do not recall the details of it, but
20      most of it was done, I suppose, electronically.
21             Q.     Did you send an email forwarding the
22      responsive information or a staff member do that?
23             A.     I don't recall who did it.
24             Q.     But either you or someone working at
25      your direction would have sent an email to the

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1       Department of Justice or one of its attorneys
2       saying, hey, here's attached FYI that you asked
3       for or a response to the subpoena.                It would be
4       some sort of general email along those lines;
5       correct?
6               A.    I don't recall.         A lot of the
7       interactions with counsel was, you know, meetings,
8       speaking over the phone or those kind of
9       interactions.
10              Q.    Understood.       But what I'm trying to do
11      is after receipt of the subpoena, which was
12      sometime in February, February 12, 2025 -- you
13      earlier testified you sent information, documents,
14      things that were in response to the subpoena
15      electronically; right?
16                    MS. O'LEARY:        Object to foundation and
17      form.
18                    THE WITNESS:        I didn't say that.          I say
19      some of it was electronic, not all of it.
20      BY MR. DEAN:
21              Q.    And who would have sent it?
22              A.    I don't recall.         It could be me or it
23      could be -- it would have been me, I suppose.
24                    (Hennet Exhibit 2 was marked.)
25

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1       BY MR. DEAN:
2               Q.    Let me go ahead and mark as Exhibit 2
3       something called an objection.              Now, I'm not sure
4       if you've seen this document or not.                  Just for the
5       record and for your benefit, this is what is
6       referred to as a response and objection to
7       Exhibit 1, the subpoena.
8                     Do you see that?
9               A.    I'll look at it.
10              Q.    You can actually go to last page and see
11      it was served on March 14, 2025.               It's not
12      important necessarily that you go through it.                       I
13      don't have any specific questions for you.                    You
14      can glance that you it.            I guess I'm trying to see
15      if you had seen it before today.
16                    (Witness reviewed the exhibit.)
17                    THE WITNESS:        It sounds familiar, but I
18      don't recall by memory if I saw this exact
19      document.
20      BY MR. DEAN:
21              Q.    Now, get Exhibit 1 back out, if you
22      don't mind, and turn to Exhibit A that's at the
23      back that has the list of documents, if you don't
24      mind.
25                    MS. O'LEARY:        What page is that?

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1                     MR. DEAN:      Just Exhibit A behind the
2       subpoena.
3       BY MR. DEAN:
4              Q.     Do you see that there's basically 16
5       numbered items over three pages?
6              A.     Yes.     I do see 16 paragraphs.
7              Q.     Now, I'll mark it in a moment, but I
8       received I guess it was last Friday and then last
9       night a supplemental bill, invoice.                   I don't
10      remember the totality of the pages, but they were
11      there was invoices from S.S. Papadopulos &
12      Associates to the Department of Justice for
13      billings in this case.
14                    Do you know what I'm generally referring
15      to?
16                    MS. O'LEARY:        Object to the form
17      foundation.
18                    THE WITNESS:        I can guess, but I don't
19      know exactly what you are referring to.
20      BY MR. DEAN:
21             Q.     I'll show it to you in a moment.                  Let's
22      read together No. 5.           It asks for all bills,
23      invoices or other documents related to payments
24      from the United States or any of its agencies to
25      you, S.S. Papadopulos, or principals or agents of

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1       S.S. Papadopulos relating to any work completed by
2       Remy J.C. Hennet and Alexandros Spilotopoulos.
3                     Do you see that?
4               A.    I see that.
5               Q.    And then No. 6 asks a little -- let me
6       stay on five just for a moment.
7                     When you -- I'll get to a point where we
8       talk about everything you've done to prepare for
9       your deposition, but let's just use yesterday for
10      an example.       I assume you did a little prep work
11      of some sort yesterday.
12              A.    I did.
13              Q.    Now, at the end of the day, did you
14      write down on a note pad your time, or did you go
15      into a computer or a program or something and
16      input your time or someone do it for you?
17              A.    I did not do that yesterday.
18              Q.    But is that normally how you track your
19      time?
20              A.    Normally I track my time daily or
21      sometimes it takes two days.              It depends if I'm on
22      travel or those type of issues.
23              Q.    I'm way behind on my time, so don't feel
24      bad.     Lawyers do the same thing.
25                    How do you keep track of your daily

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1       activities though?          Do you handwrite on a note pad
2       or do you put it into a computer?
3              A.     We have a system.         It's a software
4       system into which we enter basically our time for
5       billing purposes.
6              Q.     And what is that program called?
7              A.     I don't know.        I don't recall the name
8       of it.
9              Q.     It's generic, but there's one called
10      Timekeeper.       You don't remember the name of the
11      computer program?
12             A.     I don't remember the name of the
13      computer program.
14             Q.     Have you in the past -- say you wanted
15      to do a review of your time.              Maybe someone asked
16      you to take a look at your time.               Is that
17      something that you could print out a summary of
18      your time so you can see what you entered into the
19      computer, say, for a month, like last February?
20                    Could you print out your time entries to
21      see what you did in case there was a need?
22             A.     I don't know how to do it, but admin,
23      administration staff is doing that.                   And if I
24      wanted to see something, I would have to request
25      it.

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1              Q.     And who would you go to to request that
2       information?
3              A.     To our administrative person.
4              Q.     And who is that?
5              A.     Her name is Seema, S-E-E-M-A, and she's
6       one of the administrative person that I would
7       request that from.
8              Q.     No. 6 is a similar question, but a
9       little different.          It says all bills, invoices or
10      other documents relating to payments from the U.S.
11      or any of its agencies to you, S.S. Papadopulos
12      principals or agents, related in any way to Camp
13      LeJeune water litigation.
14                    Do you see that?
15             A.     I see that.
16             Q.     It also refers to the CLJ litigation.
17      It refers to the word "remediation" related to
18      Camp LeJeune.
19                    Do you see those?
20             A.     It says from 2004 through the present.
21             Q.     Correct.      My question to you on 5 and
22      6 -- let's go to 5.          Did you respond to No. 5 and
23      send anything or documents to the Department of
24      Justice in response to No. 5?
25             A.     I believe it was done, but via

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1       administration, not me.
2               Q.    And that related to your work on this
3       case?
4               A.    I do not know exactly what was
5       transferred.
6               Q.    No. 6, did you gather any historic
7       documents, bills, invoices or anything related to
8       your time working on Camp LeJeune issues,
9       remediation issues from 2004 to the present?                       Did
10      you send anything to the Department of Justice to
11      respond to No. 6?
12                    MS. O'LEARY:        Object to form.
13                    THE WITNESS:        I did not personally, but
14      admin may have.
15      BY MR. DEAN:
16              Q.    You don't know if they sent documents
17      responsive to 6 or not?
18              A.    I do not know what I could find because
19      we are talking about a long time ago.
20              Q.    No. 7 says all timekeeping and billing
21      records related to time you did any work on Camp
22      LeJeune litigation from the time you or S.S.
23      Papadopulos were first retained, hired or
24      contracted.
25                    Do you see that?

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1                     MS. O'LEARY:        Object to foundation.
2                     THE WITNESS:        I see that.
3       BY MR. DEAN:
4               Q.    Did you or someone S.S. Papadopulos &
5       Associates send any other supporting timekeeping
6       and billing records related to work done by you or
7       S.S. Papadopulos & Associates from the first time
8       you were retained for anything related to Camp
9       LeJeune?      Do you know if you responded to No. 7?
10              A.    Again, that would have gone through
11      admin, administration at SSPA.              That's what I can
12      recall.
13              Q.    With regard to five, six and seven,
14      we've now established that something was sent.
15      You just don't know specifically what it was.                      If
16      it was done, it was through Ms. Seema.
17                    MS. O'LEARY:        Object to form.
18                    THE WITNESS:        I don't know if it was
19      done through Ms. Seema, but I don't know what was
20      sent.
21      BY MR. DEAN:
22              Q.    No. 8 talks about emails.               It says
23      communications, but it's primarily looking for
24      letters or emails between S.S. Papadopulos and the
25      U.S. from 2004 to the present related to any

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1       issues concerning Camp LeJeune, remediation
2       related to Camp LeJeune.
3                       Do you see No. 8?
4                       MS. O'LEARY:      And object to form and
5       foundation.
6                       THE WITNESS:      I see No. 8.
7       BY MR. DEAN:
8               Q.      And you see it asks for stuff back from
9       2004?        Do you see that?
10              A.      I see that.
11              Q.      Did you personally search for documents
12      that were responsive to No. 8 and provide them
13      either to administration to provide to the
14      Department of Justice or you personally remember
15      sending some stuff to the Department of Justice to
16      respond to No. 8?
17              A.      Well, all communications by email was
18      basically for this litigation always with a lawyer
19      present in the conversation, and those
20      communications particularly the lawyers have it.
21              Q.      The lawyers what?
22              A.      Lawyers would have that to the extent
23      that they do exist.
24              Q.      Let's go back to my question.            I
25      understood your answer, but my question was a

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1       little different.
2                     My question was:         After getting this
3       subpoena sometime after February 12, 2025, did you
4       personally go search historic emails, records,
5       communications, letters from 2004 to the present
6       and provide them to the Department of Justice?
7                     MS. O'LEARY:        Object to foundation.
8       BY MR. DEAN:
9              Q.     That was my question.
10                    MS. O'LEARY:        I'm sorry.      Object to
11      foundation.
12                    THE WITNESS:        I don't recall exactly.
13      The issue is can I retrieve things all way 20
14      years back.       Personally, I can't because we have
15      an archive system.          I am not understanding how it
16      is done.
17                    Since then we have changed computer
18      systems.      We've changed location.            So that's not
19      the type of thing that I do.              But it was looked at
20      to see what we could find.             And my understanding
21      is Dr. Spiliotopoulos might have done something.
22      I don't know.         Personally I gave everything I have
23      to the Department of Justice.              That's what I
24      recall.
25

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1       BY MR. DEAN:
2               Q.      Let me go back to my question one more
3       time.        I think I understood it, but I just want to
4       be clear.
5                       You didn't personally undertake an
6       effort to search your computer or any file servers
7       or file folders for emails or other communications
8       as far back as 2004 related to Camp LeJeune
9       issues?        You didn't personally undertake that
10      effort?
11              A.      I looked at what I have on my computer
12      and I gave -- I responded to this the way -- I
13      looked.        What do I have?      I found no email that
14      are old.        Whatever emails that are related to this
15      case were basically always in the presence of
16      counsel, and those were -- counsel has copies of
17      it because they were involved.
18              Q.      I'll use a particular person's name,
19      Scott Williams.         He's a NAVFAC employee.
20                      Does that name sound familiar to you?
21              A.      The same sounds familiar to me.
22              Q.      But I'm just using that as an example.
23      You know that Camp LeJeune Justice Act and this
24      case was formally initiated sometime in the summer
25      of 2022.

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1                     MS. O'LEARY:         Object to foundation.
2                     THE WITNESS:         Can you repeat the
3       question, please?
4       BY MR. DEAN:
5              Q.     Yes.     This case, the Camp LeJeune
6       Justice Act litigation for which we're here today
7       was initiated in the summer of 2022.
8                     MS. O'LEARY:         Object to form.
9                     THE WITNESS:         I don't recall exactly
10      when that would have been initiated.
11      BY MR. DEAN:
12             Q.     Your billing records, which we'll get to
13      in a minute, I think your first invoice was in
14      September of '22.
15             A.     That's possible.
16             Q.     So let's separate.          I want to talk to
17      you about 2004 until June, July, August of '22,
18      that time period.          Okay?
19                    Did you search for any emails,
20      communications, letters between yourself and any
21      government agency, EPA, Navy, Scott Williams?                     Did
22      you search for any old emails between 2004 and
23      July of '22?
24             A.     There are none that I could find on my
25      computer.

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1               Q.    And you said something about them being
2       archived in another location.              You don't have
3       access to it personally.            Can you tell me what
4       you're referring to?
5                     MS. O'LEARY:        Object to foundation.
6                     THE WITNESS:        I would be referring to,
7       for example, reports that I wrote if I did and
8       other documents that were part of the files at the
9       time.
10      BY MR. DEAN:
11              Q.    Do you know anyone that has filed -- let
12      me change it a little.            Withdraw that.
13                    Have you or anyone at S.S. Papadopulos &
14      Associates filed a Camp LeJeune Justice Act claim?
15                    MS. O'LEARY:        Object to foundation.
16                    THE WITNESS:        I have not, and I don't
17      know about -- I don't know what all other people
18      do.
19      BY MR. DEAN:
20              Q.    Do you know of a relative that you have
21      or a friend that has filed Camp LeJeune Justice
22      Act claim?
23              A.    I do not know of any such person.                I
24      want to say I don't know if they did it or not.                      I
25      do not know anybody who did.

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1               Q.      Now, do you remember when you became
2       aware of a Marines military base known as Camp
3       LeJeune?        And you don't have to be on a specific
4       date.        Do you know generally when you first
5       learned?        Is that something you learned in high
6       school or college or after you became a
7       professional?          Do you know when you first became
8       aware there was a Marines base called Camp
9       LeJeune?
10              A.      I do not recall when.          Camp LeJeune is a
11      big important Defense Department facility.                     I read
12      the newspaper.          So I don't know when I would have
13      first heard about Camp LeJeune, per se.
14              Q.      Do you remember when you first might
15      have been hired by any United States government
16      agency or military organization to do any sort of
17      work at Camp LeJeune?
18              A.      Yes.    That would have been around the
19      mid 2005 period.          I know that in 2005 I did work
20      on Camp LeJeune issues.
21              Q.      Do you remember who contracted or hired,
22      reached out to you or S.S. Papadopulos to do some
23      work related to Camp LeJeune?
24              A.      The Department of Justice.
25              Q.      So the first time you were asked do any

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1       work related to Camp LeJeune, as best you can
2       remember as you sit here today, it had to do with
3       the Department of Justice reaching out and saying
4       inquiring about retaining you and your company to
5       do some work?
6              A.     My recollection is that the person who
7       has been -- was contacted for doing work was
8       Gordon -- Mr. Gordon Bennett.              And then I got
9       involved as well.
10             Q.     We'll come back to that in a moment.
11                    (Hennet Exhibit 3 was marked.)
12      BY MR. DEAN:
13             Q.     Let's go ahead and mark your report as
14      Exhibit 3.       I've handed you Exhibit 3.             Can you
15      identify Exhibit 3?
16             A.     The first page of Exhibit 3 is expert
17      report of Remy J.C. Hennet.
18             Q.     And it's dated December 9, 2024.                 Do you
19      see that?
20             A.     That's correct.
21             Q.     At the time you issued this report -- I
22      think your signature on it at the end.                  Your
23      signature is on page 2 of this document.
24                    Do you see that?
25             A.     That's correct.

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1               Q.    And it says it's an expert report of
2       Remy J.C. Hennet, and it's got the style of this
3       case.
4                     Do you see that?
5               A.    Yes, I do.
6               Q.    At the time of your signing this report,
7       do you believe you had all of the information and
8       data in order to provide the opinions that are
9       listed in this report?
10              A.    At the time of my expert report, all the
11      opinions that I expressed in the report were based
12      on the information that I had at that time and
13      before.
14              Q.    And at that time, to the extent you have
15      information and opinions in this report, you had
16      at that time all the information you felt like and
17      documents and data to issue these opinions?
18              A.    Yes, I did.
19              Q.    Now, you issued it December 9.               We're
20      here today on March 20, 2025, about three months,
21      give or take.
22                    Is there any of your opinions in this
23      report that you want to change, take back, modify
24      or add to so that it is correct and complete?
25              A.    All the opinions in my report I stand by

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1       today.       I want to add that in February after my
2       report, I did go back to Camp LeJeune, and I did
3       some measurements that basically -- I performed
4       those measurements.
5               Q.     I believe I remember seeing some of
6       that, and we'll get it to later this morning.                     I
7       think it was the like February 11 that you went
8       back because there's a couple pages of handwritten
9       notes.
10                     Does that sound about right about the
11      date?
12              A.     That's right.
13              Q.     Why did you -- what triggered you to go
14      back to Camp LeJeune to do those measurements you
15      just referred to?
16              A.     A couple of things.         If I recall, there
17      were two affidavits that were basically produced
18      after my report was submitted that described some
19      witness of some operations at Camp LeJeune.                    And
20      that was one element.           And the other element was
21      in the report of Dr. Sabatini, there was a general
22      agreement on the methodologies I applied to
23      calculate losses from the water, losses of the
24      contaminant of concern from water that the
25      parameters of was a disagreement with

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1       Dr. Sabatini, not the methodologies.                  And I
2       wanted -- in particular there was a parameter that
3       I wanted to establish, and I did that.
4              Q.     When you went back on February 11, 2025,
5       that was not the first time you had been on on
6       board Camp LeJeune?
7              A.     That was not the first time.
8              Q.     If I remember correctly some old emails,
9       which I can pull out if I need to, but I think you
10      were involved in some issues related to advising
11      on some remediation issues and were at Camp
12      LeJeune sometime in 2005 for the first time.
13                    MS. O'LEARY:        Objection to form.
14      BY MR. DEAN:
15             Q.     Does that sound about right?
16             A.     I don't recall those.           That's possible.
17      In 2005 I was involved in work for the Department
18      of Justice on issues at Camp LeJeune that it had
19      nothing to do with this case.              It was a different
20      case or different cases.            And that's what I
21      recall.
22             Q.     How many times do you think between 2005
23      and February 11, 2025, when you went back this
24      most recent, how many times do you think you've
25      actually been to Camp LeJeune, ballpark?

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1              A.     I believe -- my recollection is for this
2       particular case here, I went to Camp LeJeune, I
3       believe, three times.           Before that, I don't
4       recall, but it was more than once.
5              Q.     We'll get to the billing records in a
6       little bit, see if we can figure that out.                    But
7       what you're telling me right now as best you
8       remember is somewhere between August of '22 and
9       today, you think you've been there approximately
10      three times?
11             A.     That's what I recall at this moment.
12             Q.     Had you spent the night in the area of
13      Jacksonville, North Carolina while doing some work
14      or meetings at Camp LeJeune those three times?
15             A.     Not the three times.
16             Q.     At least once?
17             A.     Yes.
18             Q.     So you've made three trips.             One of
19      those trips you stayed multiple days or at least
20      two days?
21             A.     I think that's correct.            One of the trip
22      may have spanned over two days.               I believe so.
23             Q.     Before February 11, 2025, had you gone
24      to the Tawara Terrace water treatment plant and
25      taken a look at it?

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1              A.     Tawara Terrace treatment plant doesn't
2       exist anymore.         Anymore I want to add.
3              Q.     I understand.         So you've never
4       physically inspected personally from 2005 to 2025
5       the Tawara Terrace water treatment facility?
6              A.     Not the water treatment facility at
7       Tawara Terrace because it was not there to be
8       visited.
9              Q.     Do you know when the water treatment
10      plant at Tawara Terrace was dismantled?
11             A.     I do not recall when it was dismantled.
12             Q.     But you've personally never been there?
13             A.     In the Tawara Terrace water treatment
14      plant, I've never been in there.
15             Q.     And S.S. Papadopulos & Associates was
16      retained in 2022 to work on this Camp LeJeune
17      litigation case.          You told me that earlier.              Is
18      that fair?
19             A.     That's correct.
20             Q.     And is that first time that
21      Mr. Spilotopoulos started doing some work on this
22      case along with you?
23                    MS. O'LEARY:        Object to foundation.
24      BY MR. DEAN:
25             Q.     For this litigation case.

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1                     MS. O'LEARY:        Same objection.
2                     THE WITNESS:        For this litigation case,
3       I was the one who was contacted.               And I was
4       contacted to evaluate the work that had been done
5       by ATSDR and to basically evaluate whether or not
6       the data that was or the values that were
7       estimated by ATSDR would be quantitatively
8       reliable to provide reliable values for the
9       chemical of concern in the water supply.                   That, as
10      I recall, was basically the task.
11      BY MR. DEAN:
12             Q.     Dr. Spilotopoulos or
13      Mr. Spilotopoulos -- I can't remember if he's a
14      doctor or not; I apologize -- he would have
15      started doing some work on this case, as far as
16      this litigation case sometime in '22 along with
17      you?
18                    MS. O'LEARY:        Object to foundation.
19                    THE WITNESS:        It would have been a
20      little bit after I was involved.
21      BY MR. DEAN:
22             Q.     Fair.
23             A.     That's what I recall.
24             Q.     Between '22 and '25, did he make
25      independent trips to Camp LeJeune separately from

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1       you, if you remember, or was he accompanying you
2       on these two or three times that you went to Camp
3       LeJeune?
4              A.     As far as he's concerned, you will have
5       to ask him.       As far as I am concerned, he was
6       there one time when I was there.
7              Q.     Do you know whether he was able to
8       personally go take a look at Camp LeJeune Tawara
9       Terrace water treatment plant between '22 and '25?
10             A.     Again, Tawara Terrace plant doesn't
11      exist.      So he could not have visited it.
12             Q.     Now, Hadnot Point water treatment plant
13      have, you ever in the last -- since August of
14      2022, have you gone to the Hadnot Point water
15      treatment plant and done any inspection or done
16      any work there?
17             A.     Can you repeat the question?              I didn't
18      catch the time.
19             Q.     Since August of '22.
20             A.     Yes.     I have been there.
21             Q.     And when have you been that?
22             A.     Every time I went to the base, I went to
23      that plant.
24             Q.     So approximately three times?
25             A.     Approximately three times.              That's what

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1       I recall, yes.
2               Q.    And that includes two times before
3       February of '25 and you also went a third time
4       approximately -- we'll look at the records -- on
5       February 11 of this year, you went back to the
6       treatment plant?
7               A.    I went back to the treatment plant, and
8       the other times I also went to the treatment
9       plant.
10              Q.    The other two times -- again dates are
11      not important to me -- was the plant operating?
12              A.    Hadnot Point?
13              Q.    Yes.
14              A.    Yes.
15              Q.    Do you remember if those prior two
16      occasions you did any inspections or take a look
17      at the spiractors?
18              A.    Every time I went to the plant, I did
19      that.
20              Q.    Now, who all from S.S. Papadopulos &
21      Associates has done some work on this case along
22      with you to support your work?              I know about
23      Dr. Spilotopoulos.          Whom else?
24              A.    There were others.          I do not remember
25      each one of them probably because there were quite

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1       a few, I suppose, but I can give you the one I
2       remember.
3              Q.     That's fine.
4              A.     Dr. Soderberg.
5              Q.     Can you spell last name for us?
6              A.     S-O-D-E-R-B-E-R-G.          He's a Ph.D. staff
7       member.     That would be one.          Mr. Saul, S-A-U-L,
8       Allen, A-L-L-E-N.          That would be another one.
9              Q.     Can you give a title or a position as we
10      go through these?          You said Dr. Soderberg.            Is he
11      a principal?
12             A.     He's not a principal, but he's, I
13      believe, an associate.
14             Q.     How about Mr. Allen?
15             A.     He's not a principal.           He's basically
16      our document manager.
17             Q.     Before we go keep going through the
18      list, what is your title at S.S. Papadopulos &
19      Associates?
20             A.     I am a senior principal.
21             Q.     How many senior principals are there at
22      S.S. Papadopulos & Associates approximately?
23             A.     Fully active, there are two.
24             Q.     And who are those?
25             A.     The other one is Dr. Matt Tonkin,

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1       T-O-N-K-I-N.
2              Q.     When you refer to yourself and
3       Mr. Tonkin as senior principals, do you have an
4       ownership interest or a share interest in S.S.
5       Papadopulos & Associates?
6              A.     I do.
7              Q.     And what is the nature of that ownership
8       interest?
9              A.     The ownership structure at my company is
10      basically you have two types.               Every employee has
11      some shares via what is called an ESOP, E-S-O-P,
12      employee-owned stock partnership.
13             Q.     Yes, sir.
14             A.     Then you have the other ownership share
15      types, which are basically -- it's a private
16      company, and other ownership types which is
17      basically -- I don't know how many people have
18      such shares, but 10, 15 maybe.
19             Q.     So what is the nature of your ownership
20      of shares in S.S. Papadopulos & Associates?
21             A.     It's a minority position.
22             Q.     Can you quantify what that minority
23      position is?          So, for example, you said there's
24      two principals, yourself and Mr. Tonkin.
25                    When you say minority, I assume you both

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1       don't own 50 percent of the company; is that fair?
2                       MS. O'LEARY:        Object to foundation and
3       fair.
4                       THE WITNESS:        That's fair.         I want to --
5       we are not the only two principals.                     We're the two
6       full-time senior principals.                You have additional
7       senior principals who are basically retired, but
8       still involved.           And you will you would have that
9       situation.        And the ownership is basically
10      distributed including those people.
11      BY MR. DEAN:
12              Q.      How many is the total?           Yourself and
13      Mr. Tonkin or Dr. Tonkin.               How many others are
14      there that are principal shareholders?
15              A.      Principal?
16              Q.      Yes, sir.
17              A.      Well, you have the one who are
18      semiretired.           They would be senior principals at
19      least.
20              Q.      How many and who are they?
21              A.      Three.
22              Q.      Who?
23              A.      So the first one, the oldest one, if you
24      wish, is still there, still active, not in a full
25      time.        It's Dr. Papadopulos.          Dr. Papadopulos is

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1       the founder of the firm.            He used to be at the
2       USGS and basically started his firm in 1979.
3                     The second one would be Mr. Steve
4       Larson, L-A-R-S-O-N.           He joined Mr. Papadopulos or
5       Dr. Papadopulos shortly after the firm started up.
6       And he also used to be at the USGS.                   Dr. -- Mr.
7       Larson was basically working on the precursor of
8       MODFLOW at the USGS and did some recognized work
9       of that nature.         And then he joined
10      Dr. Papadopulos.
11                    After that, maybe three or four years
12      later, I do not know exactly the timing,
13      Dr. Charles Andrews, A-N-D-R-E-W-S, joined the
14      company.      And basically they are considered the
15      three founders of the company.
16             Q.     And they're semiretired, not full-time
17      principals, I guess, is the best wait you
18      described them; right?
19             A.     That's right.        Different duties.
20             Q.     So those five have a majority ownership
21      interest together?
22             A.     I do not believe so, but I don't know.
23             Q.     Now, did either Dr. Tonkin or any of the
24      other semiretired principals, Dr. Papadopulos,
25      Mr. Larson, Mr. Andrews, did any of them also work

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1       on any issue related to this litigation over the
2       last three years and did some billing that you
3       would know about?
4                     MS. O'LEARY:        Object to foundation.
5       BY MR. DEAN:
6              Q.     Or is it just you?
7              A.     I do not believe that those persons have
8       worked on this case.
9              Q.     So if I see your name on billing records
10      or time records -- not your name, but it says
11      senior principal and those hours that are
12      attributable to that senior principal, the only
13      person that would be to your knowledge would be
14      referring to work yourself did?
15             A.     I believe that's correct.
16             Q.     Now, other than Dr. Soderberg,
17      Mr. Allen, who else has done some work on this
18      case to support you?
19             A.     Right now I don't recall all of them,
20      but, you know, for example, Mr. Cousin, Jim
21      Cousin, C-O-U-S-I-N, has done some work.                   There
22      are others, but I would have check the billing
23      again if I wanted to know exactly.
24             Q.     What billing records would you have to
25      check?

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1              A.     Well, I would ask admin to tell me who
2       worked on that project probably, and I think they
3       would be able to tell me.
4              Q.     They have to pull up some time records
5       or a summary of time records to figure that out
6       for you; right?
7              A.     I don't know exactly how they do it.                  I
8       would expect an answer from them.
9              Q.     There's another name that I've noticed
10      in some of the billing records for some travel
11      whose last name was the same as yours.
12             A.     Yes.     That's correct.
13             Q.     And who would that be?
14             A.     Crystal Hennet, she's a Ph.D., and she's
15      actually my wife.          And on special times when I
16      need support, she has on and off provided some
17      support.
18             Q.     What's her expertise?
19             A.     She's a geoscientist.
20             Q.     What is her title, do you remember?
21             A.     I do not know what her title would be,
22      but she's a scientist, Ph.D.              She would be an
23      external associate, if you wish.               She's not a
24      full-time employee.
25             Q.     So she's not a senior hydrologist or a

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1       project hydrologist?
2              A.     I do not know for sure.            She could be a
3       senior scientist.
4              Q.     How about senior staff hydrologist?
5              A.     I don't know.
6              Q.     So you don't know really as far as the
7       folks that we've now discussed, four people, you
8       don't know exactly what the billing records
9       reflect their position to be specifically?
10                    MS. O'LEARY:        Object to foundation.
11                    THE WITNESS:        At present I do not.
12      BY MR. DEAN:
13             Q.     Anybody else provide any additional
14      support or work on Camp LeJeune that you haven't
15      told me about that you remember as you sit there?
16      I recognize you might have to look at some
17      records, but we've talked Dr. Spilotopoulos and
18      these other four.
19                    Is there anybody else you haven't talked
20      about that you remember?
21             A.     There are others, but specifically the
22      name of them I would not remember right now.
23             Q.     How many employees today does
24      Papadopulos & Associates have active?
25             A.     Active I believe is 60 to 65.

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1              Q.     And are they all located in your offices
2       located -- I believe it's Maryland, isn't it, the
3       address, Rockville?
4              A.     No.     They are not all located in
5       Rockville.
6              Q.     Do you have another office somewhere?
7              A.     Yes, we do.
8              Q.     Where is it?
9              A.     We have more than one.
10             Q.     How many offices does S.S. Papadopulos &
11      Associates have, and where are they located?
12             A.     Well, we have one office in San
13      Francisco.       We have one office in Boulder,
14      Colorado.      We have one office in Waterloo, Canada.
15      And I think that's it as offices are concerned.
16      Some of our employees are basically remote, but
17      those, I don't count those as offices.
18             Q.     I understand.        Do those offices,
19      San Francisco, Boulder, Colorado or Waterloo,
20      Canada, do they focus on any specific area or
21      region of work?
22             A.     The San Francisco office is more dealing
23      with engineering and remediation type of issues,
24      to my general knowledge, because I don't know
25      everything.         The same would be for the Waterloo,

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1       Canada office.         And the Boulder, Colorado office
2       is dealing mostly with water issues.
3              Q.     Let's go to your CV, and it's not --
4       it's the first document, your CV, behind
5       Attachment A, like about a third of the way
6       through.
7                     MS. O'LEARY:        Are you on Exhibit 3?
8                     MR. DEAN:      Exhibit 3.
9                     MS. O'LEARY:        If we have a stopping
10      point sometime soon, we've been going for about an
11      hour, can we stop soon?
12                    MR. DEAN:      Yep.     Let me ask these next
13      couple questions, and we'll stop.
14      BY MR. DEAN:
15             Q.     Do you have your CV in front of you?
16             A.     I have the CV attached to my report in
17      front of me.
18             Q.     I believe the CV, it was attached when
19      the report was issued in December '24.                  My
20      question to you is:          Do you still believe that
21      this CV is correct and complete, or is there
22      anything you need to add to the CV?
23                    MS. O'LEARY:        Object to foundation.
24                    THE WITNESS:        Well, the CV is complete.
25      It contains examples of what I have done, not

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1       everything I have ever done.
2       BY MR. DEAN:
3              Q.     Understood.
4              A.     As well as the CV is limited to
5       deposition experience for the last four years or
6       five years, whatever.
7              Q.     That's what I was going to ask you on
8       this question.          Then we'll take a break.            It is
9       showing three depositions that you've been
10      involved in over the last four years.
11                    Has there been any others since
12      December?      Have you given a deposition since last
13      December that this three would be incorrect?
14             A.     Not since December.
15             Q.     So the past four years, you've had three
16      depositions.          Have you provided some deposition or
17      trial testimony before 2020?
18             A.     Yes, I have.
19             Q.     Do you remember approximately how many
20      times?
21             A.     Depositions or trial --
22             Q.     Both.
23             A.     -- testimony.         To the best of my
24      recollection, over my career, that would include
25      whatever is in the CV, I testified in court either

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1       front of a judge or a magistrate about a dozen
2       times.      As far as depositions are concerned, the
3       best of my recollection would be about three dozen
4       times.
5              Q.     Any trials since 2020?
6              A.     No.     It is not in my CV.         I have no
7       trials since 2020.
8              Q.     I just wanted to to clarify and confirm.
9                     MR. DEAN:      We'll take a break right now
10      if you'd like.
11                    THE VIDEOGRAPHER:         We are off the record
12      at 1004.
13                    (Recess from 10:04 a.m. to 10:15 a.m.)
14                    THE VIDEOGRAPHER:         We are on the record
15      at 1015.
16      BY MR. DING:
17             Q.     Let's jump to a little bit different new
18      topic.      We may jump around a little bit today.
19      That's just how I roll.            Okay?
20                    What did you do to prepare for your
21      deposition today?
22             A.     Today basically nothing today.               But to
23      prepare for the deposition, I did prepare, of
24      course, but not today.            Yesterday and before that.
25             Q.     Let's break it down.          Who have you met

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1       with in the past 30 days to prepare for your
2       deposition?
3              A.     To prepare for my deposition I met
4       yesterday with counsel, counsel who are present
5       here today.       And before that, we had conference
6       calls, maybe two or three times, in which we did
7       address some issues of deposition, but the
8       conference calls were not uniquely on depositions.
9       That is what I recall for the last 30 days.
10             Q.     Since July or August of '22, since you
11      started doing work in this specific case, other
12      than the Department of Justice lawyers, have you
13      met or had any phone conversations with any
14      Marines, Navy personnel, NAVFAC personnel, other
15      federal government agencies to find out
16      information or to have a conversation about
17      something that might be needed for your work?
18             A.     Not that I can recall.            Any such
19      interaction would have been through counsel.
20             Q.     So, for example, I know you were at the
21      base in May of '24.           It's, in your opinion, report
22      and it shows some photos and there's a little date
23      May of 2024.          I'm using that simply as an example
24      so you understand where I'm going with this.
25                    I'm just trying to find out if you

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1       interacted with any nonlawyers in the past two and
2       a half years either, in person or by phone, about
3       issues related to Camp LeJeune.               Counsel might
4       have been present.          And I'm not asking what
5       necessarily was discussed.             I'm trying to find out
6       if there was other individuals, nonlawyers, that
7       might have been at the May '24 inspection or that
8       you've had conversations with over the last couple
9       years.
10             A.     Counsel was always present during those
11      visits, and there were people from the base that
12      were there.       And those people would be there to
13      give us a tour and explain where we were and so
14      on.    They would occasionally answer questions that
15      were asked.
16             Q.     So can we agree on this, that at least
17      over the past two years, you don't remember having
18      any phone calls with any nonlawyers for any
19      purpose related to this Camp LeJeune work?
20             A.     There was no phone calls that would be
21      with base personnel or so without the presence of
22      a lawyer there.
23             Q.     That's what trying to figure out.                Have
24      you had any phone conversations in the past two
25      and a half years for which a nonlawyer was on the

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1       phone representing the base or any U.S. agencies
2       and DOJ lawyers were also on the call?                  That was
3       my question, if you remember.
4              A.     I don't remember any.
5              Q.     Now, those several times you were on the
6       base, you've indicated that there were some base
7       representatives, nonlawyers that were present that
8       you my question interacted with; right?
9              A.     That's correct.
10             Q.     Do you remember who they were?
11             A.     I do not remember who they were.                I do
12      not remember their names, perhaps with the
13      exception of the one you mentioned before who I
14      don't remember the name of right now.
15             Q.     Scott Williams?
16             A.     Scott Williams.         Because he was there to
17      basically provide a tour.             Basically just the
18      times I was at the base for this case, he was
19      there for at least a part of it.
20             Q.     Let's talk about these visits on base as
21      far as locations that you went.               I've only been on
22      the base I think once, maybe twice, and I went to
23      something referred to as the cages or a cage.                     It
24      was a big warehouse and it had some documents in
25      it, some boxes and boxes of documents.                  I'm using

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1       that as an example.
2                     Where on the base have you generally
3       been to to do anything related to your work at
4       Camp LeJeune to the best of your recollection on
5       those three visits?
6              A.     To the best of my recollection, the
7       visits all together included a thorough visit of a
8       large portion of the base, where we were allowed
9       to go because I believe that you may have sections
10      of the base where you cannot go unless you have
11      some clearance or something like that.                  That's
12      what I recall.         But we went to many places with
13      basically a focus on the water treatment plant,
14      the wells and issues that are basically of
15      relevance to what I did.
16             Q.     So those three times, and just use this
17      as an example, you'd pull up to the gate.                   Someone
18      would meet you there, maybe Scott Williams or
19      others.     You'd all get in a car and you've ridden
20      around Hadnot Point in a car; right?
21             A.     In a bus.
22             Q.     In a bus?      Car wasn't big enough for all
23      the people; right?
24             A.     At least on two visits.
25             Q.     Rode around Hadnot Point observing

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1       whatever it may be that you all were looking at;
2       right?
3               A.    We were just basically just performing a
4       site visit, that's right.
5               Q.    Do you remember getting off the bus to
6       walk into a building to do any sort of an
7       inspection or take measurements or do anything
8       other than the water treatment plant?
9               A.    We were doing site visits, and that
10      included going into certain buildings.
11              Q.    Do you remember which buildings you went
12      into?
13              A.    I do not remember the number of the
14      buildings.       Each building has a number.             The only
15      one I remember is where we went to eat.
16              Q.    Where was that?
17              A.    I think it was the officer compound.
18              Q.    Do you know what Building 20 is?
19              A.    Yes, I do.
20              Q.    What is Building 20?
21              A.    That's Hadnot Point water treatment
22      plant.
23              Q.    Do you know what the Building 900 series
24      are?
25              A.    Yes, I do.

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1              Q.     And have you been to the Building 900,
2       901, 902, 903 area?
3              A.     For this litigation, I have been not
4       been inside those buildings.
5              Q.     Did you go in any buildings while you
6       were there for those three occasions to look at
7       documents or to see if you could locate
8       information that might be helpful to your work in
9       the case?
10             A.     I recall that we went into the building
11      you're describing, I believe, before where you
12      have basically locked documents, boxes of
13      documents.       I recall we went into that building.
14             Q.     Did you go through any boxes, look at
15      any documents and pull anything out or flag
16      anything for someone to provide to you?
17             A.     No.
18             Q.     Now, we'll get to it in a moment about
19      your reference list, and there's quite a lot of
20      materials listed that.            I guess why I'm asking it
21      now is the only way in which you've received
22      information and documents -- let's confine it to
23      documents in this case is from the Department of
24      Justice and their counsel?
25             A.     For documents, I believe that's correct,

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1       for documents related to the base.
2              Q.     Did you have any historical documents
3       that you had prior to July, August of '22, any old
4       files or old working documents, maps, whatever it
5       may be, reports that you might have used prior to
6       '22 that you used and looked at in this case?
7              A.     Well, my understanding is that all the
8       documents that I had seen before for the base were
9       included into what was basically available for
10      this case.
11             Q.     So if it's on your reference list, it's
12      complete as far as you know as you sit here today?
13             A.     What is on the reference list in my
14      report is what supports my report.
15             Q.     Do you have other documents in your
16      files or old computers at S.S. Papadopulos that
17      related to Camp LeJeune that you have referred to,
18      reviewed or relied upon that are not listed?
19                    MS. O'LEARY:        Object to foundation.
20                    THE WITNESS:        I do not believe so as far
21      as the way the question was phrased.
22      BY MR. DING:
23             Q.     The reason I ask it was just simply to
24      make sure you and I understand one another and
25      that your reference and reliance materials, which

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1       we'll get to in a minute, that list is complete
2       and there's not something that's not on that list
3       that's back at your office or on a computer that
4       you reviewed that was maybe in a historical file
5       that you already had and it's something that
6       you've reviewed or relied upon that also supports
7       and it's just not listed.             That's why I asked you
8       the question.         Okay?
9                     MS. O'LEARY:        Object to form.
10                    THE WITNESS:        I understand the question.
11      And there is information that I collected after my
12      report that we discussed previously that
13      particularly is not in my report because it didn't
14      exist at the time.
15      BY MR. DING:
16             Q.     Understood.       Agreed.     That's your
17      supplemental materials, which we'll get to in a
18      moment.
19                    Other than that, you're not aware of
20      anything else historical in your files that you
21      reviewed or relied upon that are not listed?
22             A.     I cannot think of any documents that
23      relate to the base.
24             Q.     So what do you consider or how would you
25      define your expertise as a professional?

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1              A.     That is described in my CV.
2              Q.     Understand.        Are you a fate and
3       transport expert, groundwater expert, hydrologist?
4       How would you classify your general area of
5       expertise?
6              A.     I am a geochemist.           I have a
7       hydrologist.          I am a geologist.        And in each of
8       those disciplines, I have university degrees.
9       That's basically what describes my education, if
10      you wish.
11             Q.     Your registrations and/or licenses are
12      listed.     There's two of them on your CV,
13      geoscientist in Texas and a certified professional
14      geological scientist for the American Institute
15      for Professional Geologists; correct?
16                    MS. O'LEARY:         Object to foundation.
17                    THE WITNESS:         Licenses and
18      certifications, I believe that's complete.
19      BY MR. DING:
20             Q.     And that's complete.           So, for example,
21      you're not a professional engineer and hold a
22      professional engineer's license?
23             A.     I am not a professional engineer.
24             Q.     Do you have you ever served on a
25      peer-review committee?

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1              A.     Yes, I have.
2              Q.     Are there any that you've served on that
3       are related to any of the issues involved in this
4       case related to water contamination?
5              A.     It was related to water contamination.
6              Q.     What was that generally just so we have
7       identification?
8              A.     For example, the one I am thinking and
9       recalling right now was dealing with fuel issues
10      and PCB issues at many sites.
11             Q.     What sites were they?           What was the
12      project referred to or the papers?
13             A.     It was an expert panel on that topic
14      that dealt with groundwater contamination by fuel
15      compounds as well as PCBs, and that was actually
16      across the country along a pipeline that had
17      basically stations.          And most of the one where the
18      issues were the most looked at, if you wish, was
19      Pennsylvania.         That's what I recall.
20             Q.     Did it have another location more
21      specific than Pennsylvania that it was referred
22      to?
23             A.     There would be many stations within
24      Pennsylvania because the pipeline at the level of
25      the entire country is basically, you know...

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1              Q.     Was that Hudson Valley?
2              A.     That one was not Hudson Valley.
3              Q.     Who was the committee that asked you to
4       do the peer review for the one you're just
5       referring to in Pennsylvania?
6              A.     It was a panel that was doing actually
7       peer review of what existed at the time as well as
8       conducting some research for the panel.
9              Q.     Did you do the report, do a report or is
10      there anything that's publicly available about
11      this peer review?
12             A.     I do not know about publicly available.
13      But there were several reports, and I was one of
14      the contributors.          I was not the only one on the
15      panel.
16             Q.     Is it listed in your CV?
17             A.     I believe it's with one of the clients
18      listed there in the paper.
19             Q.     Who was the client involved in the one
20      you're referring to in Pennsylvania?
21             A.     At the time, I recall the client was
22      Texas Eastern.
23             Q.     Are you a member of the National Academy
24      of Engineering?
25             A.     I am not.

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1              Q.     Have you ever served on any editorial
2       boards for any publications?
3              A.     Not editorial boards.
4              Q.     Now, remind me again when you first came
5       to S.S. Papadopulos & Associates, the year
6       approximately.
7              A.     That was 1989.
8              Q.     So you've spent pretty much the entirety
9       of your professional career affiliated with S.S.
10      Papadopulos & Associates; is that fair?
11             A.     As a consultant, that's correct.                And
12      before that, I was in research more in the
13      academic world, if you wish.
14             Q.     Has all of your work for any issue going
15      back as far as you can remember as far as
16      compensation for services rendered by yourself
17      been through S.S. Papadopulos?              Let me tell you
18      why I'm asking that.
19                    Do you have any other entity that you
20      own or affiliated with that has in the past done
21      any work related to Camp LeJeune to your
22      knowledge, or has it always been through S.S.
23      Papadopulos & Associates?
24                    MS. O'LEARY:        Object to form.
25                    THE WITNESS:        It has always been through

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1       S.S. Papadopulos & Associates and the Department
2       of Justice.
3       BY MR. DING:
4              Q.     So have you done -- let's use, for
5       example, and we'll just talk 50,000 feet on the
6       ATSDR water modeling and health studies at Camp
7       LeJeune.
8                     You know that there was a component of
9       it that involved water modeling and then that
10      water modeling component was then utilized on the
11      health side to do some health studies.
12                    MS. O'LEARY:        Objection to foundation.
13      BY MR. DING:
14             Q.     Correct?
15             A.     That's my general understanding.
16             Q.     Is this the first time you've done any
17      work where you've looked at and reviewed and
18      commented on the water modeling and how it may or
19      may not impact activities on the health side, or
20      is there some other projects you've have worked on
21      in the past that are similar?
22                    MS. O'LEARY:        Object to form.
23                    THE WITNESS:        This case, this present
24      case is the first time I was asked to evaluate the
25      results of the ATSDR models both for Tawara

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1       Terrace and Hadnot Point as far as the reliability
2       of the estimated values to be quantitatively used
3       for this case.
4       BY MR. DING:
5              Q.     Have you over the past two and a half
6       years rerun any water modeling computer programs
7       to do any water modeling of Camp LeJeune other
8       than what might be identified, disclosed in your
9       report?
10             A.     I have not.
11             Q.     Do you know anybody at S.S. Papadopulos
12      & Associates that's done any additional water
13      modeling computer work related to Camp LeJeune at
14      your direction or with your knowledge?
15             A.     I know that Dr. Spilotopoulos has
16      basically run the ATSDR model as part of his
17      evaluation of the models.             We have two models.           He
18      did that.      I didn't do that.
19             Q.     And do you have any comment about his
20      work on that, or do you defer to him about his
21      work and his opinions about it?
22                    MS. O'LEARY:        Object to form.
23                    THE WITNESS:        I have reviewed the model
24      inputs and basically all the materials that are
25      supporting the decisions or the assumptions that

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1       ATSDR has brought into the model, especially
2       because there is very little data to predict what
3       happened 35 years ago, 35 years before 1985.                     And
4       I have reviewed the parameters.               I have compared
5       the parameters in the models.              I have done that
6       because that's something I do as a geochemist.
7       BY MR. DING:
8              Q.     Any comment or opinion about those
9       reviews?
10                    MS. O'LEARY:        Object to form.
11      BY MR. DING:
12             Q.     You personally or do you defer to
13      Dr. Spiliotopoulos?
14                    MS. O'LEARY:        Object to form.
15                    THE WITNESS:        I have not run the models.
16      He did.     So I have no opinion or comment on that,
17      but I have reviewed.
18      BY MR. DING:
19             Q.     Understood.       Have you ever, yourself,
20      performed any historical reconstruction or hind
21      casting using any sort of groundwater modeling
22      tools to reconstruct historical mean monthly or
23      concentration data?
24                    MS. O'LEARY:        Object to form.
25                    THE WITNESS:        Well, there have been

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1       cases where a question like that will be asked.                      I
2       remember one case where I did participate and that
3       was to reconstruct basically some certain
4       chemicals concentration, and that was based on
5       estimates.        And I recall having participated to
6       that.        And you had data and that was -- that's
7       what I recall.
8       BY MR. DING:
9               Q.      Do you remember the name of that project
10      or the client or anything like that?
11              A.      I don't remember the details or the
12      client of that, but it was related to uranium
13      mining.
14              Q.      Uranium mining?
15              A.      That's my recollection.
16              Q.      And location?
17              A.      I believe it was in New Mexico, that
18      one.
19              Q.      And timeframe, if you remember?
20              A.      I don't remember the timeframe, but it
21      was maybe 2000.
22              Q.      As a result of that work, was a
23      concentration -- reconstructed values calculated
24      using that groundwater modeling work that you
25      participated in?

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1                     MS. O'LEARY:        Object to form and
2       foundation.
3                     THE WITNESS:        I was doing geochemistry
4       in that, and I do not recall door if there was --
5       there was no complex monitoring done.                 It was, you
6       know, more like -- if I recall, it was a very
7       large pile of tailings, and the question was, all
8       right, where does it go from the tailings.
9       BY MR. DING:
10             Q.     So go back to my first question and
11      understanding what you just testified to about.
12                    Other than Camp LeJeune work, have you
13      ever worked on any other project whose goal was to
14      determine and measure human exposure or dose to
15      toxins and contaminants?
16             A.     Right now, I can not really remember
17      specific ones, but as a geochemist, what my
18      expertise is in is to understand the origin, fate
19      and transport of contaminants in the environment.
20      That's what I do basically.             That's what I've been
21      doing all my research years and professional
22      years.
23             Q.     Have you ever in history utilized and
24      relied upon the ATSDR water modeling results to
25      support any work you've done in any other case or

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1       any other project?
2                     MS. O'LEARY:        Object to form.
3                     THE WITNESS:        Could you repeat the
4       question?      I missed the first part.
5       BY MR. DING:
6              Q.     Have you in any other historical
7       activities prior to August of '22 ever utilized
8       and relied upon the ATSDR water modeling chapters,
9       conclusions and work to do work in some other
10      matter?
11             A.     In other cases and this case, the ATSDR
12      models were used by others.             I was not tasked to
13      review the model.          And I may have cited to what
14      ATSDR has done at the time without having had done
15      what I have done for the purpose of this
16      particular case, which was to evaluate whether or
17      not the values or the estimated values that ATSDR
18      is presenting with the model could be
19      quantitatively reliable to provide concentrations
20      of the chemical of concern in this case over a
21      long period of time.
22             Q.     So go back to my question.              My
23      question -- I'll ask it a little different,
24      because you seem to affirmatively say you've
25      referred to it in the past and maybe cited to the

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1       report in some other work in the past.
2                     Do you remember what occasions those
3       were?
4               A.    I would have to look at it.             There was a
5       case that I did work.           I don't remember exactly
6       the timing of it, but I believe it's called the
7       Washington case or something like this.                  And I
8       worked on that.         Because it was related to
9       contamination at Camp LeJeune, I probably referred
10      to the ATSDR work.          But I had not done a review
11      that I conducted for this as far as reliability of
12      the work for quantitative views of concentrations
13      in the context of this project.
14              Q.    We'll call it Washington, and we'll come
15      back to it later in more detail.               But you believe
16      it's scientifically valid or you did at the time
17      to cite to a -- cite to this ATSDR water modeling
18      project or refer to it without ever having
19      analyzed whether it was scientifically reliable at
20      the time you relied on it?
21                    MS. O'LEARY:        Object to form and
22      foundation.
23                    THE WITNESS:        Me citing to it, if I did,
24      doesn't mean that -- doesn't mean that -- doesn't
25      explain what I have done to review it.                  I just

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1       mention that it does exist.
2       BY MR. DING:
3               Q.    But you believe in the context of an
4       expert witness it's okay for you to cite to, refer
5       to, rely upon the ATSDR water modeling in this
6       prior activity without knowing whether or not at
7       that time it was scientifically reliable?
8                     MS. O'LEARY:        Object to form and
9       foundation.
10                    THE WITNESS:        It all depends what is the
11      task and the purpose of the citation.
12      BY MR. DING:
13              Q.    Well, did you at the time -- who
14      retained you in the Washington case?
15              A.    As I recall, it was the Department of
16      Justice.
17              Q.    Mr. Bain was your contact at that time?
18              A.    Probably.
19              Q.    Did you recommend in that case the need
20      to analyze the model in order for you to provide a
21      scientifically reliable opinion in the Washington
22      case?
23              A.    Without seeing the report to refresh my
24      memory, I don't know.
25              Q.    As you sit there -- I'll show you the

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1       report later on -- you don't remember advising
2       Mr. Bain at the Department of Justice the need for
3       you to do a deep dive into analyzing the model at
4       the time you were referring to it back then as
5       best you remember right now?
6              A.     Again, I will have to see the report.
7                     (Hennet Exhibit 4 was marked.)
8                     MR. DING:      For the record, I've handed
9       the witness Exhibit 4, which are the billing
10      records, I believe it's around 42 pages or
11      thereabouts, received a week and a half ago and
12      I've also supplemented Exhibit 4 and added the
13      additional bill we received last night for
14      February of 2025, so the record is clear.                   Okay?
15      BY MR. DING:
16             Q.     I understand, obviously, March is not
17      over with, so the March bill, invoice, time
18      records, those haven't been finalized; correct?
19             A.     Yes.
20             Q.     Now, a couple things I want to ask you
21      about on these Exhibit 4 billing records.                   Take a
22      look at the first page.            In the top right-hand
23      corner, it says the project name DOJ_CL_2022.
24                    Do you see that?
25             A.     I see that.

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1              Q.     And that's what you referred to as the
2       project name for your and the S.S. Papadopulos
3       work on the Camp LeJeune litigation since '22?
4              A.     That's an internal name.
5              Q.     Project number is 1817.            And then it
6       refers to a PO number.            What does that mean?           What
7       does PO number mean?
8              A.     I guess it's a project order number.
9       This number is probably from the DOJ.                 I do not do
10      admin.      So that's what I would guess.
11             Q.     Is it a purchase order number?
12             A.     I believe that would be right, yes.
13             Q.     Is there a document that's referred to
14      as a purchase order that's got this number on it
15      somewhere that ends in 502?
16             A.     Personally I don't know, but it must be
17      because it is written here.
18             Q.     And did you gather that document and
19      provide it to the Department of Justice?
20             A.     If it comes from the Department of
21      Justice, I must have it.            Personally, I do not to
22      admin.
23             Q.     So you didn't and you don't believe
24      admin sent that purchase order over to the
25      Department of Justice in response to the subpoena?

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1                     MS. O'LEARY:        Object to foundation.
2       BY MR. DING:
3              Q.     Because you assumed they already had it?
4                     MS. O'LEARY:        Object to foundation.
5                     THE WITNESS:        I do not know.
6       BY MR. DING:
7              Q.     Under the comments on the left side
8       there a little further down, it says DJ File
9       Number.     What does DJ stand for?
10             A.     I am not sure.        I do not know.         Again,
11      it is admin.
12             Q.     Then it says DOJ contract
13      #2W-CIV-03-0513.         Do you see that?
14             A.     I see that.
15             Q.     Is there a written contract of some sort
16      that that contract number is referred to that's in
17      possession of you or S.S. Papadopulos &
18      Associates' records?
19             A.     Probably.
20             Q.     Did you gather that contract and provide
21      it in response to the subpoena and provide that
22      contract to the Department of Justice to produce
23      to me?
24             A.     My understanding is if it's contract
25      with the Department of Justice as you describe it,

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1       the Department of Justice has it.
2              Q.     Again, I agree with you.                You didn't,
3       however, in response to the subpoena supply that
4       document to the Department of Justice because you
5       assumed they had it and would produce it if
6       needed?
7                     MS. O'LEARY:        Object to foundation.
8       BY MR. DING:
9              Q.     Is that fair?
10             A.     That would have been through admin, and
11      I don't do admin.
12             Q.     Now, if we look down below this on the
13      first page -- and if you want to, you can glance
14      through -- we'll look at a few pages together.
15      How about we just do it that way.
16                    Do you see it says Professional
17      Services, and under Employee Type there's some
18      positions, for example, senior principal, but
19      there's no names, specific names?
20             A.     I see that.
21             Q.     And you told me earlier, as best you
22      know, you're the only senior principal.                     So when
23      it refers to senior principal, that would be
24      Dr. Hennet?
25             A.     That's my understanding, yes.

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1               Q.    And it says two hours.           We don't know
2       what you did for two hours looking at this
3       document, but you did key in on a computer,
4       timekeeping computer program what you did for
5       those two hours?
6                     MS. O'LEARY:        Object to foundation.
7                     THE WITNESS:        Well, maybe, maybe not,
8       because it's not done always the same way.                    And my
9       recollections is our accounting system or the way
10      we enter time has been basically changed or
11      upgraded.      It appears to be upgraded relatively
12      frequently.       So I don't remember the situation
13      then.
14      BY MR. DING:
15              Q.    Does Papadopulos & Associates send this
16      one-page invoice that you see on Exhibit 4, that
17      first page, because the second page is for a
18      different month.         Do you see that?         The one on the
19      back of the first page is a different month.                     So
20      the one ending 9/21/22 is just a single page
21      ending in Bates-stamp CLJA_SSPA_INVOICES_1.                    Do
22      you see that?
23              A.    You have to help me here.
24              Q.    Do you see that the invoice is a single
25      page for the Bates-stamp that I provided?

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1                     MS. O'LEARY:        You're on the first page
2       of Exhibit 4?
3                     MR. DING:      Yes.
4       BY MR. DING:
5              Q.     Exhibit 4, page one is a single-page
6       invoice?
7                     MS. O'LEARY:        Object to foundation.
8                     THE WITNESS:        This is a single-page
9       document.
10      BY MR. DING:
11             Q.     Is that for the month -- it's dated 9/21
12      and it says it's for services rendered through
13      August 31, 2022.         Do you see that?
14             A.     I see that in the middle there, yes.
15             Q.     And this is the first invoice you and I
16      are looking at that I have; correct?
17                    MS. O'LEARY:        Object to foundation.
18                    THE WITNESS:        I will take your word for
19      it.
20      BY MR. DING:
21             Q.     Do you know whether or not when this
22      invoice -- it says it's being -- the client and
23      the address there at the top left is Branch Chief,
24      Finance and Accounting under U.S. Department of
25      Justice.      Do you see that, and an address, PO box?

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1              A.     I can read that, yes.
2              Q.     Is this one-page invoice the only thing
3       that is sent to the Department of Justice for
4       payment of this invoice, or does it have
5       attachments when it goes that itemizes the time
6       that's shown on the summary?
7              A.     I don't know.
8              Q.     Who would know that?
9              A.     Admin.
10             Q.     The Department of Justice receiving this
11      invoice would also know that, wouldn't they?
12             A.     I don't know.
13                    MS. O'LEARY:        Object to foundation.
14      BY MR. DING:
15             Q.     Do you understand it's your obligation
16      as an expert as part of the federal rules to
17      specifically provide open and complete information
18      about your billing in a case like this?                  Are you
19      aware of that?
20                    MS. O'LEARY:        Object to form and
21      foundation.
22                    THE WITNESS:        This is administrative.
23      BY MR. DING:
24             Q.     I'm asking you are you familiar with
25      what's called Rule 26 and an expert's obligation

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1       to provide open and detailed billing records in
2       litigation?
3                     MS. O'LEARY:        Object to form and
4       foundation.
5       BY MR. DING:
6              Q.     Are you aware of that?
7              A.     I am generally aware of Rule 26, but
8       specifically -- but, you know, my firm gets a
9       contract with the Department of Justice.                   I don't
10      do the billing.         So I don't know if it has one
11      page, two pages or 20 pages.              I do not know that.
12             Q.     Would you agree with me it's your
13      obligation, all experts' obligations to provide as
14      much detail and all information about their
15      compensation and billing to the opposing side in
16      response to what we refer to and you refer to as
17      Rule 26?
18                    MS. O'LEARY:        Object to foundation.
19                    THE WITNESS:        I do not know.        We do
20      abide by everything because when you work with the
21      Department of Justice, you have to abide by
22      everything, and we do.
23      BY MR. DING:
24             Q.     Now, if you look through these invoices
25      or this one page, it says the initial budget at

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1       the bottom left-hand corner was $100,000.
2                     Do you see that?
3              A.     I do.
4              Q.     And then if you flip through it to the
5       invoice that's Bates-stamped page 6, so there will
6       be a 6 at the end of the page, do you see that the
7       behind casting changed 611,664?               Do you see that?
8              A.     Where is it on the page?
9              Q.     Bottom left, Project Summary.
10             A.     Yes.     I do see that.
11             Q.     Do you remember and can you tell me why
12      it went from a $100,000 budget to a budget of
13      $611,664?
14             A.     I don't recall the details of it, but
15      this is typical of a project like this.                  The first
16      phase is to evaluate, to do a first evaluation of
17      an understanding what the cases is about, do a
18      first evaluation of certain aspect of it.                   And I
19      am typically required or requested, if you wish,
20      to provide an estimate of how much it would cost
21      to provide services.
22                    And I do a best estimate by saying I
23      would need a team to do this because I cannot do
24      it all by myself.          It's too many documents, too
25      much to do.       And then I provide my best estimate

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1       of how much it would cost.
2              Q.     To do XYZ?
3              A.     To do the project up to a certain --
4       typically it's what will it cost for a year, for
5       example.
6              Q.     Is there a document that you use to
7       provide that estimate?            Is it called a budget, or
8       is it called something else?
9              A.     It is my budget estimate, and that's
10      what my budget estimate is and I believe --
11             Q.     How do you transmit that budget estimate
12      to the Department of Justice for approval?                    Is it
13      a letter?      Is it email?        Is it a report?         Is it a
14      budget?      What do you remember refer to it as?
15             A.     I do not recall about this one in
16      particular.       I do not recall how it was that.                But
17      obviously, it was transmitted to the DOJ whether
18      by phone or by -- in some manner.                Again, I do the
19      budget estimate.
20             Q.     I think we've got enough here on this
21      issue.      Then I'll move on.         You don't remember
22      specifically the mode of the transfer of the
23      information, whether it went from accounting,
24      whether was a formal budget document, an email or
25      a phone call, to provide the budget estimate of

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1       $611,664?
2              A.     I do not know the detail for this
3       particular thing, but there is an estimate
4       somewhere.       And I am typically the one who would
5       do such an estimate.
6              Q.     And does the process work you send the
7       estimate over to the Department of Justice and
8       they approve or sign off on it and then you
9       proceed with whatever work that's been authorized?
10             A.     It's a budget request, and it is
11      evaluated.       And then if it was approved, we
12      probably get a green light that it is approved.
13      And then we'll probably have a meeting to explain
14      what we thought should be done.               And that's the
15      way it works for most cases like this.
16             Q.     Now, turn to page 19.
17             A.     By that you mean the Bates number?
18             Q.     Yes, sir.      Do you see at the bottom of
19      the Bates-stamped page 19 the budget under Project
20      Summary on the left at the bottom says $611,664?
21             A.     I see that.
22             Q.     Turn to the next page, 20.              And does it
23      reflect that the budget is changed between
24      November and December of '23 to a budget an
25      approved budget of the $1,216,284?

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1              A.     I see that.
2              Q.     If you turn to page 25, Bates-stamped
3       page 25, bottom left has that budget now in March
4       of '24 increased to $1,466,224?
5              A.     I see that.
6                     MS. O'LEARY:        Object to foundation.
7       BY MR. DING:
8              Q.     If you flip to page 33 or Bates-stamped
9       page 33.      Let me know when you're there.
10             A.     I see that, yes.
11             Q.     Under the Project Summary, column left
12      has the budget now increased in September of
13      $1,716,284?
14             A.     I see that.
15             Q.     If you turn to the top of page
16      Bates-stamp page 37, on December 23, 2024, do you
17      see under the column Budget on page 37 or
18      Bates-stamped 37, the budget has increased to
19      $1,966,284?
20                    MS. O'LEARY:        Object to foundation.
21                    THE WITNESS:        I see that.
22      BY MR. DING:
23             Q.     And that was approved by the Department
24      of Justice at some point in time; right?
25             A.     I suppose so.

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1              Q.     If you turn to be Bates-stamped page 40.
2              A.     I am there.
3              Q.     On January 17, 2025, invoice No. 27034
4       at the top of the page Bates-stamp 40, did the
5       budget increase to 2,216,275.50?
6              A.     I see that.
7              Q.     And if you turn to the supplemental
8       Bates-stamp and Allison, I don't know how you want
9       me to refer to it.          I made it as one exhibit.             I
10      don't know if you're going to Bates-stamp it 43.
11                    MS. O'LEARY:        Can you refer to it by the
12      invoice number at the top?
13                    MR. DING:      I can do that.
14      BY MR. DING:
15             Q.     The last page of Exhibit 4, the
16      invoices, I received last night invoices 27513,
17      and it's dated March 19, 2025.              Do you see that on
18      the first page?
19             A.     I see that.       That's a loose page.
20             Q.     Yes, sir.
21             A.     It's not bound with Exhibit 4.
22             Q.     Well, it is part of Exhibit 4 for the
23      record.     I made it a part of it.            It just doesn't
24      have a Bates-stamp because Ms. O'Leary just
25      provided it to me last night.

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1                     MR. DING:      We'll supplement it with the
2       correct Bates-stamp once we get it.                   We'll
3       supplement with Exhibit 4, if that's fair.
4                     MS. O'LEARY:        That seems fine.
5       BY MR. DING:
6              Q.     On the back of invoice 27513, it still
7       reflects a budget of 2,216,275.50.
8                     Do you see that?
9              A.     I do see that.
10             Q.     And it says that the budget remaining is
11      only $171,667.59.          Do you see that?
12             A.     I see that.
13             Q.     And this does not account for the work
14      done in March by you, Mr. Spilotopoulos and any
15      others that might have been working in March.
16      That will come out of that remaining budget once
17      we get the next invoice; right?
18             A.     That's my understanding.
19             Q.     So my question to you to end this area
20      of the deposition is:           Have you prepared a budget
21      estimate and provided it to the Department of
22      Justice to provide for additional funding and/or
23      budget for your work after this month?
24             A.     I've not done so because we still have
25      money.

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1               Q.     Have you had any discussions with anyone
2       about the needs for a future budget approval
3       moving forward from today if this budget is used
4       up this month?
5               A.     I have not talked to anyone about that.
6               Q.     And you've not prepared anything about
7       that?
8               A.     I have not prepared anything about that.
9                      (Hennet Exhibit 5 was marked.)
10      BY MR. DING:
11              Q.     I hand you what I marked as Exhibit 5,
12      and I'll tell you this for the record.                  Exhibit 5
13      I had to print it on larger paper so you and I --
14      with my advanced age, I couldn't see it on eight
15      and a half by 11.          So I had to print it on larger
16      paper.       Okay?
17                     Are you familiar with a website known as
18      USASpending.gov maintained by the federal
19      government of the United States of America?
20              A.     I am not.
21              Q.     Do you see on Exhibit 5, the first page
22      at the very top it says Active Filters.                  It says
23      EPA -- it identifies the recipient as S.S.
24      Papadopulos & Associates, Inc.              Do you see that?
25              A.     I see that.

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1              Q.     And then down in the center, it gives
2       you a prime award ID number, and there's about, I
3       don't know, six or eight listed there.                  And out
4       beside that is the recipient's name, S.S.
5       Papadopulos & Associates.             And then the
6       obligations are listed there in dollars and cents.
7       Do you see that column?
8              A.     I see that column.
9              Q.     Then there's some tabs you can click on.
10      It talks about contract IDDs, grants, direct
11      payments, loans and other.
12                    Do you see those other tabs?
13             A.     No, I did not.
14             Q.     Although they're hidden, you see the
15      little tabs beside the contracts?
16             A.     Okay.     Right on top there, yes.
17             Q.     If you turn to the second page on this
18      USASpending.gov federal government website, do you
19      see the awarding agency in the topic left-hand
20      corner, it says Department of Defense and
21      recipients is S.S. Papadopulos & Associates?                     Do
22      you see that?
23             A.     I see that.
24             Q.     Do you see the purchase order referenced
25      there is just above that is listed as

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1       W912DW11P0056?         Do you see that?
2               A.    I see that.
3               Q.    And over on the right corner of that
4       first block, do you see the start date of that
5       contract was February 16, 2011?
6               A.    I see that.
7               Q.    And this was for $40,000.               Do you see
8       that?
9               A.    Where is that?
10              Q.    In the center there it says Current
11      Award Amount.         Do you see that, $40,000 potential
12      award amount?
13              A.    I see that.
14              Q.    And if you keep going down under the
15      Award History, you see Action Date of 2/24/11.
16      Amount is 40,000.          To the right of that, it says
17      Transaction Description:            MODFLOW Model
18      Recalibration.
19              A.    I see that.
20              Q.    Do you know what this work was for for
21      the Department of Defense that's being referred to
22      there in 2011?
23              A.    I do not.      I had nothing to do with
24      this.
25              Q.    Do you know what location someone at

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1       S.S. Papadopulos was working on in order to do
2       some MODFLOW model recalibration work?
3               A.    I do not.
4               Q.    Turn to the next page of Exhibit 5,
5       third page I think it is.              Do you see the top
6       left-hand corner there's a new purchase order
7       number listed there of W912DW09P0253?                   Do you see
8       that?
9               A.    I see that.
10              Q.    And the awarding agency is the
11      Department of Defense.            Do you see that?
12              A.    I see that.
13              Q.    The start date of the project was
14      September 18, 2009.
15              A.    I see that.
16              Q.    The amount that was obligated or
17      potential award amount was $66,500.                   Do you see
18      that?
19              A.    I see that.
20              Q.    By the way, if you go back to the top
21      out to the right, far right of the purchase order
22      number, does it show the word "Completed"?
23              A.    I see that.
24              Q.    Now, if you go to the section under the
25      Award History, do you see the Action Date, the

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1       first one listed there of 9/18/2009 for 22,000?
2               A.      I see that.
3               Q.      To put in context just for dates, Tawara
4       Terrace report by ATSDR was released in 2007;
5       correct?
6               A.      I believe it's correct.
7               Q.      And the National Academy of Science
8       released an alleged review of that report in July,
9       I believe, or August of 2009.              Do you remember
10      that?        I'm not going to hold you to the specific
11      date.        But the National Academy of Science
12      released an alleged review of the ATSDR report in
13      the summer of 2009.
14                      MS. O'LEARY:      Object to form.
15                      THE WITNESS:      I will take your word for
16      it.
17      BY MR. DING:
18              Q.      Do you see -- who is Howard Hanson?
19      Excuse me.        Not who.     Where is Howard Hanson Dam?
20              A.      Howard Hanson?      Where is that?
21              Q.      In the center of the webpage or the
22      document, out beside 9/18/2009 and 22,000, it says
23      groundwater model.           Independent technical review,
24      ITR, right the abutment integrity, Howard Hanson
25      Dam.     Do you see that?

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1              A.     I see that.
2              Q.     Do you know what that's referring to and
3       were you involved?
4              A.     I was not involved.
5              Q.     And you don't know what it's referring
6       to?
7              A.     I do not know what it is referring to.
8              Q.     Turn to the next page.           I guess we're
9       now on page 4; right?
10             A.     You are right.
11             Q.     Do you see the purchase order at the top
12      is 15JCIV22P502?
13             A.     I see that.
14             Q.     And out to the right, it says in
15      progress.      9 months remaining.
16             A.     It says "Nine months remain."
17             Q.     Excuse me.       "Nine months remain."           Do
18      you see that?
19             A.     I see that.
20             Q.     And it shows the start date of this
21      contract with the Department of Justice as the
22      awarding agency was July 21, 2022.
23                    Do you see that, top right-hand corner?
24             A.     I see that.
25             Q.     Now, that purchase order number ending

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1       in 502, would you go back and look at Exhibit 4
2       and tell me if that's not the exact same purchase
3       order in your very first invoice number 1?
4                     On exhibit, 4 Bates-stamped first page
5       1, up in the topic right-hand corner, it says PO
6       Number.      That is the exact same number I just read
7       you to ending in 502 that is on page 4 of
8       Exhibit 5; is it not?
9               A.    Both numbers or whatever codes are the
10      same.
11              Q.    Thank you.       Now, does it show in this
12      Award Amounts that the obligated amount currently
13      is 2.2 million?         Do you see that?
14                    MS. O'LEARY:        Are we back on Exhibit 5?
15                    MR. DING:      I'm sorry.       Exhibit 5.
16      BY MR. DING:
17              Q.    Back on Exhibit 5 on page 4, the
18      Department of Justice purchase order page, does it
19      show that the current award amount is the
20      2.2 million?
21              A.    Yes.     I see that.
22              Q.    And that number under Potential Award
23      Amount several lines down, do you see it's
24      2,216,275.50, and that's consistent with the very
25      last page of invoices that we reviewed from

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1       Exhibit 4.       The March invoice I received last
2       night has the same number.             Do you agree with
3       that?
4                     MS. O'LEARY:        Object to form, just to
5       clarify what you mean by March and February.
6                     MR. DING:      The March I received last
7       night dated March 19, 2025.
8                     THE WITNESS:        I see that.         Those numbers
9       are the same.
10      BY MR. DING:
11              Q.    Now, under the Award History --
12              A.    By the way, when we are done with this,
13      I would like to take a break.
14              Q.    Yes, sir, no problem.           We'll be there
15      very soon.
16                    Under the Award History, you see that
17      first entry modification, it says zero at the
18      first line there.          And then it's got an Action
19      Date 7/21/2022 and $100,000.              Are you with me?
20              A.    I'm with you.
21              Q.    Then there's a modification number.                  The
22      first one says P1.          If you look under it, there's
23      additional P1, P2, 3, 4, P5 and 6.                Do you see
24      that?
25              A.    I do see that.

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1               Q.      Now, if you scroll over to the right
2       under Action Type, does it say Change Order out
3       beside the one that says P1?
4               A.      It says that D column Change Order.
5               Q.      Is the change order the estimation
6       document you referred to earlier that's sent over
7       Department of Justice to get approval for
8       additional work, or is that a different document?
9                       MS. O'LEARY:      Object to foundation.
10              A.      I believe it must be similar or the
11      same.        I don't know.
12              Q.      Who would know that?        Someone in your
13      office, admin, or the Department of Justice?
14              A.      I personally do not know if this is what
15      you say it is or not.
16              Q.      Turn to the next page.         If you want to
17      take a break now and then come back to the
18      exhibit, that's fine with me.              I may have more
19      than five minutes left on these last two pages.
20              A.      Take a break now.
21              Q.      That's fine.      Go off the record.
22              A.      Coffee is working.
23              Q.      Yes, sir.    Understood.
24                      THE VIDEOGRAPHER:       We are off the record
25      at 1123.

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1                     (Recess from 11:23 a.m. to 11:32 a.m.)
2                     THE VIDEOGRAPHER:         We are on the record
3       at 1132.
4       BY MR. DEAN:
5              Q.     Dr. Hennet, we've been going for about a
6       couple hours, a little over two hours.                   We had a
7       couple breaks during the day.
8                     Have you discussed -- had any
9       discussions with the Department of Justice lawyers
10      at all?
11             A.     We just chatted on things that have
12      nothing to do with the deposition.
13             Q.     Thank you.       Now, if you turn to, for the
14      record, page 5, the last two pages -- this is a
15      six-page document -- the last two pages, 5 and 6,
16      do you see recipient is identified at the top as
17      Papadopulos & Associates, Inc.?
18             A.     I'm confused about what is 6 because the
19      last two pages or double sided.
20             Q.     Yes, sir.
21             A.     And you say the last two.               So is this
22      one or this one?
23             Q.     I'm sorry.       Good point.       We'll just stay
24      on that page 5 for right now.              Do you see on page
25      5 at the top it says Recipient under the Active

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1       Filter is S.S. Papadopulos & Associates do you see
2       that?
3               A.    I see that.
4               Q.    And do you see that in the center of the
5       page there, and it's the tap that's opened says
6       Contracts, and then it says Prime Award ID under
7       that?
8               A.    I see that.
9               Q.    And you see from there all the way to
10      the bottom of page 5, there's a list of different
11      award IDs for different contracts, and out beside
12      that is S.S. Papadopulos & Associates and an
13      obligated amount?          Do you see that?
14              A.    It says Obligations.
15              Q.    Thank you.       It says obligations and then
16      under that is Amounts; right?
17              A.    I see that.
18              Q.    If you turn to page 6, the next page,
19      the contracts continue with the same information
20      we had on page 5.          Do you see that?
21              A.    It appears to be a continuation of page
22      5.
23              Q.    If you go to page 7, do you see the same
24      where it lists the awarding agency as the
25      Department of Justice, the recipient, S.S.

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1       Papadopulos & Associates up at that top as far as
2       active filters?         Do you see that?
3              A.     I see that.
4              Q.     And on page 7 you see a list of awards,
5       prime awards for contracts with the Department of
6       Justice with the recipient S.S. Papadopulos &
7       Associates, and then there's an amount over in the
8       Obligations section next to each one of those
9       contracts?       Do you see that?
10             A.     Yes.     To make sure, page 7 is the one
11      before the last?
12             Q.     Yes, sir.      As a matter of fact, the very
13      first one listed there is that same one that we're
14      here about, which is our case, the award ID is
15      identified as 15JCIV22P502, which is the name
16      number you and I have looked at on the invoices
17      for your work on this litigation; right?
18             A.     It appears to be the same number, yes.
19             Q.     And the obligated amount are lining up
20      as the $2,216,275.50; right?
21             A.     That to my recollection is the same
22      amount, yes.
23                    (Hennet Exhibit 6 was marked.)
24      BY MR. DEAN:
25             Q.     Now, I'll show you what I've marked as

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1       Exhibit 6.       For the record, Exhibit 6 is an Excel
2       spreadsheet created by my office after clicking on
3       all of those contracts on all of pages that you
4       and I just went the over on Exhibit 5, and if you
5       see I've added the award ID number at the top.
6       I've added the column for Total Obligated Amount.
7       I've added the Award Date that's listed in the
8       government's database on USASpending.gov.                   I've
9       added the Period of Performance start date column
10      and the end date, the Awarding Agency and the
11      Funding Agency, and they're all listed as
12      Papadopulos & Associates.
13                    Do you see that Excel spreadsheet that I
14      created?
15             A.     I see the Excel spreadsheet.              I didn't
16      really follow everything you said.
17             Q.     I understand.        I'm just laying what
18      lawyers call a foundation so understand where this
19      document came from.          I created it based on the
20      information that's on the website for the
21      USASpending.gov.
22                    Do you see that?
23             A.     Right here I have no possibility to
24      check that.
25             Q.     I understand that.          I'm representing to

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1       you that the information on Exhibit 6 came from
2       the information on the website shown on Exhibit 5.
3       Okay?
4               A.    Okay.
5               Q.    Now, do you remember me asking you about
6       when you started doing work on this case?                   Excuse
7       me.
8                     Do you remember me asking you about when
9       you started doing any work associated with Camp
10      LeJeune?
11              A.    I believe you asked me a question like
12      that.
13              Q.    And you told me something along the
14      lines you couldn't remember the exact date, but it
15      was sometime you thought in 2005.
16              A.    Approximately, yes.
17              Q.    If you look at the second entry there,
18      do you see the one that ends in 66 in the first
19      yellow mark, Obligated Amount was $45,634.10 and
20      it said the period of performance start date was
21      11/30/2005 and that the awarding agency is the
22      Department of Justice?
23              A.    I see that.
24              Q.    And does that sort of refresh your
25      recollection about the approximate timeframe of

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1       starting to do work with Papadopulos & Associates
2       at Camp LeJeune somewhere in November of 2005?
3                     MS. O'LEARY:        Object to foundation.
4                     THE WITNESS:        I have no clue if this
5       represents work done at Camp LeJeune or not.
6
7            (Questions on Exhibt 7 bound separately.)
8
9
10
11
12
13
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1
2       BY MR. DEAN:
3              Q.     Now, going back to Exhibit 6, the Excel
4       spreadsheet that I prepared and that first one
5       first yellow entry that you and I were just
6       talking about, does that now refresh your
7       recollection that the $45,634.10 under that award
8       ID DJJ6WENR010066, showing the awarding agency
9       Department of Justice and the recipient as S.S.
10      Papadopulos & Associates is the project for which
11      you first began working at Camp LeJeune in
12      November 2005 more likely than not?
13                    MS. O'LEARY:        Object to foundation.
14                    THE WITNESS:        I don't know.       It could
15      be.    I don't know.
16      BY MR. DEAN:
17             Q.     Fine.     If we go down, and I'm not going
18      to go into every single one of these, but do you
19      see a number of entries between 2005 and all the
20      way on the backside -- if you turn it over, you'll
21      see more entries that go through -- the last one
22      is listed as ending in 49 for $494,846 for some
23      work for the EPA with a start date of 9/30/2024?
24      Do you see that?
25             A.     I see that.

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1               Q.      And if you total up -- before we go
2       there, the one for the Department of Justice that
3       we've been talking about, the last invoice page
4       number, Exhibit 4, remember we talked about there
5       was a $2,200,000 budget and we had used up about
6       1.9, and there was 178,000 or thereabouts left
7       over.        Do you remember that?
8               A.      I remember that if that's what you are
9       talking about, the last page of Exhibit 4.
10              Q.      If you turn over to page 2 of my
11      Exhibit 6, about the sixth entry there is where
12      the 15JCIV22P502 purchase order is listed and it's
13      got that amount we've been talking about,
14      2,216,275.50.          Do you see that?
15              A.      I see that.
16              Q.      The $2,216,275.50 is money that
17      Department of Justice has paid your firm or is
18      obligated potentially with a budget from July of
19      '22 to present?
20              A.      That's my understanding.
21              Q.      However, we know that the Department of
22      Justice and yourself started doing some work at
23      Camp LeJeune, like we've already discussed,
24      beginning in 2005; right?
25              A.      Yes.    Whether it began in 2005, about.

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1               Q.      Not a specific date.         There are amounts
2       there for the Department of Justice listed for
3       contracts, 45,634.           We can go to the next one.              It
4       says 40,000.          It was 2007 work.        Skip the next
5       one, it was EPA, and we go to some work that was
6       done for the Department of Justice in February of
7       2009.        That had a $440,096 payment, do you see
8       that, or obligation?
9                       MS. O'LEARY:       Object to foundation.
10                      THE WITNESS:       I see that.
11      BY MR. DEAN:
12              Q.      So the point I'm making, and you'll
13      probably agree now that we've gone through this,
14      the amount the Department of Justice has paid
15      Papadopulos & Associates for all of its work at
16      Camp LeJeune since 2005 is an amount in excess of
17      the current obligated $2,216,275.50.                   Can we agree
18      on that?
19              A.      I do not agree in the sense that not at
20      all of the Department of Justice cases we're
21      talking about here have to do with Camp LeJeune.
22              Q.      I don't disagree with that.             But some of
23      these invoices and contracts, were they to be
24      produced, would show us, for example that very
25      first one, the 45,634.10 for the November 2005

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1       work, it would show some of these that would be
2       work at Camp LeJeune more likely than not;
3       correct?
4                     MS. O'LEARY:        Object to foundation.
5                     THE WITNESS:        I don't know.       I don't to
6       admin, but probably.
7       BY MR. DEAN:
8              Q.     Now, if you turn to the second page,
9       just to finish up this line of questions, do you
10      see that all of the total obligated contracts that
11      are listed on my exhibit that I received the
12      information from USASpending.gov, part of the
13      federal government's website, shows that of all of
14      these agencies, Department of Justice, the EPA,
15      General Services Admission, Department of Energy,
16      are currently or in the past with a potential
17      total value of awards to your company of
18      $137,244,621.84 if my math is correct in column 3
19      on the second page?
20                    MS. O'LEARY:        Object to foundation.
21                    THE WITNESS:        If your interpretation is
22      correct.      My understanding is that does include --
23      most of those are not litigation projects.                    I am
24      not involved, but I know that we work for the
25      Hanford site, for example.             And I know that we

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1      work for EPA Region V.            I am not involved.           I know
2      that we do work for the government.
3                    And over the yours, it has been maybe in
4      the 10, 15 percent of the business that my company
5      performs service for.            I personally am only
6      involved in a subset of those, and that would be
7      through the Department of Justice.
8      BY MR. DEAN:
9             Q.     So let me finish this up with this
10     question.       The total amount that's paid out for
11     all of those various contracts that you just
12     mentioned that has a potential subtotal award of
13     $137,244.621.84, as a shareholder, you would
14     financially benefit at some potential percentage,
15     whatever your share interest is, with whatever
16     those government contracts are that are paid by
17     these different agencies, including the Department
18     of Justice?
19                   MS. O'LEARY:        Object to foundation.
20     BY MR. DEAN:
21            Q.     Whether you were involved that the
22     project or not, you would personally financially
23     benefit from all these projects; correct?
24                   MS. O'LEARY:        Same objection.
25                   THE WITNESS:        If the company does well,

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1      I do well as well.           Like every employee, we all
2      participate.          But I want to make one correction
3      here.        A potential award is not the same as
4      basically what was actually done.
5      BY MR. DEAN:
6              Q.      Understood.
7              A.      And I'm not finished.         And the potential
8      award sometimes in some of those projects, not the
9      one that I have been involved in, includes
10     subcontracts that can be substantial because --
11     that's all I can say about that because I don't
12     know the details of all of those contracts.
13                     (Hennet Exhibit 8 was marked.)
14     BY MR. DEAN:
15             Q.      Understood.      I'm going to show you
16     Exhibit 8.        I'm going to represent to you this is
17     the metadata from the billing production in this
18     case from you, and you see it indicates there the
19     Bates number is CLJA_SSPA_INVOICES_1 through 42.
20     Do you see that?
21             A.      At the bottom there I see that.
22             Q.      You see the file name for this
23     particular file was named by somebody 1817
24     invoices through 11125 without backup.pdf.
25                     Do you see that.

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1             A.     I see that that.
2             Q.     What does backup mean?
3                    MS. O'LEARY:        Object to foundation.
4                    THE WITNESS:        I don't want to speculate,
5      but it seems that -- I don't know what it means.
6      It may be reflecting some notes.                For example, if
7      I enter -- today I will enter in my time sheet
8      eight hours, whatever it is, and say deposition or
9      something like that.
10     BY MR. DEAN:
11            Q.     You're not a computer person nor admin
12     person at the office, but someone would have those
13     backup records indicating what work was being done
14     and when that serve to create those invoices that
15     I previously showed you?
16            A.     I suppose so, yes.
17                   (Hennet Exhibit 9 was marked.)
18     BY MR. DEAN:
19            Q.     I'm going to show you Exhibit 9.
20     Exhibit 9, you see that it's a January 2010
21     publication from the United States Department of
22     Justice, Executive Office for Attorneys.                    Further
23     down, it appears to be some sort of a bulletin,
24     United States Attorneys bulletins of some sort.
25                   Do you see that?

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1                    MS. O'LEARY:        Object to foundation.
2                    THE WITNESS:        I don't know of some sort,
3      what you mean by that.
4      BY MR. DEAN:
5             Q.     Can we agree at least on the left-hand
6      side, it says January 10, Volume 58, Number 1,
7      under that United States Department of Justice
8      Executive Office for the United States Attorneys,
9      Washington, D.C., H. Marshall Jarrett, Director.
10     Then under it says, "Contributors' opinions and
11     statements should not be considered an endorsement
12     by EOUSA of any policy, program or service.                     The
13     United States Attorneys' Bulletin is Published
14     Pursuant to 28 CFR Section 0.22(b)."
15                   Do you see that?
16            A.     I see that.
17            Q.     Then at the top of the document, page 1,
18     it says Expert Witnesses.             Do you see that?
19            A.     Yes.
20            Q.     The first one says, "Considering the
21     proposed changes to Federal Rules of Civil
22     Procedure regarding expert witness discovery by
23     Adam Bain."
24                   Do you see that?
25            A.     I see that.

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1             Q.     Then under that it says, "Working With
2      Lawyers:      The Expert Witness Perspective, by Remy
3      J.C. Hennet, Ph.D."
4                    Do you see that?
5             A.     I see that.
6             Q.     Did you participate and work at some
7      point in time to prepare a journal article for the
8      Department of Justice back in 2010 by that name?
9             A.     Yes.     I recall it was an invited paper,
10     and it was invited to be included in there.                     I
11     don't remember exactly the detail of it.                    I will
12     have to read it.
13            Q.     Do you see that on page 5 -- it's a
14     black and white document, but you can see there's
15     some highlights that's been added to the document.
16                   Do you see that in the center about Rule
17     26 trial preparation, protection for
18     communications it party's attorney and expert
19     witnesses?
20                   So you see that section?
21                   MS. O'LEARY:        Just for the record,
22     you're referring to the graying as highlighting?
23                   MR. DEAN:       Yes, ma'am.
24     BY MR. DEAN:
25            Q.     Do you see that grayed area?

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1             A.     I see some gray area, but I've not read
2      it yet.
3             Q.     I'll read it with you and read it for
4      you.     It says, "Rules 26(b)(3)(A) and (B) protect
5      communications between a party's attorney and any
6      witnesses required to provide a report under
7      26(a)(2)(B) regardless of the form of the
8      communications, except to the extent that the
9      communications (i) relate to compensation for the
10     expert's study or testimony."
11                   Do you see that?
12            A.     I can read that, yes.
13            Q.     Now, if you turn to your section which
14     begins about page 14 of the document.                  Down at the
15     bottom left-hand corner are the page numbers.                      Do
16     you see that?
17            A.     I do see that.
18            Q.     Is this the section that you wrote,
19     which is about four pages long in January 2010
20     published in this bulletin?
21            A.     I take your word for it.            I mean, I know
22     I did contribute to this.             I don't see -- I have
23     not read it for more than 10 years I am sure.                      So
24     I don't recall exactly what is in it, but it
25     appears to be what I contributed upon an

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1      invitation to contribute.
2              Q.    And do you say in the first full
3      paragraph on page 16, "The expert witness is often
4      publicly stigmatized as ethically comprised
5      considered by some as nothing more than hired
6      gun"?
7                    Did I read that correctly?
8              A.    You read that correctly.
9              Q.    It goes on it says, "The stigma is borne
10     from misconceptions and from unavoidable human
11     nature.      The concept that anyone who charges which
12     high hourly rates would say anything to satisfy
13     the paying party along with a few well publicized
14     examples of professional misconduct server to
15     anchor the stigma.           In reality, the enduring
16     expert witness must demonstrate strong
17     professional and ethical conduct."
18                   Did I read that correctly?
19             A.    You did.
20             Q.    Do you see at the next to last sentence
21     at the bottom, it says, "Opinions of the court and
22     transcripts of depositions and trial testimony
23     constitute a public record.              That record serves as
24     an effective quality control tool that lawyers and
25     the finders of fact can consult.                To succeed as an

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1      expert witness, credibility and thoroughness have
2      to complement education and experience."
3                    Did I read that correctly?
4             A.     You did.
5             Q.     If you turn to page 17, the next page,
6      and this is last page of your section, does it
7      say, "First, for expert testimony, it is important
8      to," and you listed a bullet point of a number of
9      things there, do you remember?
10                   Do you see that?
11            A.     I don't remember, but I see that.
12            Q.     And then you've got, "Second, for a
13     successful lawyer-expert relationship, is
14     important for the expert to."               And can you read
15     into record the last bullet point that you wrote?
16                   MS. O'LEARY:        Object to foundation.
17                   THE WITNESS:        The blast bullet point
18     reads, "Keep track of the budget since it can be a
19     limiting factor."
20     BY MR. DEAN:
21            Q.     What did you mean by that?
22            A.     It is important for what I do as a
23     professional to make sure that the client is aware
24     of the degree of effort and cost of a project.                       So
25     it is important to follow how much money is being

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1      billed.      And some projects may have -- when you
2      have a budget, you have a budget.                And if you go
3      above budget, you may not be paid.
4             Q.     But you do believe and you wrote in your
5      article that it's important in order to maintain
6      your integrity as an expert witness that you're
7      thorough and provide truthful accurate information
8      in those situations?
9                    MS. O'LEARY:        Object to foundation.
10                   THE WITNESS:        Yes.     As an expert
11     witness, I just follow those ethical rules and
12     answer to the best of my recollections and
13     ability.      I am doing that here.
14                   (Hennet Exhibit 10 was marked.)
15     BY MR. DEAN:
16            Q.     I'll show you what I'll mark -- I'll
17     show you Exhibit No. 10.             And we're going to use
18     the TV in just a second and try to get through
19     this, if we can, by lunch.               I don't know.       We'll
20     see if we can.         We're going to turn now to your
21     reliance materials list and supplemental materials
22     that you provided to the Department of Justice to
23     produce in this case in the last few weeks.                     Okay?
24            A.     Let's see.
25            Q.     I'm going to show you Exhibit No. 10.

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1                    MS. O'LEARY:        Is all of this 10?
2      There's several loose papers.
3                    MR. DEAN:       Yeah.     I was going to make it
4      all one exhibit.          I'll go through and identify
5      just so it's clear on the record what we're doing.
6      BY MR. DEAN:
7             Q.     Do you see there's a cover letter from
8      Ms. O'Leary, dated February 25, 2025.                  I'll read
9      into the record what it says.               It says, "Counsel,
10     pursuant to Federal Rule of Civil Production
11     Number No. 26(e)(1) & (2), the United States now
12     produces supplemental facts and data considered or
13     relied upon by Dr. Hennet."
14                   Do you see that?
15            A.     I see that.
16            Q.     Now, do you agree with her, this is the
17     way she wrote the letter, that these are new facts
18     and new data that was considered by you after your
19     report?
20                   MS. O'LEARY:        Object to foundation.
21                   THE WITNESS:        I believe it relates to
22     what I did on February 11.
23     BY MR. DEAN:
24            Q.     Which is after your original report in
25     December of 2024?

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1             A.     That was after my expert report, yes.
2             Q.     And then the second part of Exhibit 10
3      is an errata sheet -- actually, it's a couple
4      pages -- that relates to some updates, changes or
5      corrections that you wanted to make to your report
6      footnotes.
7                    Do you see that?
8                    MS. O'LEARY:        Object to foundation.            I
9      have two pages of errata.             Am I meant to have two?
10                   MR. DEAN:       I agree with that, one on the
11     25th and one on the 28th.
12     BY MR. DEAN:
13            Q.     Do you have the errata sheets there?
14            A.     I have Exhibit 10.
15            Q.     Hand it back to me, and I'll see if I
16     can help find where it's at in the group here.                         At
17     the end there's two pages.              So there's three
18     sections to this.          Exhibit 10, first page, one and
19     two are two letters, February 25 and 28.                    The
20     second section of Exhibit 10 is your supplemental
21     reliance materials list that came with these
22     letters.      The last thing is the errata sheets, two
23     pages of errata sheets that came with the letter
24     on the 28th.
25                   MS. O'LEARY:        I object to foundation

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1      there.      I don't think both errata came with the
2      letter, either letter from February.
3                    MR. DEAN:       What's that?
4                    MS. O'LEARY:        I don't think both errata
5      came with the letters from February.
6      BY MR. DEAN:
7             Q.     If you look on the backside of the first
8      page there, you'll see a second letter, dated
9      February 28, and then the last sentence says,
10     "Also produced are errata correcting citations to
11     Bates-stamped documents with the prefix."
12                   Do you see that?
13            A.     Which date of which letter because I
14     don't know which page -- the second page.
15            Q.     Yes.
16            A.     February 28, 2025.
17            Q.     Does it say in the second sentence,
18     "Also produced are errata correcting citations to
19     Bates stamps"?
20                   MS. O'LEARY:        Object to foundation.
21                   THE WITNESS:        Bates-stamp documents with
22     the prefix.
23     BY MR. DEAN:
24            Q.     Errata sheets.
25            A.     So it's not full sentence you gave.                  But

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1      I can see what you say.
2              Q.      And do you see at the end of Exhibit 10,
3      the last two pages of Exhibit 10 are those two
4      errata pages?
5                      MS. O'LEARY:      Object to foundation.
6                      THE WITNESS:      The last -- you have one
7      page that is two sides and one page that is one
8      side.
9      BY MR. DEAN:
10             Q.      Agreed.
11             A.      And it is a three pages or four
12     depending on how you look at it.
13             Q.      But those are errata sheets that you
14     created subsequent to your report to make some
15     minor changes to some references in footnotes;
16     right?
17             A.      Appears to be, yes.         It appears to be
18     that.
19             Q.      Now, the other section of Exhibit 10
20     that I want to spend most of the time with you is
21     it titled Supplemental and Corrective Reliance
22     List.        Do you see that?
23             A.      I see that.
24             Q.      Did you prepare this document or someone
25     work with you to prepare the supplemental

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1      corrective reliance list?
2             A.     My recollection is that it was -- I
3      delegated this could be done by a staff to
4      basically get those things with the errata
5      incorporated.          That's my recollection.
6             Q.     And it also was to list the photographs
7      and handwritten notes of February 11, 2025 when
8      you made that third visit, and those are listed in
9      here too as well; right?
10            A.     I do not know that.           You have to show me
11     where they are listed.
12            Q.     Sure.      Do you see on page 24?
13            A.     24 of the second section of the
14     four-section exhibit?
15            Q.     Exhibit 10, yes, sir.           Turn to page 24
16     at the bottom.          Do you see in the center it says
17     CLJA Photos SSPA 1 through 58, Bates stamps CLJA
18     Photos SSPA 1 through 52.
19            A.     I see that.
20            Q.     Is that photos you believe to be that
21     you took -- scratch that.             I'll show them to you
22     in a second.          Turn to page 28.
23            A.     Yes.
24            Q.     Do you see the last entry there is
25     called Hennet USA 1 through 96?

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1             A.     I see that.
2                    (Hennet Exhibit 11 was marked.)
3      BY MR. DEAN:
4             Q.     I'll show you Exhibit 11.               Do you see
5      that Exhibit 11 are your notes, sheets one and
6      two, you prepared it appears on February 11, 2025.
7      The Bates-stamp of this exhibit is Hennet_USA_34
8      and Hennet_USA_76.           Do you see that?
9             A.     I see that.
10            Q.     So that is part of the reason for the
11     supplemental reliance materials in addition to the
12     errata changes, was also to provide these updated
13     supplemental documents and data.
14                   Do you see that?
15                   MS. O'LEARY:        Object to foundation.
16                   THE WITNESS:        I see that.
17     BY MR. DEAN:
18            Q.     Now, what we're going to do, just so you
19     know -- you can put that aside for the time being.
20     Let me ask a couple more questions.
21                   We talked about it earlier, but the
22     supplemental reliance materials that are listed, I
23     noticed that pages 1 through the middle of page 22
24     you listed out a lot of different specific
25     materials.       You've provided whether it be an

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1      author or whether it be a Bates-stamp, whether it
2      be a JTC Environmental Consultant report, you
3      listed out a lot of things individually on pages 1
4      through 22.
5                    Do you see that?
6              A.    I see that.
7              Q.    Then the last, page 22 through 28,
8      there's a lot of documents listed, which appear to
9      be a lot of the production's Bates-stamps in this
10     case.
11                   Do you see that as well?
12             A.    I see that.
13             Q.    I guess my question is to understand how
14     you may have prepared this list and did your work.
15                   The first 22 pages where you
16     specifically list out things, are those all of the
17     documents, individual documents that you
18     specifically rely upon for your opinions in this
19     case?
20                   MS. O'LEARY:        Object to foundation.
21                   THE WITNESS:        Those are the documents
22     that I provide in support of my expert report plus
23     what you mentioned that I did after my expert
24     report.
25

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1      BY MR. DEAN:
2              Q.    February 11?
3              A.    February 11, yes.
4              Q.    The documents that are listed in pages
5      22 through 28, and I'll just give you an example,
6      if you look at page 23 and let's go down to the
7      third entry CLJA OCPL 1 through 12, do you see
8      that?
9              A.    I see that.
10             Q.    Can you tell me as you sit here what
11     specifically those documents are?
12             A.    I cannot.
13             Q.    If there's anything in there that's
14     important to your opinions and that you reviewed
15     and relied upon, it's going to be in the first 22
16     pages?
17                   MS. O'LEARY:        Object to form and
18     foundation.
19                   THE WITNESS:        I wouldn't agree with that
20     without seeing those other documents.
21     BY MR. DEAN:
22             Q.    Well, have you looked at every single
23     page of every single one of these groups of
24     millions of documents on pages 22 through 28?
25     Under oath, had you reviewed every single page of

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1      every single one of these productions?
2                    MS. O'LEARY:        Object to form.
3                    THE WITNESS:        No.    I didn't review every
4      page, but I basically went through a lot.                    And I
5      may have missed some, but what was relevant to
6      what I did I basically...
7      BY MR. DEAN:
8             Q.     And you feel like you did a very
9      thorough review of all these materials that are
10     grouped together on pages 22 through 28?
11            A.     I did as best I could.
12                   MS. O'LEARY:        Object to form.
13     BY MR. DEAN:
14            Q.     And those that you found that were
15     relevant to your opinions, you pulled them out and
16     you've listed them on the first 22 pages that are
17     cited in your report or referred to?
18            A.     I do not think that reflects that.                  But
19     in the report itself, you have footnotes.                    When
20     something is specifically relevant, I would cite.
21     Now, on the list of documents considered and/or
22     relied upon, I listed basically what I have.
23            Q.     Let's do this.         I don't know if we can
24     finish.      I doubt we can finish, but we're going to
25     try.     Your photographs.

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1                    Well, let me ask you this:              Is there
2      some new opinion you now have as a result of the
3      supplemental work that was done on February 12, or
4      does this information just support some of your
5      prior opinions?
6             A.     You mean February 11?
7             Q.     Yes, sir.       I'm sorry.
8             A.     No.     My opinions are unchanged.
9             Q.     So am I accurate that the work you did
10     you believe supports what you've already said.
11     You don't have any sort of new opinions?
12            A.     Support or confirm.
13            Q.     Did you create some new calculations to
14     confirm for support some prior opinions that you
15     expressed on or after February 11, 2025?
16            A.     I didn't do calculations per se, but I
17     just basically thought about what I observed on
18     February 11, especially under filling of the water
19     buffalo that I witnessed.             But I didn't write
20     anything or I did not calculate anything.
21     Otherwise, you would have obtained it.
22            Q.     So I've looked at the photographs, the
23     still photographs that you took, which we're
24     fixing to look at, and I think there was some
25     movies in there, some video.

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1                    Do you remember that?
2             A.     You will have to show me.
3             Q.     Did you take all of those photos
4      yourself and record those videos, or did someone
5      else do it?
6             A.     On February 11 I believe I took all the
7      photographs.          It might have been that I passed the
8      camera to somebody if I was busy.                Can you take a
9      picture of that?          I do not recall that.           But on
10     the previous visit, because of what we were told,
11     I could not personally take photographs.                    So I
12     would ask counsel to take photographs because I
13     wanted to have that basically as a document.
14            Q.     So all of these prior visits -- I won't
15     hold you to the specific.             We think it's about
16     three -- including February 11, there were
17     photographs taken either by yourself or at your
18     direction by counsel?
19            A.     I don't know if it was on every visit
20     because sometimes they'd say no photographs.                       I
21     don't recall exactly what the circumstances were,
22     but they are not always the same.
23            Q.     We'll get to it in a minute, but you
24     clearly went in May of '24, and you clearly took
25     photos or someone did because they're in your

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1      report.      Okay?
2             A.     Yeah, on that one, on that specific one,
3      I believe I had to ask counsel to take photographs
4      because I was not -- the name of the game was the
5      expert don't take photographs.
6             Q.     Did they then send those images -- they,
7      DOJ lawyer, whoever it was that took the photos,
8      did they then text or email you those digital
9      photos for the May '24 inspection if you didn't
10     take the photo?
11            A.     If I didn't take the photo?
12            Q.     Yeah.
13            A.     At some point I got them, yes.
14            Q.     And the photographs that you took on
15     February 11 using your phone, do you still have
16     those digital original native images?
17            A.     I don't remember taking them with my
18     phone.      I think I took them with a camera.
19            Q.     Do you still have that camera digital
20     photographs, original native files of the photos
21     you took that day?
22            A.     Well, I used the company camera, not my
23     personal camera, and that camera is used for
24     different projects.
25            Q.     I'm not asking about the camera.                 I'm

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1      asking the images, the Bates native images.                     Do
2      you still have the native images of those photos
3      you took on February 11?
4                    MS. O'LEARY:        Object to foundation.
5                    THE WITNESS:        My recollection they were
6      downloaded and provided to counsel.
7      BY MR. DEAN:
8             Q.     So you don't have copies of these native
9      images?
10            A.     I think I do.
11            Q.     But, obviously, the Department of
12     Justice, you believe you provided the native image
13     files to them?
14            A.     My recollection, it would have been
15     electronic transfer of those photographs to them.
16                   (Hennet Exhibit 12 was marked.)
17     BY MR. DEAN:
18            Q.     We'll call it Exhibit 12 is all of those
19     photos provided to us, whatever that date Haroon
20     provided them.
21                   MS. O'LEARY:        I think just referencing
22     Exhibit 10, which has the supplemental and
23     corrected reliance list, we're talking about the
24     Bates-stamps HENNET_USA_1 through 96?
25                   MR. DEAN:       Correct.      Like I said, I'll

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1      just give you this.
2                      MS. O'LEARY:      Is this a copy?
3                      MR. DEAN:     Yeah.     I'm going to put them
4      on the screen.         Actually, I was going to put it
5      into the record, but for all of us, I'm going to
6      throw them on the screen and refresh his
7      recollection about all these photos.
8                      So for the record I've given you
9      Exhibit 12, which are the photos and we're fixing
10     to show the witness.
11     BY MR. DEAN:
12             Q.      Now, do you see on the screen,
13     Dr. Hennet, a photograph dated -- with a
14     timestamp, date stamp of 2/11/2025 at
15     HENNET_USA_1?
16             A.      I recognize that photograph, yes.
17             Q.      That document was produced to me as a
18     .pdf.        I'm representing to you I don't have the
19     native file, but your representation to me is that
20     you personally took that photo and you took it on
21     February 11, 2025; right?
22             A.      That's what I recall, yes.
23             Q.      Now, whose hands are there?            One person
24     actually has got a booboo.
25             A.      It's not me.

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1              Q.      Are your hands in that picture?
2              A.      I don't believe so.
3              Q.      Do you wear were cowboy boots?
4              A.      I didn't wear cowboy boots that I
5      recall.
6              Q.      Do you know who's wearing the brown
7      cowboy boots and the gray pants?
8              A.      I do not know.
9              Q.      Do you know who person is kneeling down
10     with the blue jacket, tan pants and brown boots
11     holding something?
12             A.      That was a person.        I don't see his
13     face.        But that was a person who helped doing
14     those measurements because you cannot take those
15     measurements alone.
16             Q.      There's a rope there and there's a
17     person holding to the left with a bandage on their
18     left thumb.
19                     Do you see that?
20             A.      I see a bandage on somebody's hand?
21             Q.      And that's not your hand?
22             A.      That's not my hand.
23             Q.      Now, there's a person standing back, and
24     all I can see is two feet or two boots.
25                     Are those boots you were wearing that

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1      day?
2             A.     I don't think so.
3             Q.     So you're not in this photo?
4             A.     I am not in the photo, but I was there.
5             Q.     So we got at least one, two, three,
6      four, five people at least were the there on
7      February 11, 2025.           Four are shown in the photo in
8      some manner, and you're off to the side somewhere;
9      is that correct?
10            A.     The people who were there as I recall
11     were basically myself, counsel.               And then there
12     was three, four, five people who work at the water
13     treatment plant that were basically there to
14     assist.      And I asked them questions.
15            Q.     What does that photo show?              What is the
16     purpose of that photo?
17            A.     The photograph is at the water Hadnot
18     Point water treatment plant treatment next to a
19     spiractor effluent to the left.               That structure
20     that is covered with some metals there, that's the
21     head of the spiractor at that plant.
22                   Now, what is represented on the
23     photograph we needed to use certain tools in order
24     to be able to estimate through measurement certain
25     distances, and the distance we wanted to measure

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1      was the distance between a reference point, which
2      was that metal bar that was basically held on each
3      side of the spiractor effluent area at the level
4      that was basically making the bar always
5      horizontal.
6                    And then we had to measure a distance
7      between that bar and the top of the effluent pipe
8      in the spiractor.          And the spiractor, at the time
9      could do that because the spiractor was not
10     online.      So it didn't have water in it.               So we
11     could see the pipe and we could measure things.
12                   So the way to do that was to use that
13     bar and then in order to be able to get that
14     distance, you could not go there physically
15     because it would have been a complicated thing to
16     do.    You could not go there physically as a
17     person.      So we used a rope, that rope there, to
18     basically position it where we wanted it to be
19     positioned, vertically, to give a distance between
20     the bar, the top of the bar in this case here, and
21     what we wanted to measure, which was the top of
22     the effluent pipe.
23                   And then we could bring -- we did bring
24     the rope, if you wish, and the bar back, and we
25     measured that distance that way because we could

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1      not do it directly.            It would have been involved
2      getting into a system which would -- we were not
3      prepared to do and would be extremely complicated
4      to do.
5             Q.     Maybe not the safest thing to do either;
6      right?
7             A.     It would not have been a safe thing to
8      do.
9             Q.     So the spiractor that you were doing
10     this measurement there from top to bottom, I
11     believe you mentioned or said that it was empty,
12     it was dry, there was no water in.
13            A.     There was no water in it, yes.
14            Q.     You're at Hadnot Point water treatment
15     plant; right?
16            A.     That's correct.
17            Q.     Did you take a look -- did you do any
18     research before you did this experiment?                     I say
19     experiment.           I didn't mean to use that word.
20                   Before you did these measurements and
21     went to do the work, whatever it was you did that
22     day on February 11, did you do any work to
23     research or look at any design drawings or
24     research anything about the history of the
25     equipment that you were there measuring?

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1             A.     I looked at documents.            Among those
2      documents were drawings, but the drawings were not
3      providing me what I wanted to evaluate directly,
4      at least the drawings I was looking at.
5             Q.     Where are these drawings that you were
6      looking at?
7             A.     In the records, I believe.
8             Q.     Can you give me -- do you know what the
9      dates of those design drawings were that you're
10     referring to?         Do you know where they were right
11     now as you sit there today?
12                   MS. O'LEARY:        Object to form.
13                   THE WITNESS:        I do not know.         They're in
14     the record.
15     BY MR. DEAN:
16            Q.     Are they in your office?
17            A.     I don't know.        They're in the record.
18     So the records, I have access to the records.
19            Q.     I need to identify what those records
20     are is what I'm trying to get you to help me do,
21     and we don't have to do it today if you don't
22     remember.       But do you have a copy back at your
23     office of these drawings you were looking at
24     before you went to do this work on February 11?
25            A.     We have access of them.            I believe so.

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1      It will be in the record.
2             Q.     How many pages were they?
3             A.     I do not know.
4             Q.     Do you remember anything about the dates
5      of the documents?
6             A.     I do not know.
7             Q.     So other than looking at an unidentified
8      yet design drawing or two, did you do any other
9      work to ascertain the -- any historical
10     maintenance, installation or anything like that
11     related to the equipment you were measuring?
12                   MS. O'LEARY:        Object to foundation.
13                   THE WITNESS:        What I did is basically
14     looked at schematics of the spiractors.                   And that
15     didn't change over time to whatever I saw.                     It was
16     the same type of spiractors.              And there is nothing
17     that I found in the records that say that would be
18     a different type or that would have been changed.
19     Spiractors are the spiractors, and they have to
20     fit the bill in the sense that they are very
21     large, very large volume for treatment that
22     basically have to fit the plumbing of the a plant.
23     BY MR. DEAN:
24            Q.     Understood.        And you remember and it's
25     listed in your reliance materials that AH

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1      Environmental in 2004 did some of these similar,
2      if not same, measurements you're talking about?
3             A.     I don't think that's correct.               AH did
4      not do any measurement.            They just looked at stuff
5      and they estimated.
6             Q.     So you don't think AH Environmental
7      measured the spiractors like you did and similar
8      equipment back then 20 years ago?
9             A.     They did not.
10            Q.     Let's go to photo 2.
11                   What is the basis or why do you think or
12     what do you rely upon to say that AH Environmental
13     did not do some of these same measurements on
14     certain equipment like you did in 2004?                   What are
15     you relying on?
16            A.     The AH report.
17            Q.     And you don't remember anything in my
18     report that relates to their doing any
19     measurements?
20                   MS. O'LEARY:        Object to foundation.
21                   THE WITNESS:        What I recall is a report
22     that say visual estimate.
23     BY MR. DEAN:
24            Q.     Just a different angle, page 3?
25            A.     Yes.     This is just another angle.              And

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1      if you see the opening into the spiractor, it's
2      that little basically rectangular opening there to
3      the left.       And that's one of the complication with
4      the Hadnot Point spiractors.              They are covered
5      with basically a metallic protection cover.
6                    MR. DEAN:       Give me about seven more
7      minutes -- it will be at a quarter till -- and see
8      if I can get through this or not.                Then we can
9      take a break till about -- 45 minutes or so?
10                   MS. O'LEARY:        Are you okay?        Do you need
11     a break?
12                   MR. DEAN:       It will be about seven or
13     eight minutes.
14                   THE WITNESS:        I can do seven minutes.
15     BY MR. DEAN:
16            Q.     Next page.       What is shown on page
17     HENNET_USA Bates-stamp 4, and why are you taking
18     that photo?
19            A.     This photograph is basically taken from
20     the other side of the spiractor, which has a
21     bigger, a larger opening.             You saw on the previous
22     photograph you have a smaller opening on one side
23     and a larger one on this side.
24                   On here you can see the interior of the
25     spiractor, no water.           And what you are seeing in

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1      the middle of the photograph is a spiractor
2      effluent pipe.
3             Q.     And you say no water.           How can you look
4      at this photo and tell there's no water?
5             A.     I am telling you there is no water.                  If
6      there was water, you would see because the water
7      when the spiractor is online is all the way to the
8      rim of that pipe.
9             Q.     Was there any water inside that pipe?
10            A.     Can you repeat that, please?
11            Q.     Is any water inside the effluent pipe?
12            A.     No.
13            Q.     The ruler there, again my eyes are
14     getting bad as I age.            I can't read the ruler
15     there, the yellow ruler.             Can you read it?
16            A.     Maybe on another photograph you can.                   It
17     was very difficult to measure this.                   I noticed
18     that in my notes.          And what we're trying to do
19     here was without going into this dangerous place
20     is basically to measure the distance between the
21     horizontal bar and the rim of the spiractor
22     effluent pipe.
23            Q.     Why is that?
24            A.     Because another measurements was to
25     measure the distance between the horizontal bar to

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1      the top of the pipe.           That would be to the left of
2      this.        The pipe basically doesn't come as much
3      further out there.
4              Q.      Can we go back one photo, please.               Go
5      back one more.         We'll come back to that.             We'll
6      come back to that.
7                      On photo 1, Bates-stamp 1, we can see --
8      it's a little blurry, but you can read those
9      numbers.        It looks like the gentleman's thumb on
10     the right side is somewhere around -- is it 28 or
11     not?
12             A.      I think it was 28.
13             Q.      Is that important that number 28, or is
14     there some other important number?
15             A.      Yes, it is.
16             Q.      Why is the 28 important?
17             A.      Because that's the distance, the total
18     dance between the bar, the horizontal bar and the
19     top of the pipe where it becomes -- after it
20     finishes curving, if you wish.
21             Q.      And the bar, is he holding it level or
22     not?
23             A.      Not here because now we removed it from
24     the spiractor environment.              But when it was in the
25     spiractor environment where we deployed the roll

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1      there, there it was horizontal because it was held
2      on both sides at the same level.                And you can see
3      the level on the rim of the spiractor itself
4      because it is marked by the water.
5             Q.     Did you measure that?
6                    MS. O'LEARY:        Object to form.
7      BY MR. DEAN:
8             Q.     So when this was inside the spiractor
9      like you're referring to, was there a measurement
10     there so you would know the 28 inches here is
11     correct?
12                   MS. O'LEARY:        Object to foundation.
13                   THE WITNESS:        Yes.    When it was inside,
14     it was the rope that was used because we could
15     bring the rope there and basically have it
16     suspended on the metallic horizontal bar to touch
17     the top of the pipe.
18     BY MR. DEAN:
19            Q.     Do you have the rope that's shown on
20     page 1?
21            A.     Do I have the rope?
22            Q.     You used that rope as a part of this
23     experiment or measurement and that was a vital
24     piece of your tools that day to get this
25     measurement; right?

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1                    MS. O'LEARY:        Object to foundation.
2      BY MR. DEAN:
3             Q.     Right?
4             A.     The rope was provided by the base
5      personnel.
6             Q.     I understand that.          My question, it was
7      important for you to use a vital piece of tool to
8      get the measurements.            That rope was the one
9      pieces of it?
10                   MS. O'LEARY:        Object to form.
11                   THE WITNESS:        Yes.    That rope was
12     selected because it's not a rubber band.                    It is
13     basically something that will give you an
14     estimate, a measured estimate of a distance.
15     BY MR. DEAN:
16            Q.     Did you conduct a measurement to
17     determine what the elastic characteristics of that
18     rope was before you used it other than visual and
19     yourself?
20                   MS. O'LEARY:        Object to foundation.
21                   THE WITNESS:        It's held the hope in my
22     hand and said that's fine.
23     BY MR. DEAN:
24            Q.     Did you take possession of that rope
25     when you left doing this?

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1              A.    The base has possession of that rope.
2              Q.    Who on the base has possession of that
3      rope right now?
4              A.    The water treatment plant personnel.
5              Q.    Have you seen that rope since
6      February 11, 2025?
7              A.    I didn't go to the base since then.                  So
8      the rope is there.           I didn't see it since then.
9              Q.    Did you ask anybody that day when you
10     were talking to the personnel there at the water
11     treatment plant, did you ask them to preserve that
12     rope?
13             A.    I did not ask them to preserve the rope.
14             Q.    Have you ever since 2005, which we
15     believe was maybe some of the first time periods
16     you started doing a little work at time Camp
17     LeJeune, for the last 20 years, have you ever
18     observed Hadnot Point water treatment plant
19     operations on and water in that spiractor?
20             A.    Yes, I have.
21             Q.    When was that?
22             A.    For this case, the times I went to the
23     base, every time I went there.               And the spiractors
24     that I observed at the time were actually online.
25             Q.    When was that?

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1              A.    I went one time in 2024 and I believe I
2      went one time in 2023.
3              Q.    Did you take any photographs of the
4      spiractors and the operations?
5              A.    On the 2024 I didn't take pictures, but
6      some pictures were taken by counsel.
7              Q.    These same spiractors were there in
8      2024, is that what your testimony is?
9              A.    Yes.
10             Q.    And did you conduct any measurements
11     when you were there in '24?
12             A.    I did not.
13             Q.    Was that rope there in 2024?
14             A.    Not where you see on the picture.                 It
15     was not there.         I don't know if the base had that
16     rope or not.
17             Q.    When you were there in '24, you had some
18     DOJ attorneys with you; right?
19             A.    Yes.
20             Q.    Did you have some of the well men, some
21     of the well operations people there with you as
22     well?
23                   MS. O'LEARY:        Object to foundation.
24                   THE WITNESS:        The best I recall, some
25     people from the water treatment plant were there

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1      when we visited.
2      BY MR. DEAN:
3             Q.     And in '24, did you have a cell phone
4      with you?
5             A.     Probably.
6             Q.     Did you have a camera with you?
7             A.     I did not have a camera with me because
8      we were told pictures will not be taken by us.
9             Q.     But pictures could be taken by base
10     personnel, which they did?
11            A.     Not base personnel.           It was counsel.
12            Q.     Did you ask the DOJ lawyers in '24 if
13     you could do these measurements you did in 2025
14     when you were there in '24?
15            A.     Could not have done those because you
16     need some preparation to do this.                It's
17     complicated.          On top of it, we were on a site
18     visit with several people, other experts, counsel,
19     several counsel.          And the purpose of the site
20     visit was not to do measurements at the spiractor.
21     I do recall that -- and I could not have done this
22     measurement there because I would not have had
23     what I needed to do them.             Now --
24            Q.     After you were there in 2024 through
25     February 11, 2025, did you make -- during that

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1      timeframe, May of '24, February 1, 2025, did you
2      ever make any request for an additional visit --
3      excuse me.        Strike that.
4                      Between May of '24 and when you issued
5      your report on December 9, 2024, did you make any
6      request of the DOJ or the Marines to go back to
7      the base to do measurements?
8              A.      Through counsel I did.          And I want to
9      add that during the 2024 visit, unexpectedly there
10     was a spiractor on the truck bed, that was on a
11     truck bed.        That was at the Holcomb Boulevard
12     water treatment plant.            And when I saw that, I
13     said, well, it is there.             It's not going to be
14     there forever.         And I asked counsel to take some
15     photographs of that spiractor effluent pipe using
16     a Metro card as a scale.
17                     I have a Metro card.         I know exactly the
18     distance of it.         And I used that as a scale on the
19     spiractor and had counsel take photographs of
20     that.        So that's one.
21                     Second, I did through counsel ask if the
22     base could measure the distance that I am talking
23     about here, that measurement that is important for
24     parameters that is used in volatilization
25     calculations.         And I did on one spiractor effluent

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1      pipe at Holcomb Boulevard.              And they provided me
2      with a measurement.           It was much easier to do that
3      at the Holcomb Boulevard water treatment plant
4      because the spiractor there are not covered with
5      this metallic cover that you have at the Hadnot
6      Point water treatment plant.
7              Q.    Two more points.          Then we'll take a
8      break.
9                    So you did think about the need to do
10     the measurements you did on February 11, 2025 when
11     you saw the effluent pipe over at Holcomb
12     Boulevard; right?
13             A.    The reason why --
14             Q.    Let me go slowly through this and, if
15     you could, you did think about the need to do some
16     of these measurements that you ultimately did on
17     February 11, 2025 back in May of '24 when you saw
18     the effluent pipe on the back of the truck, but
19     you were at Holcomb Boulevard and you did some
20     measurements there; right?
21             A.    Yes.     That was an opportunity.             I did
22     that.
23             Q.    Didn't have the equipment, didn't what
24     you needed or circumstances weren't right for you
25     at the time May of '24 and you went back and did

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1      it February of '25?
2             A.     Yes.     And reason I went -- that's one of
3      the reasons I went back on February 11, 2025.
4      It's because of what Dr. Sabatini basically in
5      some sense rebutted my report on some aspect of
6      it.    In his estimates, he relied on a fall height,
7      which is a very important parameter for
8      calculating the losses that AH report basically
9      provided as a visual estimate.
10                   And I was in some sense criticized
11     because the measurement I had was not measurements
12     for Hadnot Point water treatment plant.                   They were
13     measurements for the Holcomb Boulevard water
14     treatment plant spiractor effluent pipe.                    And you
15     have two such measurements.              You have the one that
16     was on the truck bed.            Basically I was there when
17     that was done.         And later on, I had requested
18     through counsel that the base perform a
19     measurement on the spiractor pump, and I provided
20     that to me because I did it.
21            Q.     When you took those photographs, and
22     they're in your report, we're going to go over
23     them a little bit after lunch.
24                   On the pipe that you saw, the effluent
25     pipe that was in truck bed over at Holcomb

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1      Boulevard and you saw it, I guess it had been used
2      and it had been removed and it was in spare parts
3      or to be discarded area or something like that;
4      right?
5              A.    That's my understanding on the truck
6      bed.
7              Q.    Did you do any work, see if had any
8      serial numbers to ascertain how old it was?                     Did
9      you do any metallurgy work on it, anything to
10     ascertain how old that particular pipe was?
11             A.    I didn't see anything that would allow
12     me to do that.
13             Q.    Do you even know if that pipe had
14     actually been used in the past?
15             A.    That pipe obviously had been used.
16             Q.    Why do you say obviously?               Because it
17     was sitting in the back of a pickup truck in a
18     base salvage area.           How do you know where it came
19     from?
20                   MS. O'LEARY:        Object to foundation.
21                   THE WITNESS:        Two things.         The pipe had
22     been obviously used because it was encrusted, if
23     you wish, with deposits, which is typical of all
24     the spiractor pipes that I've seen in place.                      That
25     was one.      And the second point is I was told at

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1      other times that it came from the Holcomb
2      Boulevard.
3      BY MR. DEAN:
4             Q.     Did someone show you where it was before
5      it went in the truck bed when it was actually
6      functioning?
7             A.     No.
8             Q.     Did you ask anybody where that pipe came
9      from specifically?
10            A.     I came from the plant.
11            Q.     Which plant?
12            A.     The Holcomb Boulevard plant.
13            Q.     What do you base that on?
14            A.     That's what I was told.
15            Q.     By who?
16            A.     The people from the water treatment
17     plant.
18            Q.     What was that person's name?
19            A.     I do not know that person's name.
20            Q.     Did you make a record of that person's
21     name so if you need to go back to confirm
22     anything, you'd have his or her information?
23            A.     I did not.
24            Q.     That pipe could have equally come from
25     Hadnot Point, been on the back of a truck, and

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1      they parked it back there behind Holcomb
2      Boulevard, couldn't it?
3                      MS. O'LEARY:      Object to foundation.
4                      THE WITNESS:      I was told it was from
5      Holcomb Boulevard.
6      BY MR. DEAN:
7              Q.      But to be fair and reasonable with me,
8      you don't know, you didn't see where it came in
9      from.        It could have come from Hadnot Point as
10     well?
11                     MS. O'LEARY:      Object to form.
12                     THE WITNESS:      It was on the bed of a
13     truck, and that's all I can tell you.
14                     MR. DEAN:     Let's take a lunch break.
15                     MS. O'LEARY:      Before we go off record, I
16     just wanted to note that Exhibit 7, which was the
17     email, I understand from colleagues who's looked
18     into this, we agree that this one was not among
19     the group where we requested the clawback, but
20     that was an oversight.            We think it was missed
21     because of the sort of thread nature.                  And we
22     assert privilege over Exhibit 7.
23                     MR. DEAN:     So let's do it this way.
24     Let's mark that section of the transcript
25     confidential.         And let's note on the record when

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1      we don't agree with you, but we'll deal with it
2      later.      And we'll mark that document pursuant to
3      your request it be considered privilege and we
4      won't share it outside.            We probably won't even --
5      let's remove Exhibit 7.            Exhibit 7 will not be
6      attached to the transcript until this issue is
7      resolved.
8                    THE VIDEOGRAPHER:          We are off the record
9      at 1255.
10                   (Recess from 12:55 p.m. to 1:47 p.m.)
11                   THE VIDEOGRAPHER:          We are on the record
12     at 1347.
13     BY MR. DEAN:
14            Q.     Let's go back to Exhibit 11, your notes.
15     It should be in there Exhibit 11.
16            A.     Got it.
17            Q.     Now, as we go through this, if you want
18     me -- I'm going to throw some photos -- we're
19     going to go back through the photos at some point
20     in time.      But what I'm saying is if you feel like
21     it would be better for me to throw one of these
22     photos up for you to illustrate what you're doing
23     here, just tell me.
24            A.     I will.
25            Q.     We may jump around a little bit too

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1      because I don't have photos of water buffalos up
2      here yet.       But let's go to item number two.
3      Explain to me -- it says spiractor effluent pipe.
4      That's a good photo to use?               Tell me.       If not,
5      I'll find a different one.               Tell me what your
6      notes say in No. 2 and how that information
7      supports your opinions.
8                     MS. O'LEARY:        For the record, that's in
9      Exhibit 11.
10                    MR. DEAN:       Correct, Exhibit 11.
11                    THE WITNESS:        So item two on Exhibit 11
12     is basically an explanation of the result of the
13     estimated measurements that I performed on
14     February 11, 2025 at the HP WTP, HP water
15     treatment plant spiractor effluent pipe.
16     BY MR. DEAN:
17             Q.     So which pipe -- so we're clear, you
18     appear to be taking some measurements.                    You've
19     recorded some measurements here.                 Which pipe are
20     you measuring the 14-1/2 to 15, the 24 to 18?                        Is
21     it at Hadnot Point?            Is it the one that was --
22     which pipe are you measuring?
23             A.     This is specifically related to Hadnot
24     Point and the photographs that we have looked at.
25             Q.     So you're measuring that pipe in photo

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1      Hennet 4 dated 2/11/25?
2             A.     That's correct.
3             Q.     Is that a good photo for you to use
4      to -- let me tell you what I'm trying to figure
5      out, and I don't care how we do it, whatever is
6      most convenient and quick for you and me both.
7      I'm trying to find a photo that can demonstrate
8      what you're doing in number two.
9                    MS. O'LEARY:        And that's on Exhibit 11?
10                   MR. DEAN:       On Exhibit 11.
11                   MS. BAUGHMAN:        Kevin, for the record
12     what you're showing now is No. 8?
13                   MR. DEAN:       Is HENNET_USA_8.
14     BY MR. DEAN:
15            Q.     So eight is one possibility.               Stop me if
16     you see a photo that you think might help us
17     illustrate what you're doing in No. 2.
18            A.     This is a photograph that I took.
19            Q.     We're looking at HENNET_USA_38 taken
20     2/11/25.
21                   My question is:         Do that help
22     illustrated the measurements that you're showing
23     on Exhibit 11 under item No. 2?
24            A.     Yes, it does.
25            Q.     And what does it show?

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1             A.     It is basically a measurement of the
2      diameter of the effluent pipe.
3             Q.     And is that effluent pipe that you're
4      measuring there at Hadnot Point water treatment
5      plant?
6             A.     Yes.
7             Q.     And did you inspect -- first of all, did
8      you ask anybody when that particular pipe was
9      installed?       Did you get any history from anyone?
10            A.     Nobody knew.
11            Q.     Did you ask?
12            A.     Yes, I did.
13            Q.     Did you look at any documents to
14     ascertain when that effluent pipe extension or end
15     was installed?
16            A.     I found no information as to this
17     particular pipe installment.
18            Q.     Did you look at the pipe to see if it
19     had any markings on it, serial numbers, markings,
20     where it came from, anything like that, to give
21     you any information about its era?
22            A.     There is no such information that I
23     could see.
24            Q.     Again, do you have a better photo?                  Is
25     that is the best photo angle?               Because of where

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1      you were situated, I understand it was a safety
2      issue.      You didn't have the ability to shoot
3      straight down, did you?
4             A.     I did not have that ability.
5             Q.     So you're measuring the inside diameter;
6      is that fair?
7             A.     That's correct.
8             Q.     And so the 14-1/2 to 15-inch measurement
9      that you're doing there is the inside diameter
10     best estimation just because you can't see
11     straight down?
12            A.     Right.      It is the best measured estimate
13     of the diameter of the effluent pipe.
14            Q.     Now, see if we can get this other
15     measurement photo.           You were measuring -- is this
16     the same pipe at a different angle?
17                   MS. O'LEARY:        For the record, this is
18     82.
19                   MR. DEAN:       I'm sorry.
20     BY MR. DEAN:
21            Q.     I'm showing you, Dr. Hennet,
22     HENNET_USA_82 showing that you took it on 2/11.
23                   Is that the same you pipe or a different
24     pipe than the photo we saw before?
25            A.     This is the same pipe.

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1             Q.     And what is purpose of the measurement
2      in the photograph 82, page 82?
3             A.     It's to obtain measurement -- measure
4      estimate of the distance between the top of the
5      metallic bar, the horizontal bar, to the rim of
6      the effluent pipe.
7             Q.     And is that shown on your -- your
8      interpretation or your measurement estimate, is it
9      shown in Section 2?
10                   MS. O'LEARY:        Exhibit 11.
11     BY MR. DEAN:
12            Q.     On Exhibit 11.
13            A.     It is not shown on Exhibit 11, but that
14     was measured in order to have dimensions for the
15     pipe, per se.         This is the distance from the
16     reference bar to the rim.
17            Q.     And what's the inside diameter of the
18     horizontal part of the pipe?
19            A.     The inside -- I couldn't measure that
20     part, but having observed the other effluent pipe
21     that was from the Hadnot Point treatment plant,
22     the pipe is actually -- the diameter appears to be
23     actually a little bit smaller away from this area
24     that you have on the photograph and maybe further
25     away than what even you can see on the photograph.

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1             Q.     So this is a Hadnot Point spiractor
2      tube, right, pipe?
3             A.     This one is at Holcomb Boulevard water
4      treatment plant.          That photograph was not taken by
5      me.
6             Q.     Who took that a photo?
7             A.     Base personnel upon my request.
8             Q.     We're looking at CLJA_USMC_spiractors 2,
9      and you believe that photo was taken at Holcomb
10     Boulevard?
11            A.     Yes.     It was taken at Holcomb Boulevard.
12            Q.     That pipe, the effluent pipe and the
13     supply pipe at the bottom where they come
14     together, they're the same size appear in this
15     photo?
16            A.     Yes, they do.
17            Q.     Where is that photo, HENNET_USA_9,
18     taken?
19            A.     This one was taken at the Hadnot Point
20     water treatment plant.
21            Q.     And did you measure -- so is this the
22     same pipe that you measured the inside diameter of
23     the top of the spiractor?
24            A.     That is the same pipe that we looked at
25     before, yes.

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1              Q.    Did you measure the section of the pipe,
2      the supply pipe that comes to the curved spiractor
3      end?
4              A.    No.       What I measured was the distance
5      between the top of the horizontal bar to the top
6      of the pipe at that location with a rope that we
7      discussed before, and then I measured the length
8      of that distance.
9              Q.    I understand that.           If I also remember
10     for the record, I mean, all this stuff was empty,
11     dry?
12             A.    Everything was dry.
13             Q.    But what I was trying to figure out is
14     what is your belief the diameter of this pipe is
15     right here?           It looks like to me it's PVC of some
16     court.
17             A.    It is not PVC.
18             Q.    The two pieces are assembled in this
19     little area here with the crease; right?
20             A.    That's my understanding, yes.
21             Q.    Did you measure the diameter of the
22     first part of the pipe that's coming out of the
23     wall?
24             A.    No.       I could not do that.
25             Q.    So you don't have any idea of the size

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1      of this pipe that's supplying the effluent pipe
2      ending piece there?
3              A.    That portion of the pipe doesn't supply.
4      It is an exit.         So the water enters the effluent
5      pipe from the rim you see there, and it goes by
6      gravity that way (indicating).
7              Q.    Do you know when the spiractor is active
8      what the level of water would be in the effluent
9      pipe horizontally?
10             A.    That was estimated in the AH report as
11     approximately 6 inches.            That would be called the
12     tail end water height.
13             Q.    Can you show me -- I've got on the
14     screen -- I'm showing you HENNET_USA_10.                    Can you
15     tell me the purpose of that measurement?
16             A.    This measurement is a measurement of the
17     distance between the top of the water reservoir to
18     basically vent, exit.
19             Q.    I cannot -- is there some reason someone
20     didn't take the photo so you can see the
21     measurement of the pipe clearly?
22             A.    I think there are photographs that show
23     that.
24             Q.    But that particular one you can't tell
25     the exactness of the measurement, can you, in that

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1      angle?
2              A.     You can make a fair guess, but I think
3      you have a better photograph of that particular
4      vent pipe.
5              Q.     I'm showing you HENNET_USA_11.                  Do you
6      know what the purpose of that photo is and what's
7      going on there?
8              A.     This is -- this was explained to me to
9      be the treated water after it comes out of the
10     sand filters, treated water.
11             Q.     I'm not following.           Is this an
12     experiment?           A demonstration.        First of all, let
13     me ask you this:            Where was photo taken
14     HENNET_USA_11?
15             A.     It is inside the Hadnot Point water
16     treatment plant.
17             Q.     Did you turn the water on?
18             A.     No.      The water is the always on.
19             Q.     The water is always on.                 And that vial
20     that's being filled up, was it always there?
21             A.     I do not know.
22             Q.     Did you put the vial under the water
23     faucet?
24             A.     I did not.
25             Q.     So do you know why that is there at all

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1      from any water supply reasons?
2             A.     I do not know the reason for the
3      (indecipherable) to be there.               I do not know.
4             Q.     Does this have anything to do with any
5      of your opinions other than it's just an
6      observation when you were in the treatment plant?
7             A.     I took these photographs because it was
8      explained to me this is where the treated water,
9      after it comes out of the treatment, that's where
10     the samples are taken.            That's why I took that
11     picture.
12            Q.     We're looking at HENNET_USA_7.                Is that
13     okay size-wise?         Can you tell me what HENNET_USA_7
14     is or the purpose of the photo?
15            A.     This is an open area that was open for
16     me of the finished water reservoir at the Hadnot
17     Point water treatment plant.
18            Q.     And is this season normally covered up?
19            A.     Normally that door is closed, yes.
20            Q.     And where is the normal water level?
21            A.     The water level for the reservoir
22     fluctuates I was basically informed of by about,
23     if I recall, 4 feet per day up and down.
24            Q.     So when you measured it at whatever time
25     it was on February 11 -- I guess the water level

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1      is this level right here under the first stair?
2             A.     I interpret this as the top of the water
3      level.
4             Q.     You interpreted this to be the top of
5      the water level just below -- between the first
6      and the second step?
7             A.     Yes.     And, as a matter of fact, it was
8      explained to me to be that, because if it goes
9      higher, the water would exit the reservoir through
10     an overflow pipe or vent.
11            Q.     Now, what stage of treatment is this?
12     Is this ready to be furnished?               Is this finished
13     water ready to be pumped out, or is it still in
14     the treatment process?
15            A.     This is finished water, which is
16     basically ready to be pumped into the supply
17     system.
18            Q.     When you were there on February 11, did
19     you drink any water?
20            A.     I don't recall.         I probably -- not
21     there.      I wasn't there.
22            Q.     You might have had bolted water.                 But
23     did you drink this water at Hadnot Point?
24            A.     I didn't go down there to have a look,
25     no.

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1             Q.     Does that look like water you would want
2      to drink with all the rust in that tank and all
3      the pipe going down?            Does that look like safe
4      water even today?
5             A.     Safe water is based on measurement of
6      that water.           And this is not an unusual setting
7      for a water reservoir that has been there for a
8      while.
9             Q.     Who told you the fluctuation was 4 feet?
10            A.     People at the base when I asked that
11     question.       They have a system, and based on that
12     system, they were able to answer that question.
13            Q.     What do you mean by "they have a
14     system"?
15            A.     They measure it, I mean, automatic
16     measurement.
17            Q.     What was the person's name that told you
18     that it was a fluctuations of 4 foot?
19            A.     It was a person who worked at the water
20     treatment plant.
21            Q.     What was that person's name?
22            A.     I do not recall his name.
23            Q.     Did you make any notes other than the
24     two pages that we have that would identify this
25     person and the specific statement they made about

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1      4 feet?
2             A.     I did not take his name.            The people
3      were there basically serving the base.                   They don't
4      give me their names.           They're working.          They're
5      doing their job.          And I ask them questions and
6      they responded and I noted it.
7             Q.     Do you, yourself, personally observe a
8      4-foot fluctuation of the water level in order to
9      be able to use that information to support or use
10     those observations to support your opinions?
11                   MS. O'LEARY:        Object to foundation.
12                   THE WITNESS:        No.    I could not have seen
13     that within the short time that I observed this
14     reservoir water level.
15     BY MR. DEAN:
16            Q.     If you stayed there for 24 hours and
17     observed this well, you would possibly have been
18     able to make that observation; right?
19            A.     That's possibly.
20            Q.     And was there more than one person who
21     told you about the 4 feet or were there like four
22     or five people standing around that agreed it was
23     4 feet?      How many people were you talking about to
24     about the fluctuation, one or more?
25                   MS. O'LEARY:        Object to form.

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1                      THE WITNESS:      There were several people.
2      And the question was posed when we were in the
3      room where they have the water pressure monitoring
4      done.        They have a computer that basically shows
5      water levels in different places.                And the
6      reservoirs are one of those places.
7      BY MR. DEAN:
8              Q.      Did the system of measuring the
9      fluctuation of the water levels, did you ask them
10     if they kept any records of that?
11             A.      I know they measure it.          I would say
12     they probably keep a record of that for a period
13     of time.
14             Q.      Not you.     I'm talking about you got
15     information from the unnamed person who gave you
16     the 4-foot fluctuation.            My question was a little
17     different.
18                     Did you ask them whether they kept
19     records of that fluctuation using their measuring
20     system?        Did they keep any records of this 4-foot
21     fluctuation measuring system?
22             A.      I do not know if they keep records, but
23     that's something they monitor because it is
24     important.        If it is too low, there can be a
25     failure.        If it who high, it will overflow.

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1             Q.     Did you ask how long they had been using
2      this system to measure the fluctuation to be able
3      to say it's 4 feet?
4             A.     What I was told is that that's a
5      parameter that has to be measured for the system
6      to function.          I can extrapolate that to say from
7      day, one they were monitoring the water level on
8      the reservoir, and it goes up and down because it
9      demands (indecipherable).
10            Q.     You did you ask this person how long
11     their measuring system had been a recording a
12     4-foot fluctuation?           Did you ask this person that
13     question?
14            A.     I was told that it was basically typical
15     fluctuation.
16            Q.     Do you know how long that person had
17     worked to the water treatment plant?
18            A.     Not exactly, but I ask.            People that
19     were there were working there for 10 years, 15
20     years, but not a hundred years.
21            Q.     The specific person that told you the
22     4-foot fluctuation, specifically since you don't
23     remember that person's name, do you know how long
24     that person had been on the base to make these
25     observations?

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1              A.    As I said before, they were several
2      person in the room, and all those people were
3      operating this.         And basically the answer was
4      provided, and everybody chimed in.                They say
5      that's typical.         That's what I do recall.
6              Q.    You said in the room.           Did you all have
7      a meeting either before or after you did the site
8      work?
9              A.    Yes.     When we talked about those
10     specific things, like water level fluctuation,
11     that was done inside the water treatment plant.
12             Q.    At a conference room of some sort?
13             A.    Yes, in a room inside the Hadnot Point
14     water treatment plant.
15             Q.    You had a note pad that has S.S.
16     Papadopulos & Associates with you; right?
17             A.    Yes.
18             Q.    Did you create Exhibit 11, the two pages
19     of notes, on February 11, or did you go home the
20     next day or two and fill out these from some other
21     records you had?
22             A.    I don't remember when I did this.
23     Probably the next day this.
24             Q.    Did you copy off of something else that
25     you had?

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1             A.     I probably took some notes of that, like
2      very brief notes because some of those notes you
3      have standing.         And then I just put them so they
4      can be understood.
5             Q.     While you were in the room and you were
6      taking notes on some other note pad or some other
7      notes, did you write down the things that this
8      person was telling you on that note pad?
9                    MS. O'LEARY:        Object to foundation.
10                   THE WITNESS:        Yes, I did.         Then I
11     transferred that here.            And then basically I
12     discarded the draft or I may still have it.                     I do
13     not know that.
14     BY MR. DEAN:
15            Q.     Do you know where those other notes are
16     for which you created Exhibit 11 notes the next
17     day?
18            A.     If they still do exist, I have them in
19     my office probably.
20            Q.     Well, do you know as you sit here today
21     if you still have them?
22            A.     And I do not know right now.
23            Q.     But right now we do know you don't
24     remember the names of the individual or
25     individuals in the room that provided you this

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1      that 4-foot fluctuation history; right?
2             A.     The names of those people was not
3      provided to me.
4             Q.     Did you ask and they just didn't want to
5      give you that info?
6             A.     I was told that there is no photograph
7      of individuals.         And basically you had four, five
8      people there depending on when in the tour.                     And I
9      did not ask the name of those individuals one
10     after the other.
11            Q.     Did you walk in the room and extend your
12     hand and introduce yourself?
13            A.     No.
14            Q.     Did they introduce themselves to you?
15            A.     No.     I was basically following the
16     leader of the visit or the leaders of the visit,
17     which to my understanding was basically the person
18     in charge of the entire treatment plant.
19            Q.     Did you tell me you thought they kept
20     measurement records or not?
21            A.     I said you can ask them if you want.
22     But they do measure things, and measurements
23     typically are kept for a period of time.                    I do not
24     know the period of time.
25            Q.     Fair.     Did you ask them whether -- to

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1      look at those measurement records to verify the 4
2      foot that you had been told?
3              A.    Well, I recall that they showed me on
4      the screen some fluctuations.               I recall that.         And
5      those numbers came basically from those.
6              Q.    What screen were you looking at?
7              A.    Again, it was in a room where they do
8      monitor those devices that measure the elevation
9      in many places, including the water towers, in the
10     water reservoirs, the finished water reservoirs,
11     the old water reservoirs, those kinds of things.
12             Q.    We're making progress.            You're in a room
13     with some individuals that operate the water
14     treatment plant at Hadnot Point; right?
15             A.    Some?
16                   MS. O'LEARY:        Object to form.
17     BY MR. DEAN:
18             Q.    And you are taking some notes on another
19     piece of paper about observations, what you're
20     learning as you're talking to these and they're
21     showing you a computer screen with some data.
22     Sounds like to me it's a chart, flowchart of some
23     sort.
24                   MS. O'LEARY:        Object to form.
25                   THE WITNESS:        First of all, there was

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1      individuals, not only one.
2      BY MR. DEAN:
3             Q.     I understand.
4             A.     Second of all, they showed me that.                   And
5      I asked specific questions, like what is the water
6      level fluctuation in the finished water reservoir.
7      I asked that question and they answered.
8             Q.     I understand.
9             A.     I am not finished.           And then they also
10     showed me on the screen some graphs of water
11     fluctuations in the water towers and the
12     reservoirs.           That's what I recall.        I'm not
13     finished.
14                   And then I took notes of that.                 And for
15     the reservoirs, my note is 4 feet typical per day.
16     And for the water tower, it's basically 6 feet, if
17     I recall, typical per day.
18            Q.     Thank you for that.            I was asking a
19     little different question sort of as a lawyer.
20                   The screen you were looking at, is it a
21     computer screen or a TV screen?
22            A.     It was a computer screen smaller than
23     the one you're showing me now, but it was hooked
24     up to a computer I suppose because I did not check
25     where the extension word went.

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1              Q.     And you were looking at some from
2      computer data history records of some fluctuation
3      data of some sort; right?
4              A.     That's right.
5              Q.     And could you tell from looking at the
6      screen or asking questions how far back the
7      information and data went?
8              A.     I think so because you had two axes.
9      One was in feet and the other axis was basically
10     time, time and date, as I recall.                     And what I saw
11     was basically what was going on.
12             Q.     But you don't know how far back that
13     information went?
14             A.     I do not know how far back that
15     information could be retrieved.                 I do not know
16     that.
17             Q.     Was there a printer room?
18             A.     I do not know that.
19             Q.     Did you take a picture of the screen
20     that you were looking at to get the information
21     for which you now opine that it's approximately a
22     4-foot fluctuation?
23             A.     I did not taking a picture of that.
24             Q.     Did you ask anybody if they had the
25     capability to print out the screen you were

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1      looking at in order to base your opinion of a
2      4-foot fluctuation?
3                      MS. O'LEARY:      Object to form.
4                      THE WITNESS:      I did not.
5      BY MR. DEAN:
6              Q.      If you were talking to these well
7      operators in 2025 and they've been there 10 or 15
8      years, assuming you're accurate, that means that
9      they may have started their employment 2010
10     hypothetically using that math; right?
11                     MS. O'LEARY:      Object to form.
12                     THE WITNESS:      I do not know the exact
13     employment history of each one of those
14     individuals.          But I asked was anyone there in the
15     1980s, and the answer was no.
16     BY MR. DEAN:
17             Q.      So none of them were there in the '80s.
18                     Do you know if any of them were there in
19     2004?        Did you ask that question?
20             A.      I did not ask that question.
21             Q.      And the record you were looking at, how
22     long did you spend looking at the screen -- let me
23     strike that and ask a different way.
24                     All I'm trying to figure out is the
25     fluctuation data you were looking at, the screen,

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1      and you said it was an axis chart.                 Do you know
2      what the timeframe of that chart was that you were
3      looking at?           Was it data for 2024 or 2025, the
4      last few weeks?           What era was that data and the
5      information you were looking at on the screen?
6             A.     My recollection, the time axis was by
7      the week.
8             Q.     So the week before you got there?
9             A.     Yes, because it was up to date.
10            Q.     Did you ask anybody what were any
11     changes in the operations, the pumping operations
12     there from 2004 to the week before you were there?
13     Did you ask anybody if they were aware of any
14     differences in the operational characteristics of
15     the plant?
16            A.     I asked that question.             Basically, to
17     their knowledge, it was still the same.                    They were
18     just keeping operating it the same way.
19            Q.     How long were you in the room with them
20     approximately?
21            A.     Which room?
22            Q.     The room where you were looking at the
23     data on the screen.
24            A.     I don't know, 20 minutes, 30 minutes.
25            Q.     Was there a desk in this room, chairs?

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1             A.     For the people who work there, yes.                  I
2      was standing.
3             Q.     Were there file cabinets?
4             A.     I do not recall that.
5             Q.     Did you ask them while they were on the
6      computer showing you that screen to go into any
7      historic records and look at any additional
8      documents or information?
9             A.     No, because I asked the question.                 The
10     question I asked was in another room.                  Everybody
11     was standing.         But it's inside the plant.             And
12     then to answer those questions, we went to that
13     room where you had the computer screen that
14     basically showed me the fluctuations.
15            Q.     Did you ask before you went out to do
16     your measurements -- for example, you can see the
17     spiractor pipe HENNET_USA_4.
18                   Did you ask any of those gentlemen in
19     the 20-minute meeting whether or not any of these
20     spiractor pipes had been changed since 2004?
21            A.     I asked that question, but it was not in
22     the same room.         It was in the previous room when I
23     asked a series of questions.              Nobody was aware
24     that any one of those pipes was ever changed to
25     their recollection.           That's what that answer was.

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1      So the answer was no.
2              Q.      And you don't know their names.               You
3      don't know exactly how many people were in the
4      room.        You were looking at data on the screen that
5      was for the week before you arrived.                   The pipes,
6      they don't remember them being changed while
7      they've been employees, but you don't know how
8      long they've been employees; right?
9              A.      Approximately as I answered before.
10             Q.      10 to 15 years?
11             A.      The oldest one maybe 20.           I don't know.
12     I just tell you what I recollect.
13                     (Hennet Exhibit 13 was marked.)
14     BY MR. DEAN:
15             Q.      Now, Exhibit 13 I believe is the AH
16     Consultants December 2004 report that you and I
17     have been talking about; correct?
18             A.      That's the report I mentioned, yes.
19             Q.      Do you see on -- turn to page 1-1.
20             A.      Yes.
21             Q.      The last sentence at the bottom of
22     Section 1.1, does it read, "As a part of this
23     effort, AH conducted a literature review and a
24     search of the appropriate archives to assist in
25     the development of reference estimates of the VOC

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1      removal rates that you might have occurred through
2      Hadnot Point, Holcomb Boulevard and Tawara Terrace
3      water treatment plants."
4                    Did I read that correctly?
5             A.     You read that correctly.
6             Q.     On page 2-1 under the Chronology
7      section, second full paragraph beginning, in 1982
8      contamination of the Hadnot Point and Tawara
9      Terrace water systems with tetrachloroethylene or
10     PCE and TCE was detected during monitoring of
11     trihalomethanes.
12                   Do you see that?
13            A.     I see that except you didn't read it
14     correctly.
15            Q.     Do you want to read it for me?                I was
16     embarrassed because I couldn't pronounce the
17     words.      So you go ahead and read it.
18            A.     "In 1982, contamination at the Hadnot
19     Point and Tawara Terrace water systems with
20     tetrachloroethylene (perchloroethylene or PCE) and
21     trichloroethylene (TCE) was detected during
22     monitoring of trihalomethanes."
23            Q.     Now, on page -- in your report -- you
24     might want to lay your report next to you.                     I
25     believe we marked it Exhibit 3.

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1             A.     I found Exhibit 3.
2             Q.     Let's finish this first.            On page 3-6 of
3      the AH report is where I'm at now.
4                    MS. O'LEARY:        Is that Exhibit 13?
5                    MR. DEAN:       Yes, ma'am.
6                    THE WITNESS:        Yes.
7      BY MR. DEAN:
8             Q.     It says at the bottom, "The spiractors
9      at three treatment plants were identical in
10     capacity and dimensions.             In the model, removal of
11     VOC occurred from the top surfaces are shown in
12     Figure 3.1 as well as from the nappe (i.e., the
13     sheet of water falling over a weir) believed to be
14     formed at the center effluent pipe."
15                   Do you see that?
16            A.     I see that.
17            Q.     And then that figure is on the next page
18     at the top.
19            A.     Yes.     I see that.
20            Q.     What's in that photo or that figure?
21                   MS. O'LEARY:        Object to foundation.
22                   THE WITNESS:        This is a schematic of the
23     entire spiractor.
24     BY MR. DEAN:
25            Q.     And it shows in it the entire spiractor

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1      is a 22 foot tall; right?
2             A.     That's correct.
3             Q.     It's 10.4 foot wide?
4             A.     At the top.
5             Q.     And it shows the spiractor pipe, I
6      guess, at the top exiting to the right?
7             A.     Yes.     That's the exit by gravity of the
8      spiractor pipe at the top.
9             Q.     At the end of that first paragraph --
10     let's read the first sentence.               "Images of the
11     pipes at the Hadnot Point water treatment plant
12     are provided in Figure 3.2 and in Figure 3.3 and a
13     detailed sketch of the effluent pipe is shown on
14     Figure 3.4."
15                   Do you see that?
16            A.     That's the first sentence on that page.
17     Yes.
18            Q.     The last sentence, and I just want you
19     to tell me what you understand this means, says,
20     "The critical depth for a circular 12-inch pipe at
21     a flow rate of 1 MGD is approximately 6 inches."
22                   What does that mean?
23                   MS. O'LEARY:        Object to foundation.
24                   THE WITNESS:        Well, the MGD is million
25     gallon per day.         And that's basically the flow,

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1      the capacity of flow through for a spiractor.
2      BY MR. DEAN:
3              Q.    If you turn to page 3.8, next page, you
4      see a picture, Figure 3.2 of that effluent pipe?
5                    Do you see that?
6              A.    I see that, yes.
7              Q.    And it says the era according to the
8      research done by AH Environmental in 2004, that
9      this photo was a 1941/1942 era photo.
10                   MS. O'LEARY:        Object to foundation.
11     BY MR. DEAN:
12             Q.    Correct?
13             A.    That's what it says.           I have no way to
14     verify that the photograph was taken in 1942 or
15     1941.
16             Q.    Then there's a different looking pipe at
17     the same Hadnot Point water treatment plant
18     spiractor in a photo in Figure 3.3, on the next
19     page, 3-9, says on the photo it was a 1944, 1945
20     era photo.       Do you see that?
21                   MS. O'LEARY:        Object to foundation.
22                   THE WITNESS:        I can read that under the
23     photograph.
24     BY MR. DEAN:
25             Q.    And do you agree with me that effluent

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1      pipe is different than effluent pipe in 3.2?
2              A.    That particular pipe is I would call it
3      L shaped.       The other one is called J shaped pipe,
4      but they serve the same purpose.
5              Q.    I understand they serve, but they're
6      different pipes?
7              A.    They are different shape pipes.
8              Q.    Now, if you go to Figure 3.4, do you see
9      where AH Environmental has measured those
10     dimensions of those pipes?
11                   MS. O'LEARY:        Object to foundation.
12                   THE WITNESS:        My understanding is I
13     didn't measure those dimensions.                It's a visual
14     estimate.
15     BY MR. DEAN:
16             Q.    Where do you get that from?
17             A.    I don't recall exactly where, but it is
18     in the report.
19             Q.    Turn to page 3-7.          In the middle of the
20     paragraph it says the fall height.                Do you see
21     that?
22             A.    Yes.
23             Q.    Is that the sentence you're referring
24     to?
25             A.    Yes.     And I define the fall height on

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1      Figure 3.4 that we just looked at.                And there you
2      have the fall height sketched out.
3             Q.     No, sir.       That says the fall height was
4      estimated visually.           That doesn't say that the
5      pipe was not measured.            Do you see what I'm
6      saying?
7                    MS. O'LEARY:        Object to foundation.
8                    THE WITNESS:        What I am saying is that
9      the fall height was not measured.                The fall height
10     is the most important parameter here.
11     BY MR. DEAN:
12            Q.     I'm not disagreeing with you.
13            A.     And that was not measured.              I see no
14     indication they did actually measure the diameter
15     of the pipe.
16            Q.     Well, there's no evidence they didn't in
17     this report, is there?
18                   MS. O'LEARY:        Object to foundation.
19                   THE WITNESS:        I will have to read the
20     report again, but to my understanding, they did
21     not measure those values.             I estimated them.           And
22     the most important one is the fall height.
23     BY MR. DEAN:
24            Q.     They measured the inside diameter of
25     that pipe to be 12 inches, that top measurement;

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1      right?
2                    MS. O'LEARY:        Object to form and
3      foundation.
4                    THE WITNESS:        You will have to show me
5      where in the report it says they measured it.
6      BY MR. DEAN:
7             Q.     Can you show me in the report where they
8      say they did not measure it and they got these
9      measurements visually from some picture of a pipe?
10            A.     I have not soon seen a picture of a pipe
11     with a scale that could give you a measurement of
12     any of those values.
13            Q.     So then you would agree with me they
14     would have had to have physically measured these
15     pipes on the scene?
16                   MS. O'LEARY:        Object to foundation.
17                   THE WITNESS:        They did a visual estimate
18     for the fall height.           Why not a visual estimate
19     for the other dimensions that they provide on this
20     diagram.
21     BY MR. DEAN:
22            Q.     They're showing that the water in the
23     pipe and the measurement they're taking is
24     12 inches plus 2 to get 14; correct?
25                   MS. O'LEARY:        I'm sorry.      What are we

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1      looking at?
2                    MR. DEAN:       I'm looking at the AH report,
3      and I'm going to stay on the AH report until I
4      give you another exhibit number.                I believe it's
5      Exhibit 13.
6                    MS. O'LEARY:        What page?
7                    MR. DEAN:       I'm on page 3-10, same page
8      we've been on.
9                    THE WITNESS:        Can you repeat the
10     question, please?
11     BY MR. DEAN:
12            Q.     Do you see that they took three
13     different measurements or they show three
14     different measurements there.               First one is at the
15     top, 2 inches.         And then they go -- the pipe goes
16     down 12 inches and it stops in the center, and
17     they're depicting a water level.
18                   Do you see that?
19                   MS. O'LEARY:        On object to foundation.
20     BY MR. DEAN:
21            Q.     Which would be at 14 inches.
22                   MS. O'LEARY:        Same objection.
23                   THE WITNESS:        Again, it is a visual
24     estimate.       They did not show any measurement that
25     would show the 2 inch.            It could be 2 inch.           But

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1      the 12-inch for the fall height, which is a value
2      that is important, I did not measure.
3      BY MR. DEAN:
4             Q.     And then there's a measurement here of 6
5      inches from the center down to the bottom of the
6      pipe; right?
7                    MS. O'LEARY:        Objection.      Foundation.
8                    THE WITNESS:        My understanding is I did
9      not measure that either.             I assumed that.
10     BY MR. DEAN:
11            Q.     Well, that's what I'm saying.               You're
12     speculating regarding whether AH took actual
13     measurements of whatever pipe they were looking at
14     or what they were doing in 2004; right?
15                   MS. O'LEARY:        Object to foundation.
16     BY MR. DEAN:
17            Q.     You don't know what they did.
18                   MS. O'LEARY:        Object to form.
19                   THE WITNESS:        Let's look at them one at
20     a time.      We discussed already the 12-inch I
21     estimated.       The 2 inch is also an estimate.                And
22     the 6 inch, they also estimated for a pipe of
23     12-inch diameter that is basically flowing by
24     gravity at the given flow of the spiractor.                     To me
25     all of those are estimates, not measurements.

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1      BY MR. DEAN:
2             Q.     Is that AH Environmental still in
3      business?
4             A.     I don't know.        I believe so, but I do
5      not know specifically.
6             Q.     Did you make any attempt to reach to
7      contact maybe at AH Environmental to verify what
8      they were referring to on the page we were just
9      reviewing?
10                   MS. O'LEARY:        Object to the form.
11                   THE WITNESS:        I did not.
12     BY MR. DEAN:
13            Q.     Now, turn to page 4-15 in your report,
14     please.
15                   MS. O'LEARY:        This is Exhibit 3.
16                   MR. DEAN:       I'm sorry.
17     BY MR. DEAN:
18            Q.     Let's go back.         Before we go back, let's
19     go back to Exhibit 13.            There's one thing I forgot
20     to ask you.
21                   If you turn to page 2-5 of Exhibit 13.
22            A.     I am on page 2-5.
23            Q.     Under 2.3 Water Plant Descriptions
24     Systems, does it read, "The water systems of
25     concern in the ATSDR study including Hadnot Point,

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1      Holcomb Boulevard and Tawara Terrace are described
2      in the following sections.              The descriptions are
3      based on interviews with base personnel, site
4      visits and an examination of the design and
5      as-built drawings that were obtained as a part of
6      this project."
7                    Did I read that correctly?
8             A.     You did.
9             Q.     So AH did do site visits?
10                   MS. O'LEARY:        Object to foundation.
11                   THE WITNESS:        It says they did, yes.
12     BY MR. DEAN:
13            Q.     And in 2004, 21 years before you were
14     there, the personnel at the base in 2004 would
15     have been closer in time to the early 2000s.
16            A.     I don't know.        It's likely.
17            Q.     Now we're finished with Exhibit 13.
18                   Would you go to page 4-15 in your
19     report, which I believe is Exhibit 3.
20            A.     4-15?
21            Q.     Yes, sir.
22            A.     Yes.
23            Q.     In the second paragraph, you say, under
24     4.5, "The first known analysis of the Camp LeJeune
25     drinking water for VOCs that included COCs was in

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1      October 1980."         And you footnote 41 and refer to
2      1980 Jennings lab report; right?
3             A.     You read that correctly.
4             Q.     If you turn over, let's start the
5      sentence at the bottom of page 4-15, last
6      sentence, it begins for, about three lines up,
7      "For example, the composite sample contained
8      39 percent, 18 and 11 percent of finished water
9      from HP, TT and HB-WTPs, respectively."
10                   Did I read that right so far?
11            A.     Yes, but you didn't finish sentence.
12            Q.     You're right.        I'll come back.          "The
13     39 percent that's above that is the Hadnot Point
14     reference, the 18 is Tawara Terrace, and the 11 is
15     at Hadnot Point, Holcomb Boulevard.
16            A.     Yes, that's correct.
17            Q.     Then the sentence completes.               The rest
18     was from the five other water supply systems.
19            A.     Correct.
20            Q.     "Analytical results" -- go to the next
21     page 4-16 -- "reported on October 31, 1980 showed
22     only trace levels of COCs in the composite (TCE
23     reported at .005 milligrams a liter; 1,2-DCE at
24     .006 micrograms a liter; VC at .01 micrograms a
25     liter; PCE not detected; benzene not detected)."

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1                    Do you see that?
2                    MS. O'LEARY:        Object to foundation.
3                    THE WITNESS:        I see that except that for
4      TCE you said 0.05 milligrams per liter.
5      BY MR. DEAN:
6             Q.     What is it?
7             A.     It is microgram per liter.
8             Q.     Then you say, "Even assuming a worst
9      case scenario that all the reported COCs came from
10     Hadnot Point water treatment plant water, that
11     would yield only trace level COCs in that system."
12                   Do you see that?
13            A.     I see that.
14            Q.     Then "The same can be calculated for
15     each water system, and none would show COC
16     concentrations above trace levels.                This indicates
17     that none of the water supply systems were
18     contaminated with COCs at that time."
19                   Did I read that correctly?
20            A.     You did.
21            Q.     Am I understanding that opinion is based
22     on a composite sample that was taken in 1980, that
23     sole opinion is based on this composite sample,
24     sole composite sample taken in 1980?
25                   MS. O'LEARY:        Object to form.

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1                    THE WITNESS:         That description is based
2      on water samples taken at eight different water
3      treatment plants, brought to the lab, composited
4      by the lab.           Labs do know how to do that.            And the
5      composite that was analyzed.
6      BY MR. DEAN:
7             Q.     Do you know if all those wells were
8      operating the day that sample, composite sample
9      was created?
10                   MS. O'LEARY:         Object to form and
11     foundation.
12                   THE WITNESS:         Explain to me what you
13     mean all of those wells.
14     BY MR. DEAN:
15            Q.     Well, the wells that you say were
16     sampled to make up the composite sample, were
17     those wells operating the day the sample was
18     taken?
19                   MS. O'LEARY:         Object to foundation.
20                   THE WITNESS:         It was not wells that were
21     sampled.      It was --
22     BY MR. DEAN:
23            Q.     I'm sorry.        Water at water treatment
24     plants that created the composite sample, do you
25     know if the plant was operating or the wells were

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1      operating that day the composite samples were
2      taken from the water treatment plant?
3                     MS. O'LEARY:        Object to foundation.
4                     THE WITNESS:        I'm confused because it
5      seems you confused wells and water supply.
6      BY MR. DEAN:
7              Q.     I may have in my first part of my
8      question.       I'm trying to clear it up now.                 My
9      understanding is composite samples that are being
10     referred to here, eight systems were taken,
11     39 percent from the Hadnot Point water treatment
12     plant, 18 percent from the Tawara Terrace water
13     treatment plant, and 11 percent from the Holcomb
14     Boulevard water treatment plant; right?
15             A.     I don't think that's correct.                What is
16     correct is samples were taken at eight water
17     treatment plants, basically finished water.                         So
18     samples were.         And then they were brought to the
19     lab or the lab took them.              And in the lab they
20     were composited in a manner that is reflected in
21     that paragraph, 39 percent for Hadnot Point,
22     et cetera.
23                    (Hennet Exhibit 14 was marked.)
24     BY MR. DEAN:
25             Q.     I'll show you Exhibit 14.              Just lay it

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1      there next to you.           We'll be referring to that.
2      For the record, this is Exhibit 14.                    It's CLW 430
3      through 434, which is the document you reference
4      for your sentence footnote 41.                Also known as
5      CLJA_USMCGEN_6650 through 6654.
6                     MS. O'LEARY:        Object to foundation.
7      BY MR. DEAN:
8              Q.     Do you see listed on the first page of
9      Exhibit 14 the eight marked samples?
10             A.     Just checking something here.                I see
11     this.
12             Q.     Let me ask you --
13             A.     It seems to be an issue with the Bates
14     number on these documents because you have --
15             Q.     No, sir.      Let me help you if I can.
16     Your sentence, The first known analysis of Camp
17     LeJeune drinking water's plot for VOCs that has
18     included COCs was in October 1980.                    Footnote 41.
19                    Footnote 41 says Jenning Laboratories
20     10/31/1980 Camp LeJeune Justice Act CLW, CLW 430
21     through 435.          I put in front of you Exhibit 14 is
22     the CLW 430 through 435 document you're referring
23     to.
24             A.     You are correct.          But there is another
25     Bates number.

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1             Q.     I agree.       I agree.     But you refer to --
2      I'm just using the one you refer to and making it
3      clear that it's the same one.
4                    You agree with that?
5             A.     I agree with that.
6             Q.     The first two samples are Hadnot Point
7      water treatment plant samples; right?
8                    MS. O'LEARY:        Object to foundation.
9      BY MR. DEAN:
10            Q.     Sample 1 is Hadnot Point Building 20,
11     which is the Hadnot Point treatment plant?
12            A.     Right.
13            Q.     Sample 2 is -- and they took two quarts
14     from there, which is a 152 milliliters; right?
15            A.     No.     It's 1,500.
16            Q.     I'm sorry.       You're right.          And Number
17     two sample, they one quart from Hadnot Point
18     Building 670?
19                   MS. O'LEARY:        Object to foundation.
20                   THE WITNESS:        Yes.    Building 670 is
21     Holcomb Boulevard.
22     BY MR. DEAN:
23            Q.     Treatment plant?
24            A.     Treatment plant.
25            Q.     Now, this is dated October 31, 1980 when

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1      the report was issued, but it says the samples
2      were taken on October 1.
3             A.     That's right.
4             Q.     Do you know if on October 1, 1980 Hadnot
5      Point well 651 was running?
6             A.     I do not know.         Nobody knows that.
7             Q.     Have you done any work to ascertain from
8      historic records whether or not well 651 was
9      operating on October 1, 1980?
10            A.     I have looked.         I have looked quite a
11     lot to see what is the information on when well
12     651 was operated.
13            Q.     So go back to your report.              And your
14     report, last sentence of that first paragraph I
15     read, says, "This indicates that none of the water
16     supply systems were contaminated with COCs at that
17     time."
18                   Do you see that?
19            A.     That's a true statement, yes.
20            Q.     And you rely on this report, October 31,
21     and everything else you say in that paragraph to
22     reach that conclusion?
23            A.     Yes.
24            Q.     I just want to make sure I understand
25     that last sentence.           You're saying it's your

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1      opinion based on what we just talked about that
2      none of the water supply systems at Hadnot Point,
3      at Holcomb Boulevard or Tawara Terrace were
4      contaminated on October 31, 1980?
5                    MS. O'LEARY:        Object to foundation.
6      BY MR. DEAN:
7             Q.     October 1, 1980.
8             A.     Yeah.     I indicated that you had no
9      significant contamination in any of those systems
10     on October 1, 1980.           That's what that reports.
11                   MS. O'LEARY:        If we've been going for a
12     little over an hour.           So if there's point where we
13     can take a short break.
14                   MR. DEAN:       Now is a good time.           I'm
15     fixing to go to another subject.
16                   THE VIDEOGRAPHER:          We are off the record
17     at 1455.
18                   (Recess from 2:55 p.m. to 3:06 p.m.)
19                   THE VIDEOGRAPHER:          We are on the record
20     at 1506.
21     BY MR. DEAN:
22            Q.     Can you go to Exhibit 3.            Actually --
23     yeah, Exhibit 3.          Let me get the right page for
24     you.     I want to talk about your opinions for
25     Hadnot Point well 634.

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1                    Do you have independent opinions on
2      contamination analysis of HP-634 as far as its
3      start date of contamination, contamination at all?
4      Do you have independent opinion on that or do you
5      rely on Alex Spiliotopoulos?
6                    MS. O'LEARY:        Object to form and
7      foundation.
8                    THE WITNESS:        I have reviewed
9      independent data for well 634, and it is in my
10     opinions.       I describe that.
11     BY MR. DEAN:
12             Q.    What is your opinions with respect to
13     contamination at HP-634?
14             A.    It is in my report.           So I can go there.
15             Q.    Please if you don't mind.
16             A.    If you permit me to find it.
17             Q.    I'm trying to get there myself.                I
18     believe it's page 530.            Page 531, bullet point --
19     I guess it's the third bullet point down, it says,
20     "Supply well HP-634 was not contaminated with
21     TCE."
22                   Do you see that?
23             A.    I see that, yes.
24             Q.    And what's the basis of that opinion?
25             A.    The data.

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1             Q.     What data are you referring to?
2             A.     The available data.
3             Q.     It's in your report.           Let's just read it
4      together.       You're saying that there's two samples
5      taken in December of 1984 after the well was shut
6      down and, two, after wells shut down in '86 and
7      '91.     But on those first two, December 4 and 10th
8      they were nondetects.
9                    MS. O'LEARY:        Object to form and
10     foundation.
11                   THE WITNESS:        For TCE they were
12     nondetect.
13     BY MR. DEAN:
14            Q.     Do you know what the nondetected level
15     was?
16            A.     By memory, no, but we have to go back to
17     the data sheets.
18            Q.     Do you know, did you do any work or
19     research or data analysis for the December 4, 1984
20     sample at HP-634 to determine whether or not that
21     was a good sample?
22                   MS. O'LEARY:        Object to form.
23                   THE WITNESS:        I looked at what is
24     available for the results on that date, and my
25     recollection is that it's some information from

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1      the laboratory.
2      BY MR. DEAN:
3             Q.     Do you know whether or not that
4      December 4 sample was contaminated in any way?
5             A.     I would have to go back to the data
6      sheets to answer that question if it is.                    But I
7      recall for TCE, it was nondetect as I recall it.
8      I would need to see the datasheet to confirm.
9             Q.     I think this is in your report.                Table
10     C7 report ATSDR, let's see if that's in here.
11                   According to your -- I'll show you the
12     form the data in just a second.               I'm making a copy
13     of it.      But according to your bullet pointed note
14     there, there's only one sample that shows a
15     positive result for TCE, which was taken
16     January 16, 1985 at 1300 micrograms per liter;
17     right?
18            A.     Out of the five samples taken during the
19     period, yes, that's my understanding.
20            Q.     But you're saying -- what's wrong with
21     that 1300 micrograms per liter measurement
22     taken in -- reported out January 16, 1985?
23            A.     So you mean the one with 1300 reported?
24            Q.     Yes, sir.
25            A.     Well, that particular sample was part of

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1      a questionable sample sets that contained broken
2      bottles based on what I have reviewed.
3             Q.     And do you believe that the sample that
4      rendered the 1300 microgram per liter measurement,
5      was that sample vial broken?
6             A.     Again, I will have go to look at that.
7      There were several samples broken.
8             Q.     What about the sample for 634, was that
9      vial broken?
10            A.     I have to back to look at that
11     information that I cite in my report.                  And I want
12     to say for these type of samples, for those type
13     of analytical means, you always -- the protocol is
14     to take more than one flask or one sample, so
15     typically two or three.
16            Q.     But you believed that somehow because
17     some of the vials collected January 16 that that
18     means that the vial for 634 was somehow comprised?
19            A.     It is a QA/QC flag.           So the data should
20     be marked as such.           You a problem with that
21     shipment.       And all the samples could have been
22     contacted by the broken vials in the package, if
23     you wish.       And typically the flag, you say, well,
24     you should resample.
25            Q.     Have you seen any documents to date that

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1      indicate specifically which vials were broken and
2      what the condition of the 634 vial was?                   Have you
3      seen any documents or data that gives you that
4      information?
5             A.     I recall two or three different sources
6      there.      And I do not specifically recall the
7      content of those.          You'll have to show them to me.
8                    (Hennet Exhibit 15 was marked.)
9      BY MR. DEAN:
10            Q.     We'll show you Exhibit 15, and this is
11     the data for -- and for the record, it's
12     CLJA_WATERMODELING_01-33723 through 3726.                    And on
13     page -- I'm going to to this referring to the
14     Bates-stamp 3724.          So it's the second page.
15                   Do you see the data reported out for
16     HP-634?
17            A.     Well, this is, I believe, from the ATSDR
18     report.
19            Q.     Correct.
20            A.     And this is not the documents I was
21     referring to.         I refer to original documents that
22     basically describe the sample set.
23                   (Hennet Exhibit 16 was marked.)
24     BY MR. DEAN:
25            Q.     Now, I'm going to show you Exhibit 16.

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1      This is report # 7.
2                    MS. O'LEARY:        Do you have a copy of for
3      me of 16?
4                    MR. DEAN:       Did I hand him two copies?
5                    MS. O'LEARY:        I'm not sure.        The last
6      one I got was 15 which was Table C7 from the ATSDR
7      report.
8      BY MR. DEAN:
9             Q.     This is report 7 from the JTC
10     Environmental, December 18, 1984 report,
11     CLJA_NAVLANT-563489 through the 563498.                   If you
12     turn to page 3495, you see that that particular
13     Navy sample for HP-634 was received on the 12th
14     and analyzed December 14.             And that's when they
15     got the chloroform, the 44V methylene chloride 130
16     reading.
17                   Do you see that?
18                   MS. O'LEARY:        Object to form.
19                   THE WITNESS:        I see that.
20     BY MR. DEAN:
21            Q.     Do you remember that when that -- let's
22     go to something else first.
23                   (Hennet Exhibit 17 was marked.)
24     BY MR. DEAN:
25            Q.     I show you Exhibit 17.            That first one,

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1      Exhibit 16, it's listed as a part of your
2      reference materials; correct?
3             A.     I believe so.
4             Q.     I'll show you just page 9 of your
5      reliance materials, which are Exhibit 1 --
6      Exhibit 10 is your supplemental reliance
7      materials.       Do you see just the two reports I've
8      handed to you, Exhibit 16 and 17, do you see where
9      you listed both those reports in your reliance
10     materials, the highlighted ones that I've got
11     there for you?
12                   MS. O'LEARY:        What do you have
13     highlighted?
14                   MR. DEAN:       Report 7, Exhibit 16 and the
15     report 17 which is Exhibit 17.
16                   THE WITNESS:        Stay with me.
17     BY MR. DEAN:
18            Q.     Exhibit 16 is the report 7; right?
19            A.     563.
20            Q.     Do you see it says test report number 7.
21     That's all you got to look at on the top.                    Do you
22     see it on Exhibit 16?
23            A.     I see that.        It says Report # 7, but the
24     a Bates-stamp numbers for some reason --
25            Q.     Don't worry about Bates numbers.                 Don't

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1      worry about Bates numbers.              Okay?     Exhibit 16 is
2      test report # 7 that's referenced that in
3      Exhibit 10 of your reliance materials on page 9;
4      correct?
5             A.     It's not the same Bates number.                But it
6      has the title report number 17.
7             Q.     Now go to Exhibit 17 laying there.                  Top
8      left-hand corner it says it's report number 17
9      Enclosure.       Actually if you'll turn to the second
10     page that would be the easiest.                 Turn to the
11     second page.          And it says at the top report 17.
12            A.     It says report number 17.
13            Q.     And is report 17 in your reliance
14     materials on page 9?
15            A.     I believe it is.
16            Q.     Now, on Exhibit 17, if you turn to the
17     page -- the easiest one for me to use is the CLW
18     number 5611, so about a third of the way in.                      Do
19     you see the large CLW number?
20                   MS. O'LEARY:        That would be the Bates at
21     the bottom CLJA_WATERMODELING_09 and then 423234.
22                   MR. DEAN:       Mine is cut off.         Sorry I
23     couldn't give you that one.
24     BY MR. DEAN:
25            Q.     Do you see on 5611 the sample received

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1      January 18 reported out at 1300 microgram per
2      liter on that page 5611?
3             A.     Can you repeat that?
4             Q.     Do you see at the bottom besides 87V,
5      TCE is reported out at 1300 on the sample for
6      January 18?
7             A.     Yes.     I see that.
8             Q.     Do you see anything on this lab sample
9      log, page 5611, that says anything about that
10     sample being compromised or there being some sort
11     of an issue with that sample?
12            A.     Not on this sheet.
13                   (Hennet Exhibit 18 was marked.)
14     BY MR. DEAN:
15            Q.     I'll show you Exhibit 18 and ask you if
16     you've ever seen that document before today.                      I
17     will tell you it's not listed in your reliance
18     materials as a part of the ones you specifically
19     set out.      It's probably covered in the catch-all.
20                   My question is just:           Do you as you sit
21     there today remember reading this chronology?
22            A.     Those documents seem familiar, but there
23     are several chronologies in the record that look
24     about the same.         So I think I have seen this.
25            Q.     It's not again listed specifically in

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1      your reliance reference materials, although it's
2      probably in a catch-all at the end in those
3      others, and I just was not certain of whether or
4      not you've ever considered this document and
5      considered it for your opinion in this case.
6      That's my question.
7                    MS. O'LEARY:        Object to form.
8                    THE WITNESS:        I have looked at many
9      documents, and this is probably one of the one I
10     looked at because I do remember documents that
11     looked like that that were basically chronologies.
12     I don't think they are more than one to my
13     recollection.
14     BY MR. DEAN:
15            Q.     Now, do you see that January 16, 1985
16     entry?      Actually let's go back up.            So December 4,
17     which was the date we were talking about earlier
18     shown on the summary that had a nondetect
19     remember, it says, "Sampled Hadnot Point water
20     plant raw and treated water, plus wells 601, 603,
21     608, 634, 637 and 642 because of their proximity
22     to the 602."
23                   Do you see that?
24            A.     I see that.
25            Q.     And it also says on 10 December, a

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1      couple lines down, "Sampled HP treated water, plus
2      wells 601, 602, 608, 634, 637 and 642."
3                    Do you see that?
4             A.     I see that.
5             Q.     14 December, "Received the result of the
6      10 December '84 sampling.             Treated water levels
7      dropped.      Wells 634 and 637 previously showing
8      nothing showed significant levels of methyl
9      chloride.       634 and 637 were shut down."
10                   Do you see that?
11            A.     Yes.     It is methylene chloride.             Yes.
12            Q.     I'm sorry.       Now, I think in your report
13     your opinion is that as of December 14, 634 has
14     been shut down and no longer operating; is that
15     right?
16            A.     634 was shut down because of methylene
17     chloride detection.
18            Q.     And it stayed shut down.            It was the
19     never turned back on as far as you know?
20            A.     It was not returned to service as far as
21     I know.
22            Q.     I don't know exactly what page that is.
23     It might have Dr. Spilotopoulos' report.
24                   But as far as you know as you sit here
25     today, you don't know of any information that 634

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1      was turned back on after that December 12?
2              A.      My recollection is that it was shut
3      down.        It was said shut down temporarily, but I
4      saw no indication that it was ever put back in
5      service.
6              Q.      Let's look at that.         Do you see the next
7      entry about two down, it says 16 January 1985?                       Do
8      you see that entry?
9              A.      Yes, I do.
10             Q.      And we've already established from
11     Exhibit 17, the JTC report, that 634 was, in fact,
12     tested on January 16; right?
13             A.      Can you show me which?
14             Q.      Exhibit 17 or you can go to Exhibit --
15     Exhibit 17, January 16, 1985, 634 was tested.
16                     MS. O'LEARY:      What page is that?
17                     MR. DEAN:     5611.
18     BY MR. DEAN:
19             Q.      Page 5611, 634 was a well that was
20     sampled on the 16th, the sample received 18th, and
21     it was reported out on the 28th.                Do you see that?
22             A.      Where is the date of sampling here on
23     this page?
24             Q.      Do you see at the top of 5611 it says
25     the Navy received the 634 on January 18?

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1             A.     Yes, but that's not the sampling data.
2             Q.     Hold on.       Bear with me.       If you go to
3      exhibit -- go to Exhibit 15, which is this
4      document, the chart.           Do you see on the second
5      page besides or down there where it says the
6      sample date for Hadnot Point 634, it lists 12/4,
7      12/10 and January 16, 1300 micrograms per liter?
8             A.     Two more dates later.           Yes.     This is
9      from ATSDR.
10            Q.     Correct.
11            A.     This is not primary source of
12     information.
13            Q.     Sir, the primary source of the
14     information for the 1300 reading right there shows
15     that the Navy received the sample.                I'll give you
16     it doesn't say when specifically on that page the
17     sample was taken.          It says the Navy received it on
18     the 18th.       The result for TCE on the bottom
19     right-hand corner is 1300, isn't it?
20            A.     That's correct, but it doesn't give me a
21     sampling date.
22            Q.     I understand it's not there, but we can
23     get that date, assuming it's accurate, from
24     Exhibit 15; right?
25            A.     Assuming that the ATSDR is accurate.

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1      There were a few typos in the ATSDR sampling
2      dates.
3             Q.     Also on Exhibit -- the chronology,
4      Exhibit 18, on the first page, CLW 4546, beside 16
5      January 1985, which is the same date that ATSDR
6      listed in their report as the sample date, does it
7      read, "Sampled all operating wells for Hadnot
8      Point and Holcomb Boulevard water plant (HB).                      37
9      wells"?
10                   Did I read that correctly?
11            A.     You read that correct.
12            Q.     So we got two.         That's the original
13     source or that a source, not the original.                     That's
14     a source of the date of January 16 that all
15     operating wells including HP-634 were sampled;
16     right.
17            A.     It doesn't say January 16 HP-634 on what
18     you showed me.
19            Q.     It says, "All operating wells were
20     sampled that day."
21                   Do you see that?
22            A.     That what it says.
23            Q.     634 was sampled on that day.
24                   MS. O'LEARY:        Object to foundation.
25                   THE WITNESS:        Could be.

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1      BY MR. DEAN:
2              Q.    The history says it was operating that
3      day; right?
4              A.    That's the words that is being used in
5      this.
6              Q.    So my question is:          Did you disregard
7      that fact or not consider that fact when you
8      issued your opinion saying that the well shut down
9      on December 12, 1984 and never went back into
10     service?
11                   MS. O'LEARY:        Object to foundation.
12                   THE WITNESS:        I did not disregard that.
13     I did look at the 37 wells that were sampled, and
14     it included both operating wells and the wells
15     that were shut down.           For example, 602 was
16     sampled.      It was shut down.          So I think the person
17     who wrote this narrative just basically probably
18     used the incorrect word because what I did is I
19     sampled all water supply well that they could
20     sample.      That's my interpretation of that, because
21     when I look at what was actually sampled, it
22     included wells that were not on.
23     BY MR. DEAN:
24             Q.    Do you know if there's any other
25     evidence that well 634 was, in fact, operating on

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1      January 6, 1985 other than the document you and I
2      just looked at, the chronology, 4546, CLW 4546?
3      It's Exhibit 18.
4              A.      Well, I have searched for that.              There
5      is no document I could find that would say well
6      634 after it was shut down because of methylene
7      chloride was ever restarted.              You are quoting
8      something that is out of the -- not of the time,
9      but somebody just did a narrative.
10                     And when they say all operating wells
11     were sampled, 37 wells, I looked at the data from
12     those resampling, and it does include wells that
13     were shut down, but they could be sampled because
14     technically because they could be sampled.
15             Q.      Did you find any other historical
16     documents or any other information about operation
17     of 634 when you were doing your in-depth document
18     review in order to base your opinions other than
19     you now believe you might have seen Exhibit 18?
20             A.      Yeah.   My memory come back.           I have seen
21     this.        And then I just went to look at all the
22     wells that we sampled, and those included wells
23     that were in operation or operable as well as
24     wells that were closed at that time.
25                     (Hennet Exhibit 19 was marked.)

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1      BY MR. DEAN:
2             Q.     Let me show you Exhibit 19.              The
3      Department of Justice has retained you as an
4      expert in this case; right?
5             A.     Yes.
6             Q.     And they are defending the United
7      States; right?
8             A.     Pardon me?
9             Q.     That they are defending the United
10     States in this litigation?
11            A.     That's the role of the Department of
12     Justice in this case, yes.
13            Q.     And the location that's at issue in this
14     case is Camp Lejeune, North Carolina, which is a
15     Marine base under the jurisdiction of the Marine
16     Corps which falls under the Navy.
17            A.     That's my understanding.            I have not
18     seen documents that state specifically that.                      I
19     have not looked for that.
20            Q.     Do you believe that the United States
21     Marine Corps, if they were to prepare a history
22     that applies to operation 634, that the Marines
23     would be accurate and truthful in that chronology?
24                   MS. O'LEARY:        Object to foundation.
25                   THE WITNESS:        As I mentioned, those

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1      chronologies are put together by somebody who was
2      probably task to do that.             That doesn't mean that
3      it is absolutely correct.             I have noticed several
4      times where things are contradictory in the
5      record.
6      BY MR. DEAN:
7              Q.    Do you trust Marine Corps chemists?
8                    MS. O'LEARY:        Object to foundation.
9                    THE WITNESS:        What do you mean by trust?
10     BY MR. DEAN:
11             Q.    Do you not believe or trust a Marine
12     Corps chemist?
13                   MS. O'LEARY:        Object to form and
14     foundation.
15                   MR. DEAN:       Let me withdraw that.            A
16     little argumentative.            I'll object to my own
17     question and ask a different way.
18     BY MR. DEAN:
19             Q.    Do you have any reason as you sit there
20     today right now to distrust, not believe, not feel
21     comfortable with a United States Marine Corps
22     chemist analyzing the operation of these wells in
23     1989?
24             A.    1989?     Everybody do the best they can.
25     I don't see malfeasance, if that's what you mean,

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1      but it is not to the exclusion of sometimes some
2      verbiage that is not correct for litigation or
3      basically some error.            Human error happens, but --
4      I want to finish -- I don't see anyone who's is
5      trying to basically say something that I didn't
6      think was the way they said it.
7                    But I do not cherry pick what I look at.
8      I look at everything.            The basis of me as a
9      professional rendering an opinion it's not based
10     on the cherry picked one piece or one sentence
11     here ignoring the other ones.               I am taking the
12     entirety of that, and then I make my opinion.
13            Q.     And your opinions are based on the stuff
14     that's been provided to you or that you've
15     developed or researched and located, produced to
16     you.     That's where you get all your information;
17     right?
18                   MS. O'LEARY:        Object to form.
19     BY MR. DEAN:
20            Q.     Let me ask a different way.              Did you get
21     any information, did you get any documents
22     directly from the Marine Corps or the Navy, or did
23     you get all of the documents and information
24     supplied to you by the Department of Justice?
25            A.     My understanding as far as documents,

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1      base-related documents that they basically all
2      came through the Justice Department.                   But if you
3      have a newspaper article, I may have read that,
4      but it was not coming from the Justice department.
5              Q.      Understood.       I'm going to show you
6      Exhibit 19.           Exhibit 19 is a memo from a
7      supervisory chemist Elizabeth Betz, dated 11
8      April 1989.           Its subject says Water Monitoring
9      Related to the Installation Restoration Program at
10     the top.
11                     Do you see that?
12             A.      I see that.
13             Q.      This document is not listed in your
14     reliance materials in any of the call-outs through
15     page 22, although it could be covered in some of
16     the other catch-alls.
17                     My question:       Do you, as you sit there
18     today, specifically remember reviewing a 1989
19     Marine Corps water monitoring program history
20     document?
21                     MS. O'LEARY:       Object to form.
22                     THE WITNESS:       I believe I have seen
23     this.        At least it looks like something I've seen
24     in the past.
25

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1      BY MR. DEAN:
2             Q.     And do you see on the second page, 1819,
3      it says Installation Restoration Program
4      Background Information?             Do you see that?
5             A.     I see that.
6             Q.     And if you go down to line 6, that very
7      similar sentence where it says, "On December 4,
8      1984 the Hadnot Point water treatment plant's raw
9      water and treated water was sampled as well as any
10     drinking water wells within a mile of Hadnot Point
11     fuel farm or Building 202.               The building numbers
12     sampled were 601, 603, 608, 634, 642."
13                   Do you see that?
14            A.     I do see that.
15            Q.     Then the results are received on
16     December 6.           In item number 8, it says from
17     October 31 -- excuse me.              Does it say, "From 10-31
18     December 84 duplicate and quality control samples
19     were run to confirm the presence of TCE, DCE and
20     PCE in the wells.           Wells 634 and 637 on a second
21     sampling shows methyl chloride.                The wells were
22     temporarily closed until it was determined that
23     the methyl chloride was probably a laboratory
24     contaminant."
25                   Do you see that?

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1             A.     I see that.
2             Q.     If you turn to the next page, paragraph
3      9, Ms. Betz notes "On January 16, 198 37 wells
4      serving the Hadnot Point and Holcomb Boulevard
5      water plants were the sampled."
6                    Do you see that?
7             A.     I see that.
8             Q.     Item number 13, moving forward, says,
9      "On 1 February 1985, the 31 January 1985 samples
10     showed that there was still a contaminated well
11     operating in the Hadnot Point system.                  The results
12     of the 16 January '85 sampling were phoned into
13     Natural Resource and showed high levels of TCE in
14     651.     Well 651 is located on the backside of
15     DRMO's disposal storage lot.              It was not initially
16     sampled as being in proximity to a NACIP site.                       It
17     had the highest levels of TCE found.                  The
18     concentration was in the 17,000 to 18,000 parts
19     per billion range.           Well 651 was shut down."
20                   Can you read what the record what it
21     says on February 1, 1985 about well 634?
22            A.     Well, we're talking back to this 1300.
23            Q.     Can you read into the record the rest of
24     the paragraph I just read beginning well 634, sir.
25                   MS. O'LEARY:        Object to form.

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1                    THE WITNESS:        "Well 634 showed TCE also
2      and was shut down."
3      BY MR. DEAN:
4             Q.     That document says 634 continued to run
5      some point in time after it was temporarily
6      closed, put back in service the end of December,
7      middle to end of December, and it ran until
8      February 1, 1985.          That's what that document says;
9      right?
10                   MS. O'LEARY:        Object to foundation.
11                   THE WITNESS:        You have to help me here.
12     I don't see where says that 634 was operated for
13     the water simply.
14     BY MR. DEAN:
15            Q.     Well, it says on the 1st of
16     February 1985, it was shut down.                That's the
17     sentence you read.           And if it shut down, it means
18     it was operating before it was shut down.
19            A.     No.     That's one interpretation of this.
20     But my interpretation based on everything I have
21     looked at is -- remember that this chronology here
22     was done basically four years or five years after
23     the fact.       So it's basically some rehashing of
24     things.      I put more credential to basically
25     documents that are close to when things happen or

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1      when things happened.
2              Q.      Well, this is 1989 and the other
3      document is February 26, 1985.                 If you go look at
4      Exhibit 18, tell me the date it says that that
5      chronology was prepared.
6                      MS. O'LEARY:        Object to form.
7                      THE WITNESS:        That chronology we talked
8      about was February 26, 1985.                This one --
9      BY MR. DEAN:
10             Q.      30 days later.
11             A.      That one.       And this one is five years
12     later.
13             Q.      Four years later and it has the same
14     wording, for the most part, of the wording that
15     was done when it was created 30 days within that
16     well -- actually, the well was shut down
17     February 1.           So that's 25 days after 634 was shut
18     down.        This chronology was prepared.              Isn't that
19     sufficiently close in time, sir?
20                     MS. O'LEARY:        Object to form and
21     foundation.
22                     THE WITNESS:        No.    I think you are
23     trying to argue with me.               But the information I
24     have seen and reviewed was that well 634 was shut
25     down in December after methylene chloride was

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1      reported in the water from the well.
2      BY MR. DEAN:
3             Q.     And your opinion is it was never started
4      back up?
5             A.     I'm not finished.          I'm not finished.
6      Then I looked for information that would just
7      support what you say, that well 634 was basically
8      reused for the water supply.              And you have
9      information from the time that shows you that that
10     well was not on.          And that information is given in
11     my report for the period November -- for 69 days,
12     November to basically February 5, 1985, that
13     period of time.         And well 634 after this period of
14     shutdown on December 10 or whatever that was, was
15     not on.      And that is contemporary information that
16     tells you which wells were on and which wells were
17     off.     And that I rely as being primary indication
18     and support for my opinion and deduction and
19     conclusion that well 634, once it was shut down,
20     was not restarted for the water supply.
21            Q.     We'll circle back to that in a minute,
22     move onto another subject.
23                   (Hennet Exhibit 20 was marked.)
24     BY MR. DEAN:
25            Q.     I'll show you Exhibit 20.               Do you see

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1      that Exhibit 20, which is
2      CLJA_WATERMODELING_09-427825 through 427827 is a
3      meeting, 2/27/85 meeting, the day after the
4      chronology document is dated, Exhibit 19.
5             A.     Are we on 19 or 20?
6             Q.     I think we're on Exhibit 20.               I was
7      referring back to 19 because it's got that date at
8      the top.      The chronology is 18.
9                    Have you seen this document before?
10            A.     I believe I did.
11            Q.     It's not listed in your reliance
12     materials specifically as a call-out.                  It could be
13     covered in some of the catch-alls at the back.
14                   My question you to is:            Do you know for
15     certain one way or the other in forming your
16     opinions in this case, did you, in fact, review
17     this document or not?
18                   MS. O'LEARY:        Object to form.
19     BY MR. DEAN:
20            Q.     If you don't remember, tell me.                But if
21     you remember, I'd like to know.
22                   MS. O'LEARY:        Same objection.
23                   THE WITNESS:        This document looks
24     familiar to me.         I believe I have seen it.
25

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1      BY MR. DEAN:
2              Q.      If you turn to the second page, do you
3      see on the page 826 it is Wilmington Regional
4      Office.        It's got a stamp February 7, 1985 in the
5      right corner.         Do you see that?
6              A.      I see that.
7              Q.      And at the top it says Hadnot Point
8      Water Systems.         There's a location line across the
9      top with different dates to the right.                   Do you see
10     that?        So the locations are up and down the left
11     side, and the dates are across the top on the
12     right.
13             A.      That I see that, yes.
14             Q.      And if you go down to the bottom, in the
15     middle, do you see the section that says "Wells
16     out of service and could not be sampled on
17     January 16, 1985"?
18                     Do you see that section?
19             A.      I do see it.
20             Q.      They list 610, 615, 654 and LCH 4006.
21     Did I read that list correctly?
22             A.      I see that.
23             Q.      634 is not listed there as being out of
24     service, is it, sir?
25             A.      It is not listed there as being out of

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1      service.
2              Q.      On a report generated or received on
3      February 27, 1985; correct?
4                      MS. O'LEARY:        Object to form.
5                      THE WITNESS:        That's correct.          And this
6      is one piece of information I have looked at.
7      BY MR. DEAN:
8              Q.      And you discounted and didn't -- before
9      we go there, do you see the information for the
10     vials in the list under 1/16?                 Do you see there's
11     a 1/16 date.           Then there's some results listed
12     under it.
13             A.      I see that.
14             Q.      And the location is over along the left
15     side.        Would you agree with me that this is
16     additional information that shows that samples
17     were taken January 16 because under January 16
18     next to well 634, out to the right is that same
19     reading we looked at before, 1300.
20             A.      I see that.
21             Q.      Do you agree with that?
22             A.      Yes.     And if I may elaborate on this,
23     the meaning of what you read in the record that
24     wells out of service and could not be sampled.
25     Now, if you look at the wells that were sampled

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1      and you go, for example, from the top, Building
2      20, Building 20, well 601, well 602, 603, 608,
3      634, 637, 642, 651, all of those wells were
4      sampled.      All of those wells were sampled.
5                    Those wells sampled, basically some of
6      them were not in service.             And then you have the
7      list of the wells that were sampled.
8             Q.     16 is not at the top.
9                    MS. O'LEARY:        Object to the foundation.
10     BY MR. DEAN:
11            Q.     16 is not listed as a sample taken
12     because it was out of service, nor was 615, nor
13     was 654, nor was LCH 4006.              Those are noted listed
14     at the top on this document.
15            A.     I would like to answer, and listen to my
16     logic.      You try and pick the one you want, but
17     listen to what is important here.                Let's take, for
18     example, well 608.           Well 608 says for 1/16 it was
19     broken.      You read that; right?
20            Q.     Yes, sir.       I can read.
21            A.     Does that mean it was sampled?                I
22     conclude that it does mean it was sampled.                      Well
23     608, was it an active well?              No.    It had been had
24     shut down before.          It was never restarted, but it
25     could be sampled.          In my evaluation of this, I

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1      made the same conclusion for 634.
2             Q.     But this says on its face that this
3      along with the other two documents I showed you,
4      shows that 634 was, in fact, pumping, operating,
5      when the samples were taken on January 16, 1985 as
6      well as all the way through at least February 1,
7      if not February 27 when this document was
8      prepared.
9             A.     No.       What this means is that 634 could
10     be sampled like 608 could be sampled.                   We know
11     that 608 was not in service.               And what you made me
12     read earlier is that wells out of service and
13     could not be sampled outside those four.
14                   What is meant by that is those you could
15     not sample.           Sometimes it's because you do not
16     have a pump that function anymore or the well has
17     been probably abandoned, so it could not be
18     sampled.
19                   Now, 608 was abandoned before, but it
20     was sampled as indicated by the data.                   634, I saw
21     nothing that says that 634 was restarted after it
22     was shut down because of methylene chloride.
23            Q.     I just shown you three documents.                  I'm
24     not going to argue with you anymore about it.
25                   I'm just asking you:            Does that change

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1      your view with regard to whether your opinion is
2      correct that 634 was shut down temporarily January
3      12 and was thereafter was restarted?
4                    MS. O'LEARY:         Object to form.
5                    THE WITNESS:         And I explained to you
6      that you are reading words in a wishful manner for
7      what you try to express.              And I am explaining to
8      you that basically I have not seen any indication
9      that well 634 was restarted for service, but it
10     could be sampled similarly to well 608 for
11     example, which we know for sure was never put back
12     in service.           And by the way, the same is true for
13     well 602.
14     BY MR. DEAN:
15            Q.     What is your basis to say that 634 was
16     shut down December 12 and never turned back on?
17     What is the basis for that statement?
18                   MS. O'LEARY:         Object to foundation.
19                   THE WITNESS:         The well was shut down at
20     that time because of methylene chloride.                     And I
21     found no indication that it was put back into
22     service.      And the fact that you are trying to make
23     me admit that because it was sampled on
24     January 16, that means it was in service.
25                   You have plenty of more direct evidence

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1      that shows that 634 was not restarted.                   And I
2      mentioned before the document that shows the wells
3      that were on and the wells that were off between
4      November -- sometime in November all the way to
5      February 5, 1985.          By November I mean November
6      1984.
7                    (Hennet Exhibit 21 was marked.)
8      BY MR. DEAN:
9              Q.    We're going to look at it right now.
10     Now, in your report -- I'll show you Exhibit 21.
11     I blew it up.         You've seen that chart before.               I
12     think that's what you're referring to; right?
13             A.    That's correct.
14             Q.    And you took Exhibit 21, which is an
15     operational monthly report of when these wells
16     were all -- between November 28, '84 and
17     January 6, '85; right?
18                   THE WITNESS:        That's right.        This is
19     independent data, if you wish.
20     BY MR. DEAN:
21             Q.    That you believe shows that this -- do
22     you think when this document was created,
23     Exhibit 21.
24                   MS. O'LEARY:        I'm sorry.      I have a
25     foundation objection. I think you said January 6,

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1      '85.     I think it goes to February 5, if you look
2      at page 2.
3                     MR. DEAN:      I'm sorry.      You're exactly
4      right.       My apologies.
5      BY MR. DEAN:
6              Q.     This chart for all these wells gives
7      November 28, 1984 and continues through
8      February 5, 1985; right?
9              A.     That's correct.
10             Q.     And you took that chart and you've
11     created an Excel spreadsheet, and we'll talk about
12     it later on, but you used that spreadsheet to then
13     do some calculations and come up with percentages
14     of operation time at these wells; right?
15             A.     That's a basis for that, yes.
16             Q.     So this is not a report.           Someone
17     created a summary after they went and looked at
18     some records to create this well operational
19     history document; right?
20                    MS. O'LEARY:       Object to foundation.
21                    THE WITNESS:       Somebody working there did
22     this.
23     BY MR. DEAN:
24             Q.     What did you do to ascertain or
25     investigate whether the data or the information

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1      about what months shown on this chart these
2      different wells were operating?               What work did you
3      do to verify that this chart was accurate before
4      you created your own chart?
5              A.      Well, the chart -- you have information
6      for the well we know were shut down.                  Let's take
7      634 off the table now.            602, 608, we know when
8      that well was shut down.             And we have some others.
9      By memory I don't remember them all.
10                     But those wells were basically but out
11     of service, and that's documented.                And they were
12     never restarted.          By memory 602 608 are the ones I
13     remember right now.           There are probably some other
14     ones.        And when you look at this chart, one of the
15     things that I checked was, right, is this
16     consistent with that information.                And it is.        So
17     602 for example, I know that it was shut down
18     before November '84, and it's never on.
19                     608, I know that it was shut down
20     approximately in early December, and it was never
21     on.     All the ones that were contaminated, once
22     they discovered the contamination, they shut them
23     down.
24                     Same for 634 now.        634 basically was
25     never on, was never on at all after December,

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1      December 10.          And it was off a few days before
2      because it was off.           But it was never put back on
3      all the way to February 1985.
4             Q.     I let you finish.          I let you finish.           So
5      let me ask a question.
6             A.     Let me finish then.           So this to me is
7      important data in that context, because it's not
8      somebody like ASTDR, like me or anyone else who
9      just generated this information.
10            Q.     My question was:          You rely primarily on
11     Exhibit 21, this chart someone created based on
12     some other information to create your chart on
13     page 418 in your report; right?
14            A.     I basically base what have in my report
15     on this, and I made it to fit on one page.
16            Q.     Second question, you mentioned some data
17     you conferred with to verify that the information
18     in the chart is accurate.
19                   Do you remember what you were referring
20     to?
21            A.     I thought I explained that.              You have
22     information in the record that, for example --
23            Q.     Be specific.        What information are you
24     referring to that you conferred or reviewed to
25     determine that you felt this chart was accurate?

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1      That's what my question is.
2              A.     For example, well 602, remember this
3      chart are for the wells that are actually used for
4      the water supply.          They're water supply wells when
5      you have an X that were in use to supply the
6      water.       Now, I know from the record, for example,
7      well 602 was contaminated but was shut down.
8              Q.     Let me stop you there.           I don't know
9      what you're referring to.             You just say the
10     record.       I need to know what documents you're
11     relying upon that you claim you reviewed to
12     confirm that this chart was accurate.
13                    MS. O'LEARY:       Object to form.
14                    THE WITNESS:       They are documents in the
15     record that I reviewed that basically give you the
16     date when 602 was --
17     BY MR. DEAN:
18             Q.     Can we agree we'll move on.              As you sit
19     there, you believe there's records.                   You believe
20     you reviewed something, but you can't cite to them
21     specifically to me right now?
22             A.     By memory I am describing those, but I
23     cannot just all of a sudden present them out of my
24     nose.
25

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1             Q.     So on Exhibit 21, the chart, beside 634
2      it shows it was operating on December 28 and 29
3      and it shows it was operating December 2, 3 and 5,
4      and then there's nothing for it throughout --
5             A.     That was too fast for me.               Can you
6      repeat, please?
7             Q.     For 634 it shows only on the chart that
8      634 was operating November 28, November 29,
9      February 2, 3, 4, 5 and 6, and it stops.                    If you
10     turn and look all the way across that, it shows it
11     wasn't operated the rest of December, wasn't
12     operating in January.            And on the back, if you go
13     to 634, it doesn't show it operating at all in
14     January or February.
15                   MS. O'LEARY:        Object to foundation.            I
16     think you just misspoke and February when you
17     meant December.
18     BY MR. DEAN:
19            Q.     The well did not operate at all in
20     December according this document or January or
21     February, and that's where you got your
22     information it must have been shut down and not
23     come back on; right?
24                   MS. O'LEARY:        Object to foundation.
25                   THE WITNESS:        That is consistent because

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1      if it were to have been used, it will be
2      represented with X on this chart, and it was not.
3      BY MR. DEAN:
4             Q.     Then, sir, go back to Exhibit 20 for me.
5      It's the handwritten memo page.
6             A.     Yes.
7             Q.     I think you missed a document.                If you
8      look at page 2, that analysis, if you look at well
9      634 under the date 12/10, what is the 130F?
10            A.     F stands for methylene chloride.
11            Q.     Out beside both 12/4, 12/10 you have
12     this 130 reading; right?
13                   MS. O'LEARY:        I'm sorry for which well?
14     BY MR. DEAN:
15            Q.     Well location 634 there's a methyl
16     chloride finding on a sample taken on 12/10;
17     right?
18            A.     Methylene chloride, yes, on 12/10.
19            Q.     And in order to obtain that sample, the
20     well is operating; right?
21            A.     It doesn't mean it was operating.                 It
22     means it was sampled.
23            Q.     Well, wouldn't you want to sample it
24     when the well is operating?
25            A.     Actually, you sample when you can

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1      sample.      It doesn't have to have the well
2      operating.       By operating, I mean providing water
3      to the water supply.
4             Q.     If this chart you created on 418 that
5      you pulled from Exhibit 21, the historical summary
6      chart --
7                    MS. O'LEARY:        That's 418 of Exhibit 3?
8                    MR. DEAN:       Yes.
9      BY MR. DEAN:
10            Q.     You'd need to rethink your opinions,
11     wouldn't you?         If this chart is wrong, Exhibit 21,
12     for which you created 418 and did some
13     calculations, if his chart is wrong, then your
14     opinions with regard to this information and
15     calculation of these well operational
16     contributions by percentages, those opinions would
17     be wrong, wouldn't they?
18                   MS. O'LEARY:        Object to form.
19                   THE WITNESS:        This is a major piece of
20     information that I considered.               It's not the only
21     one.
22     BY MR. DEAN:
23            Q.     I understand.          But what if it's wrong?
24     What if this information you thought was accurate
25     is wrong?       Would you please agree with me you

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1      would need to go back and look at your opinions?
2                    MS. O'LEARY:        Object to form.
3                    THE WITNESS:        You're asking me to
4      speculate that this is wrong.
5      BY MR. DEAN:
6             Q.     I'm saying I want you to assume it's
7      wrong.
8             A.     If you assume anything is wrong, if it
9      is wrong, then I would consider that and see if it
10     affects my opinion or not.
11            Q.     What if some of these wells that shows
12     they're not operating on this chart are, in fact,
13     operating.       Wouldn't that call into question this
14     chart that you relied upon for your calculations?
15     Yes or no.
16                   MS. O'LEARY:        Object to form.
17                   THE WITNESS:        That depends which
18     information you would show me.               Is that
19     information that a well was sampled?                  For me, if
20     you show me information that the well was sampled,
21     it doesn't mean it was actually being pumped
22     through the water supply at the time.
23     BY MR. DEAN:
24            Q.     Let's relax and go to something else.
25            A.     Can we take a break sometimes for

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1      relaxation?           I can wait a little bit more, but at
2      some point, my coffee is working.
3                    THE WITNESS:         We've gone a little over
4      an hour.
5                    MR. DEAN:        I'm fine taking five or so
6      minutes if we could.
7                    THE WITNESS:         Five minutes is fine.
8                    MR. DEAN:        Let's take a break.
9                    THE VIDEOGRAPHER:           We are off the record
10     at 1610.
11                   (Recess from 4:10 p.m. to 4:19 p.m.)
12                   THE VIDEOGRAPHER:           We are on the record
13     at 1619.
14     BY MR. DEAN:
15            Q.     Can you pull back out your handwritten
16     note, please, sir, Exhibit 11.
17            A.     Got it.
18            Q.     And also out beside your report.                  We're
19     going to go to page 5-7.
20            A.     Can you repeat, please?
21            Q.     In your report page 5-7.             We're talking
22     about volatilization losses at Hadnot Point water
23     treatment plant; right?             On Exhibit 2-4 you did
24     some calculation work?
25                   MS. O'LEARY:         I'm sorry.      What's Exhibit

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1      2?    Excuse me.         I'm just confused.
2      BY MR. DEAN:
3              Q.     Page 5-7.        It's also at the top called
4      Exhibit 2-4 in your report; right?
5              A.     Yes.      Exhibit 2-4 is actually starting
6      on 5-6.
7              Q.     How did you do those calculations?
8              A.     I applied a formula that I describe in
9      an appendix to my report.
10             Q.     And you started with 1000 parts per
11     billion, and you say that the treatment process
12     removes like 30 percent; is that right?
13                    MS. O'LEARY:         Object to foundation.
14                    THE WITNESS:         No.    I did do everything
15     in percent.           I started at 100 microgram per liter
16     and then basically taking 100 percent and then
17     that's what you reduced.
18     BY MR. DEAN:
19             Q.     I'm sorry.        You took 100 percent,
20     started with that.            You took out 30 percent for
21     treatment process; right?
22                    MS. O'LEARY:         Object to foundation.
23                    THE WITNESS:         Where is that, please?
24     BY MR. DEAN:
25             Q.     I'm trying to get you to explain to me

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1      how you did the calculations that are shown on
2      Exhibit 2-4.          Starting with 100 percent, how did
3      you do these calculations?
4              A.     In a manner similar to what was done in
5      the AH report basically for the different
6      elements, if you wish, of the storage treatment
7      and water towers.
8              Q.     You started with 100 percent.                How much
9      do you believe the treatment process reduces the
10     volatilization losses?
11                    MS. O'LEARY:        Object to form.
12                    THE WITNESS:        As a whole?
13     BY MR. DEAN:
14             Q.     Yes, sir.
15             A.     For which compound?
16             Q.     Did you apply a constant percentage of
17     30 percent to volatilization losses -- let me ask
18     it this way.
19                    Your overall -- on Exhibit 2-4 under
20     TCE, your overall evaporative removal at the very
21     bottom comes out to be 17.07.
22                    Do you see that?
23             A.     I see that.
24             Q.     And if you add up these percentages, I
25     believe, they -- do you know what they total?

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1                    MS. O'LEARY:        Object to foundation.
2                    THE WITNESS:        I am not sure I understand
3      your question.         What this 17 percent is is the sum
4      of the numbers that are in bold in the table for
5      each chemical.         This one in particular would be
6      for TCE.
7                    I want to add something.            Those
8      calculated results are for the system and do not
9      include the operation of the recarbonization
10     basin.      I didn't put any value on that or it does
11     not include other type of losses.                This is
12     evaporative losses as it is today, if you wish, or
13     as it was when the recarbonization basin at Hadnot
14     Point water treatment plant was not operating and
15     the period of operation for the recarbonization
16     basin when it was used for its purpose is unknown.
17     BY MR. DEAN:
18            Q.     Thank you for that.           We'll circle back
19     to this in a minute.           Let's talk about stressor
20     periods.
21            A.     Stressor periods.
22            Q.     So the stressor period that ATSDR did in
23     calculating and doing its water modeling, they use
24     one month and look at all this well information;
25     right?

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1                    MS. O'LEARY:        Object to foundation.
2      BY MR. DEAN:
3             Q.     They didn't do it daily?
4             A.     The ASTDR model reported their results
5      as monthly averages.
6             Q.     Your chart we talked about earlier that
7      you created is basically two full months?
8             A.     This one?
9             Q.     Yes, sir.
10            A.     This is the information we have on which
11     wells were on, which wells were off for a period
12     of 69 days.
13                   MS. O'LEARY:        For the record, we're
14     referencing 21?
15                   MR. DEAN:       Yes.
16                   THE WITNESS:        As shown in Exhibit 21.
17     BY MR. DEAN:
18            Q.     Do you believe that it's representative
19     of the true nature of well pumping and
20     contributions of these various wells look at just
21     one month?
22                   MS. O'LEARY:        Object to form.
23                   THE WITNESS:        That's not one month.
24     It's more than two months.
25

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1      BY MR. DEAN:
2             Q.     Do you think that's sufficient to look
3      at two months of data in December of '84 and
4      January of '85 to analyze this issue about the
5      contributions of these various wells to the
6      pumping operations?
7                    MS. O'LEARY:        Object to form.
8                    THE WITNESS:        This is the data that is
9      available.       And I will comment on this in the
10     sense that during this period of time, you had
11     less wells available for pumping because some of
12     them had been closed because of contamination,
13     which implies that the other wells had to
14     compensate for that.           So that information probably
15     exaggerates -- not exaggerates -- but gives a
16     relative on and off period for the well that is --
17     you had less wells.           So you had do operate the
18     wells a little bit more to compensate for that.
19     BY MR. DEAN:
20            Q.     Do you remember -- well, you made the
21     mention about wells coming off line.                  You know
22     that new wells were put in as well in this same
23     timeframe; right?          Have you seen that data?
24                   MS. O'LEARY:        Object to foundation.
25                   THE WITNESS:        I don't recollect the date

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1      of new wells you would be talking about.                    But
2      there were new wells, especially -- probably -- I
3      do not know the date of the new wells by memory,
4      but there were some, and I believe they were
5      either for Hadnot -- Holcomb Boulevard system came
6      later as far as Hadnot Point system was concerned.
7      BY MR. DEAN:
8              Q.      If new wells were coming online
9      hypothetically at a particular water treatment
10     plant area, that sort of changes the history or
11     what's going on with pumping because you're taking
12     some off line and then you're bringing on some new
13     ones.        And if all this is occurring at the same
14     time, it could artificially not represent the true
15     history of what might have been taking place
16     previously with respect is to certain wells.
17                     Do you see what I'm saying?
18                     MS. O'LEARY:      Object to form.
19                     THE WITNESS:      I understand what you are
20     saying and I understand you are talking about the
21     tools in that sense, and nobody knows for the past
22     except this period of time, which is data in my
23     opinion.
24     BY MR. DEAN:
25             Q.      And you think it's okay just to look at

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1      these two months even though at the same time of
2      these two months, some wells are coming off and
3      others are potentially coming on?
4                    MS. O'LEARY:         Object to foundation.
5                    THE WITNESS:         This is the data that is
6      available.
7                    (Hennet Exhibit 22 was marked.)
8      BY MR. DEAN:
9             Q.     I'll show you Exhibit 22.                Do you see
10     that HP-622 -- let me just for the record,
11     Exhibit 22 is CLJA_WATERMODELING_05-826091 through
12     826118.
13                   Do you see that HP-622, Hadnot Point,
14     new well 622 put in 5/19/82 the construction was
15     completed.       And on 6/1 there's a note that it went
16     in service.           Do you see that?
17                   MS. O'LEARY:         Object to foundation.
18     BY MR. DEAN:
19            Q.     Do you see that?
20            A.     I don't see the last part, but you have
21     to be patient with me.
22            Q.     At the top, 5/19/83, construction
23     completed.       6/1/84 it's in service.
24            A.     I see that on this document, which is
25     from the ATSDR, I believe.

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1             Q.     Right.      But I mean they're citing -- let
2      me ask you this:          Do you not trust any of the
3      historical information that was completed by
4      ATSDR?      And they've even footnoted where they got
5      the information from, including Scott Williams, a
6      June 6, 2008 email about well runs from Scott
7      Williams.
8                    Do you not just the information that's
9      on this chart?
10                   MS. O'LEARY:        Object to form.
11                   THE WITNESS:        It is trust, but verified.
12     I do not care who did what.              I just go always to
13     the original document that's close to that that
14     and I can do, and I consider everything in
15     between.
16     BY MR. DEAN:
17            Q.     And the capacity for which this well was
18     originally drilled and -- I don't know if
19     certified is the right word, but capacity in
20     gallons per minute was 323 at the top.
21                   Do you see that?
22            A.     That's capacity of the well at
23     construction, yes.
24            Q.     And well capacity test was performed
25     again 9/5/85 it's at 320.             1986 it's 320.         1988,

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1      290.     1988, 330.       Do you see that?        So it's
2      consistently in the 320, 330 range; right?
3             A.     For this well, it is.
4             Q.     Now, if you turn to well 623, its
5      construction was, I guess, about the same day, a
6      few days off.         May 25 it says it was completed.
7      Its capacity was originally 360.                It went in
8      service August of 1984 according to operation
9      records.      1985 it's got a well capacity test of
10     242.
11                   Do you see that?
12            A.     1985 I see that 242 capacity.
13            Q.     Turn to the next page Bates-stamp ending
14     97.    The next one HP-628 (new).             Do you see that
15     new well went in 6/1/1984 construction completed.
16     I guess there's some capacity reading of 160 in
17     October 1984.
18                   Do you see that?
19            A.     I see that.
20            Q.     Turn to the next well, well HP-660, that
21     one, construction was completed in July of '83.
22     Capacity test or whatever result in service
23     7/1/84, and it had I guess a capacity test
24     previously at 151 in November of '83.
25                   Do you see that?

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1              A.    I see that.         That's the only capacity
2      test.
3              Q.    Agree with you.
4              A.    And it was put out of service and later
5      abandoned.
6              Q.    Correct, 1994.          HP-661, drilled in March
7      of '83.      In service August of '84.             Well capacity
8      test October 26, '84 was 280.
9                    Do you see that?
10             A.    I see that.
11             Q.    And the last one is 662, last page
12     ending 118.           Says it was in service August of '83.
13     Well capacity test October of '83 146.                    In service
14     November 1984.           Another well capacity test August
15     of '85 at 168.
16                   Do you see that?
17             A.    I see that.
18             Q.    So going back to my question, with all
19     of those wells contributing, if you add them all
20     up, over 988 gallons per minute in addition to the
21     raw water supply, do you really think looking at
22     the two months that you looked at still are
23     representative of well cycling?
24                   MS. O'LEARY:         Object to foundation.
25                   THE WITNESS:         What we talked about on

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1      this sheet, it tells you which wells were on,
2      which wells were off.            A well can be in service
3      and but not being bumped.
4      BY MR. DEAN:
5             Q.     Are you aware that November 30, 1984 the
6      Navy received test results for 22 sampled wells,
7      that well 602 was contaminated with benzene and
8      that that initiated additional plans for further
9      testing?
10                   Do you remember that fact?
11            A.     What was the date you mentioned?
12            Q.     December 30, 1984.
13                   MS. O'LEARY:        Object to foundation.
14                   THE WITNESS:        I don't recall the exact
15     date, but during that time, well 602 was shown to
16     be contaminated and was basically shut down.
17     BY MR. DEAN:
18            Q.     And that finding initially would have
19     resulted in some additional testing and the well
20     shut down?
21                   MS. O'LEARY:        Object to foundation.
22                   THE WITNESS:        Yes.    The evaluation by
23     the base went step-wise.             They were trying to
24     understand the problem.
25

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1      BY MR. DEAN:
2              Q.     For 602, and I believe it's in the
3      records, there were well tests of 602 December of
4      '84 and January '85 to locate the sources of
5      contamination; right.
6                     MS. O'LEARY:       Object to foundation.
7                     THE WITNESS:       What do you mean by well
8      test?
9      BY MR. DEAN:
10             Q.     If you take a look at Exhibit 15, it's
11     the chart with all the well tests summarized.
12     It's Exhibit 15, ATSDR table.               You can use mine.
13             A.     I'd love to find mine so you can keep
14     yours.       Got it.
15             Q.     Do you see beside HP-602 all of the
16     testing that was done in November and December
17     checking for contamination?
18             A.     I see that.       We're talking about
19     chemical tests, I mean sampling and laboratory
20     analysis of chemicals.            Just before we were
21     talking about capacities.
22             Q.     Would those tests have affected pumping?
23                    MS. O'LEARY:       Object to the foundation.
24     BY MR. DEAN:
25             Q.     Operations.

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1                    MS. O'LEARY:        Object to form.
2                    THE WITNESS:        Test affected pumping?
3      The sampling of a well may be done when the well
4      is actually supplying water or when a well is not
5      supplying water if you have a pump that works that
6      is (indecipherable).
7      BY MR. DEAN:
8              Q.    And that well was shut down, 602 was
9      shut down after those contamination results were
10     received in December of '84; correct?
11                   MS. O'LEARY:        Object to foundation.
12                   THE WITNESS:        My understanding, it was
13     shut down because contamination was reported.
14     BY MR. DEAN:
15             Q.    Would the fact 602 being shut down not
16     impact pumping schedules for the other wells?
17                   MS. O'LEARY:        Object to form.
18                   THE WITNESS:        That depends if the well
19     was in use or not.           But, of course, you had one
20     less well for the supply when they shut down that
21     well.
22     BY MR. DEAN:
23             Q.    When you shut down one well and you got
24     so many people on base, doesn't it potentially
25     impact pumping operations at other wells?

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1              A.      Yes, it does.      You either have to pump
2      the one you have for a longer time or you have to
3      add wells.
4              Q.      What information would you need, going
5      back to Exhibit -- going back to the well service
6      for the couple months that we've been talking
7      about record that you used to create your chart,
8      what records would you need to look at if you
9      wanted to enhance this analysis to look and see
10     about what was going on with well operations
11     either before or after these time periods?
12                     What sort of records would you need?
13                     MS. O'LEARY:      Object to form.         This is
14     Exhibit 21.
15                     THE WITNESS:      It doesn't exist to my
16     knowledge, because I have looked for.                  And for the
17     time prior to this, you basically have -- if any
18     record, you basically have nothing all the way to
19     1942.        You know the number of wells, more or less,
20     that you had that were potentially in service.
21     But you do not know if were they pumping or which
22     group of wells were pumping.
23                     (Hennet Exhibit 23 was marked.)
24     BY MR. DEAN:
25             Q.      I'll show you what I'm going to mark as

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1      Exhibit 23.           This is some historical information
2      about well capacity, operational history for
3      HP-651.      Do you see that?          It's Bates-stamped
4      CLJA_WATERMODELING_05-826112.
5             A.     I see this is again from the ATSDR
6      report.
7             Q.     Yes, sir.        You see like some of the
8      other ones we've looked at, this information down
9      at the bottom under the footnotes, you see there's
10     footnote number three.             For example, under that it
11     lists all the data sources for which this
12     information came including operation records.
13                   Do you see that?
14            A.     Number three?
15            Q.     Footnote three.
16            A.     AH Environmental Consultants, Inc.,
17     electronic communication, September 3, 2004.
18            Q.     Now, you see that well was constructed
19     in 1971.      Do you see that?
20            A.     I see that.
21            Q.     It says it went in service in '72.                   And
22     I think you got that in your report.                   Do you
23     remember that?
24            A.     Yes, I do.
25            Q.     And it was originally marked with a

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1      capacity or constructed with a capacity rating of
2      200 gallons per minute; right?
3              A.    It was tested at the capacity of
4      200 gallons per minute with a set pump at a given
5      elevation.       We were given horsepower.
6              Q.    1977 well capacity test.            It says 190.
7      1979, well test capacity test is the 167.                    1980,
8      capacity 178.         1981 it goes up to 232.            1983 it
9      goes up to 239.         And October 29, 1984, it's
10     pumping at its highest rate, 242, according to
11     this information; correct?
12             A.    According to this, it is correct.                 And I
13     have looked at the information for this well as
14     well.
15             Q.    And in your report, you opined that
16     HP-651 is only operating 39 percent of the time
17     based on your calculations and using the
18     spreadsheet you created from the historical record
19     of operation of these various wells, Exhibit 21;
20     right?
21                   MS. O'LEARY:        Object to foundation.
22                   THE WITNESS:        That's the data I have and
23     that's the data I used.
24     BY MR. DEAN:
25             Q.    If it's pumping all of those historical

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1      timeframes where it was tested, does it really
2      make sense that it's only pumping at 39 percent?
3                    MS. O'LEARY:        Object to foundation.
4      BY MR. DEAN:
5             Q.     According to your calculations?
6             A.     39 percent of the time?
7             Q.     That's right.
8             A.     This is what the data supports.
9                    (Hennet Exhibit 24 was marked.)
10     BY MR. DEAN:
11            Q.     Now, again so you and I can see it
12     better, I took your page 4-18, which is your Excel
13     spreadsheet graph, and this is Exhibit 24.                     It's
14     that same page out of your report.                It says in
15     your report under that chart Exhibit I-9,
16     Frequency of Use of Supply Wells, November 28, '84
17     to February '85.          And your conclusion, Supply well
18     HP-651 was on for 27 out of 69 days, and that gave
19     you an average pumping frequency of .39; right?
20            A.     That's correct.
21            Q.     And that is the basis for your opinion
22     that this HP-651 was only pumping 40 percent of
23     the time or thereabouts?
24                   MS. O'LEARY:        Object to foundation.
25                   THE WITNESS:        That's it, yes.

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1                    (Hennet Exhibit 25 was marked.)
2      BY MR. DEAN:
3             Q.     Now, I'll show you Exhibit 25.                And that
4      document is an email from Anita Short at the top.
5      It was a document found in the CAGE, identified as
6      CLJA_USMC_CAGE_350325 through 345.                You see the
7      subject line of all these emails is the same.                      It
8      says HP & HB Well Pumps:             January to June 1980.
9                    Do you see that?
10            A.     I see that.
11            Q.     Now, I didn't see this document listed
12     on your reference materials specifically called
13     out, although I think it might potentially --
14     while I'm doing that, just confirm if it's in the
15     catch-all.
16                   Do you remember ever seeing that
17     document before?
18            A.     I may if it is -- I may have seen it,
19     but it seems to be indicating some water levels.
20            Q.     In order to get these water levels,
21     would you agree with me the well has to be
22     pumping?
23            A.     No.     Some of them when you have a 3-foot
24     water level, it's probably not pumping, 3-foot
25     draw down as it's called.

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1             Q.     If you go to well 651, which will be on
2      page 29, it's about the third page in, you see
3      well 651, the January 1980, that first record, you
4      say it says stat 25 foot, pump a hundred, draw
5      down 75.      Do you see that?
6             A.     I see that.
7             Q.     If you look across that, you see in
8      February, March, April, May it shows all those
9      lines filled out and it's pumping?
10            A.     It's pumping sometime during that period
11     of time; right.
12                   (Hennet Exhibit 26 was marked.)
13     BY MR. DEAN:
14            Q.     I'll show you Exhibit 26.               This is
15     CLJA_USMC_CAGE_67935 through 68188.                   This document
16     is not listed in your reliance materials
17     specifically.         But do you see that it starts in
18     1978 at the beginning on that second page at the
19     top?
20            A.     I see that.
21            Q.     If you turn about four pages in till you
22     get to the well 651, do you see some operational
23     data in the information there?
24                   MS. O'LEARY:        What's Bates-stamp?
25                   MR. DEAN:       CLJA_USMC_CAGE_67935 through

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1      8188.
2      BY MR. DEAN:
3              Q.      Right now I'm asking the question about
4      age 7944.        Do you see well data, monthly well
5      pumping data for Hadnot Point, well 651, for July
6      on that particular page, August, September?
7              A.      This does not give you pumping values.
8      It just tells you that during those months, the
9      well that we are talking about were used.                    That
10     doesn't mean they were used all the time.                    Of
11     course, they were not.
12             Q.      I understand, but that's some
13     information that on that particular month that
14     well 651 was operated at sometime.                We don't know
15     the exact date?
16             A.      Exactly.     But what this tells you as
17     well is for 651 is that it was not operated in
18     October of that year at all.
19             Q.      Let's go back to -- where do you see
20     that?        Show me what page you're looking at.
21             A.      We were looking at page 7944.
22             Q.      I agree 100 percent.         October it's not
23     working at all?
24             A.      At least it's not reported.
25             Q.      Did you consider this information at all

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1      in forming your opinions about what months --
2      scratch that.
3                      If you look through this entire exhibit,
4      do you see that it goes all the way through July
5      of 1983, December?
6                      MS. O'LEARY:      Objection.      Foundation.
7      BY MR. DEAN:
8              Q.      Do you see on the last page, page 68188,
9      is July of '83 to December of '83?
10                     MS. O'LEARY:      Object to foundation.
11                     THE WITNESS:      That page does not inform
12     me on 651.        But that page goes to December 1983
13     but for some wells at different places.                   So that's
14     fine.        I see you probably have it under Hadnot
15     Point.
16     BY MR. DEAN:
17             Q.      Here it is.      It's going to be on page
18     68148, well 651.          The previous page, 68146, began
19     January of '83.         Do you see that?
20             A.      I am on 68146.
21             Q.      Do you see 1983 Hadnot Point at the top?
22             A.      I see that.
23             Q.      And the next page, which for whatever
24     reason, there's a Bates -- my next page says
25     68148.

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1                      MS. O'LEARY:       That's what I have as
2      well.        I don't have a 7.
3                      MR. DEAN:      I don't know what's going on
4      there at all.
5      BY MR. DEAN:
6              Q.      But you see 651?
7              A.      I see that, yes.
8              Q.      January through June?
9              A.      Right.
10             Q.      July through December is on about three
11     page over beginning page 54.
12             A.      Yes.     It goes all the way to December.
13     And I believe if you follow the logic of this, it
14     would be '83.
15             Q.      So we have some information for all of
16     those months, 1978 through January of '84 where
17     well 651 is pumping.            I'm not sure how many days.
18     But it's pumping at least one day.                 And you didn't
19     consider that evidence in forming your opinions
20     that the well is only operating 39 percent of the
21     time?
22             A.      I have never said that well 651 was not
23     a water supply well during the period 1972 until
24     it was shut down in 1985.              It was available.
25     Those sheets are consistent with that, but I did

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1      not give you a frequency of use.
2             Q.     Do you agree that if you took into
3      consideration those operational months, it would
4      expand potentially the time periods to consider
5      for reaching your calculation of 39 percent using
6      only two months versus five years of well
7      operational history?
8                    MS. O'LEARY:        Object to form and
9      foundation.
10                   THE WITNESS:        I will re-answer.          This
11     information shows that the well was available for
12     that period that is documented in this Exhibit 26.
13     But that doesn't give you a frequency of use.
14     BY MR. DEAN:
15            Q.     Now, let's go to something else, talk
16     about water buffaloes.            When you read
17     Dr. Sabatini's report, you realized that
18     Dr. Brigham had made a mistake about how the water
19     buffaloes were filled back in the day as far as
20     what hatch or location they were filled; right?
21                   MS. O'LEARY:        Object to foundation.
22                   THE WITNESS:        I don't see what mistakes.
23     My recollection is Dr. Brigham just showed water
24     buffaloes, several types of water buffaloes that
25     were used at the base at the time.

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1      BY MR. DEAN:
2             Q.     Well, Dr. Brigham assumed that all you
3      water buffaloes were M107s or if they all -- if
4      they had other models, that they were being filled
5      through the filler neck; right?
6                    MS. O'LEARY:        Object to foundation.
7      BY MR. DEAN:
8             Q.     That what he says in his historical
9      expert opinion report, that these water buffaloes
10     were filled through the filler neck.
11                   MS. O'LEARY:        Object to form and
12     foundation.
13                   THE WITNESS:        You have to show me where
14     he says that because I don't recall that.
15     BY MR. DEAN:
16            Q.     Well, you relied upon that up until the
17     time you issued your report to support certain
18     opinions about volatilization.               And after
19     Dr. Sabatini provided his report, you then went
20     back out there February 11 and did your work
21     including filling a water buffalo; right?
22                   MS. O'LEARY:        Object to foundation.
23                   THE WITNESS:        When I made my calculation
24     for the fill up of a water buffalo, I had a
25     diagram of a water buffalo and I filled it up

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1      through the filler pipe for my calculation.                     And
2      then I made that calculation.               And then I just saw
3      the expert report that rebutted my report by
4      Dr. Sabatini in which he basically agrees with me
5      on the methodologies.            But there he just also
6      included two affidavits that I had seen before
7      that says that the water buffaloes, at least some
8      of them, were filled up through the manhole.                      I
9      understand that, and that one of the reasons I
10     went back to the base to basically evaluate that.
11     BY MR. DEAN:
12            Q.     When you issued your report in
13     December 2024, December 9, 2024 when you issued
14     your original report, did you do anything at that
15     time to verify any of the data in Dr. Brigham's
16     report?
17                   MS. O'LEARY:        Object to foundation.
18                   THE WITNESS:        I wrote my report.
19     BY MR. DEAN:
20            Q.     Can you answer my question yes or no.
21                   Did you do anything to verify his data
22     when you first saw his report before you prepared
23     yours?
24                   MS. O'LEARY:        Object to form and
25     foundation.

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1                    THE WITNESS:        I did not do anything to
2      verify Dr. Brigham report, which basically came at
3      the same time as mine.            And I made my calculation
4      as I explained in my report.
5      BY MR. DEAN:
6             Q.     In your report, you did your
7      calculations based on Dr. Brigham's report saying
8      that they were filled through the filler neck;
9      right?
10                   MS. O'LEARY:        Object to foundation.
11                   THE WITNESS:        You will have to show me
12     where and what Dr. Brigham says about that if he
13     said it as you tried to insinuate, that they were
14     only filled up through the filler.                I don't recall
15     reading that.         So you have to show me that, and I
16     will be able to answer.
17     BY MR. DEAN:
18            Q.     You assumed when you wrote your report
19     on volatilization issues about the water buffaloes
20     you relied on Dr. Brigham's report.                   And I can
21     represent to you he says in the report they were
22     filled through the filler neck, and that's what
23     you have in your report.
24                   MS. O'LEARY:        Object to foundation.
25                   THE WITNESS:        You have to show me

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1      Dr. Brigham's report where he says that because I
2      don't recollect that specifically, not that it
3      really matter for my opinion.
4      BY MR. DEAN:
5              Q.     So you go back and you do this work.
6      How does that either change your opinions about
7      how these water buffaloes were -- the
8      volatilization of the water buffaloes?
9              A.     You are going to have volatilization
10     losses when a water buffalo is being filled up.
11             Q.     Let me ask you this.
12             A.     I am not finished.
13             Q.     Let me withdraw the question.
14             A.     I am not finished.
15             Q.     I'm withdrawing the question.                It's my
16     question.       I'm trying to get us out of here on a
17     timely basis.         Okay?
18                    Did you do any work before you issued
19     your first report to that determine how long it
20     takes to fill a water buffalo either through the
21     filler neck or the manhole cover?
22             A.     I didn't make a specific calculation
23     because I didn't have time of fill up.                    But my
24     understanding was that it goes relatively fast
25     because we are dealing with big filling pipes or

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1      hoses, if you wish.           They are not a garden hose.
2      Those hoses are full pressure hoses that can
3      deliver 100, 200 gallon per minute.
4             Q.     You went back on February 11 and you
5      evidently filled up a water buffalo with a hose
6      because I've seen in it photos; right?
7             A.     I did not fill it up myself.               I
8      witnessed the fill-up of a water buffalo by the
9      base personnel.
10            Q.     Did you time -- not time -- did you
11     videotape the filling of the water tank?
12            A.     I did not videotape it.            I took many
13     pictures as it was being filled up.                   And I did
14     time the time it took to fill up that water
15     buffalo at that stage.
16            Q.     What did you use to record that time?                     A
17     watch?      A stopwatch?
18            A.     I asked specifically counsel stopwatch.
19     And I said start and at the end I say end.                      And I
20     was on the top of the water buffalo taking
21     pictures.
22            Q.     Did you record somehow that stopwatch by
23     the Department of Justice employee or lawyer to
24     see if they actually started and stopped the watch
25     when you told them to?            Did you do anything to

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1      record this timing of the filling?
2             A.     It was reported to me as 3 minutes and
3      23 seconds, which is consistent with whatever
4      Dr. Sabatini says about filling up through a
5      manhole.
6             Q.     When you did this experiment or document
7      the timing, did they fill it through the filler
8      neck or the manhole cover?
9             A.     It was filled through the manhole.
10            Q.     And did you all tell him how to fill the
11     water buffalo?
12            A.     I did not.
13            Q.     Did he stay on top of the water buffalo
14     holding on the hose for the 3 minutes and 23
15     seconds to fill the water buffalo?
16                   MS. O'LEARY:        Object to form.
17                   THE WITNESS:        Who is "he"?
18     BY MR. DEAN:
19            Q.     Whoever filled the water buffalo as
20     shown in the photos.
21            A.     Yes.     There two personnel from the base,
22     two Navy Marines.          And one of them was basically
23     holding the hose and filling up.                The other one
24     was basically handling the shutoff valve and
25     shut-on valve.         I was on the other side of the

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1      water buffalo observing and taking pictures.
2             Q.     Did you have an iPhone that you were
3      taking picture on?
4             A.     I think I took them with my company
5      camera.
6             Q.     Did you have the capacity, you or the
7      DOJ lawyer with you, to record the video if you
8      had wanted to?
9             A.     Well, I took a lot of pictures of that
10     filling up.
11            Q.     Could you have videotaped it if you
12     wanted to?
13            A.     I was not permitted to videotape.                 I
14     wanted to take photographs and I did.                  And for me
15     as an expert for that, this is sufficient
16     information to support my conclusions.
17            Q.     My question is not that.
18                   Did your phone have the capability or
19     the DOJ's lawyer to videotape?
20            A.     My private phone has that capability.
21            Q.     So when you had the Marine stick the
22     hose, did he hold it up at a certain level, or did
23     he drop it all the way into the tank?                  How did he
24     handle the hose?
25            A.     My recollection, and that can be seen on

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1      the pictures.         Basically the hose is partially
2      inside, but it's still under water.                   It is above
3      the water level in the tank.
4              Q.    Well, did he start with the hose all the
5      way at the bottom and then pull it up as it comes
6      out, or did he leave it in there and let the water
7      buffalo fill up and then when it got to the top,
8      pulled it out then?           How did he handle the hose?
9              A.    He was holding the hose, to the best of
10     my recollection, and that's documented in the
11     picture.      The end of the hose, if you wish, was
12     basically always above the water level in the
13     tank.
14                   I want to say one more thing.               It is
15     possible that some of the picture I took with my
16     cell phone because at the time, there was some --
17     because it was cold and raining, if I recall, you
18     get some fog on the camera I had.                So I don't know
19     if it was -- that's kind of what I recall.                     I
20     wanted to put that in the record.
21             Q.    Let's move to different subject.                 NRC
22     review report issued in 2009, did you play any
23     role in any aspect of the start of that report,
24     assisting with getting -- identifying who might be
25     a good person to be the panel?

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1                    Did you have any discussions with
2      anyone, whether it be someone with the Marines or
3      the NRC, a lady named Susan Martel whose
4      deposition you read.           Did you talk to anybody
5      about the formation of that committee back in
6      2006, '7, '8?
7             A.     I do not recall such discussion, and I
8      don't know that person Martel you mentioned is.
9      You suggested that I read that deposition.                     I do
10     not know.       You will have to show it to me.
11            Q.     You don't remember reading Susan
12     Martel's as you sit there today?
13            A.     As I sit here today, I have read a lot
14     of depositions and I do not associate names, this
15     name, to anything that I have seen unless you were
16     to show me the documents you are talking about.
17            Q.     How many water modeling hydrogeology
18     experts do you remember that served on that NRC
19     committee panel?
20            A.     I have no recollection or understanding
21     of that.
22            Q.     Let's talk about travel time of
23     contaminants at TT-26.            In your report 5-15 -- I
24     believe your report is Exhibit 3 -- 5-15 you say
25     it's 15 to 25 years travel time for PCE from the

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1      dry cleaners to TT-26; right?
2                    MS. O'LEARY:        Object to foundation.
3                    THE WITNESS:        Can you repeat, please?
4      BY MR. DEAN:
5              Q.    Yeah.     Let me ask you a question I
6      forgot to ask you at the end of the last one about
7      the water buffalo.
8                    I didn't see anything.            You haven't done
9      any new calculation based on the observations you
10     made when you were filling the water buffalo on
11     2/11?
12             A.    I have not done calculations, but I have
13     basically looked at some EPA information that
14     gives information on, for example, when I saw the
15     water buffalo being filled up with aeration, I
16     say, well, the best comparison to that would be
17     faster fill-up, but it would be much less
18     aeration, if you wish, because I have seen
19     bathtubs being filled up.
20                   And I considered that, and I say, well,
21     with the large amount of aeration that I observed
22     when the water buffalo was filled up in 3 minutes
23     and 23 seconds or so for 400 gallons, you have a
24     lot of aeration.          And I estimated that, yeah,
25     substantial loss that is comparable to what I

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1      calculated for the strainer.               That's basically --
2      I didn't do calculations, but I did for myself an
3      evaluation of that.
4      BY MR. DEAN:
5              Q.      So travel time for contaminants at
6      TT-26, on page 5-14, you state, "The release of
7      waste materials containing PCE at ABC Cleaners was
8      gradual."        Okay?     Do you see that?
9              A.      I don't see that, but I believe I say
10     that.        Can you tell me where it is?
11             Q.      Second sentence in the last paragraph at
12     the bottom.           "ABC Cleaners started operations in
13     mid 1954.        The release of waste materials
14     containing PCE at ABC Dry Clearance was gradual."
15     Footnote 86.           And you're citing to a North
16     Carolina Department of Resources Community
17     Development report by Rick Shiver.
18                     Do you see that?
19             A.      I see that.
20             Q.      And then page 5-15, you opine in the
21     bottom paragraph that the PCE travel time between
22     ABC Dry Cleaners and TT-26 are in the 15 to
23     25-year range.           And you've got a chart on page
24     5-16 where you -- the next page, Dr. Hennet --
25     where you illustrate in Exhibit 3-1 those travel

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1      times.
2                    Do you see that?
3             A.     Yes.     That's an illustration.            And
4      details of this is provided as an attachment to my
5      report.
6             Q.     How did you choose those three travel
7      pathways at 25, 20 and 15?
8             A.     Well, I calculated the time it would
9      take for the contaminant PCE dissolved in
10     groundwater to travel to the well from ABC
11     Cleaner, and I used as a basis a simplified setup
12     which is the same as the ATSDR model used, the
13     same layers, the same thickness of each layer, the
14     same permeability in each layer and such.
15                   And what I did as a hydrogeologist and a
16     geochemist, I applied the fundamental equations of
17     formulas of evaluating fate and transport when you
18     don't have data to illustrate that basically you
19     can get answers that are different from what ATSDR
20     has done as far as the travel time that are as
21     valid and even more in this case, because ATSDR
22     made mistakes and errors in what they did at
23     Tawara Terrace on the parameters.
24                   I used parameters that were the same as
25     in the Hadnot Point model, and I used to calculate

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1      the retardation for those travel time.                   I relied
2      on the site-specific data that the ATSDR did not
3      consider even though it did exist.
4                    So nobody knows what happened in the
5      domain where you have no data with any degree of
6      reasonable scientific certainty.                You have many
7      ways that you can calculate travel times to arrive
8      to a well.
9                    The thing I want to say, in this case,
10     you are trying to calculate travel times for a
11     period of 30 years during which you have zero data
12     for the contamination arriving at the well.                     And
13     you have two or three years -- well, you have some
14     data, and that data is a huge portal, if you wish,
15     because it has a huge range.              It goes from zero to
16     hundreds.
17                   So ultimately you have many ways to get
18     through that portal.           This is one way.          This way
19     here, is there's no fundamental error like in like
20     ATSDR has.       It's a Tawara Terrace model.               And it
21     is actually something that is -- that I would rely
22     on to give you what is a range, a reasonable
23     range, and that's what I did.
24            Q.     How, if at all, did your methodology
25     take into account the cone of depression that

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1      develops around a pumping well which causes the
2      losses to increase in the direction of the well?
3             A.     In this calculation here that is
4      basically summarized on this figure, I considered
5      ATSDR water level that they use in their model for
6      both layer one and layer three.                And I derived
7      congruent gradient from that.
8                    Now, it is true that the closer to you
9      get to the well, you have what is called a cone of
10     depression, and that cone of depression for
11     potentiometric values would be in layer three
12     because that's where the well is pumping, and it
13     will be less marked in layer one.
14                   So you have several things that you can
15     say that would slightly accelerate or diminish
16     those travel time, if you wish, but you have other
17     things that would actually make them longer.                       The
18     thing that would accelerate potentially would be
19     as us you get very close to the well, you
20     accelerate.           But before you get it close to the
21     well, you have a long way to go.                 That's the first
22     thing.
23                   The second thing would be you could have
24     dispersion that is not in this calculation.
25     Nobody knows what the dispersion is, but that

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1      would accelerate this as well somewhat.                   On the
2      other end, on the other end, things that would
3      actually elongate the time of travel are two major
4      things.      The first one --
5             Q.     Let me withdraw --
6             A.     I am not finished.
7             Q.     I don't know what question you're
8      answering.
9             A.     I am not finished.
10            Q.     I don't know what question you're
11     answering.       That's not what I asked you.               I
12     withdraw the question.            I withdraw the question.
13                   What makes your three path flows
14     representative of what actually occurred with
15     contamination at well TT-26?
16            A.     This is the setup that -- this setup,
17     those layers, the permeability is in each one of
18     those layers.         The thickness of those layers is
19     directly from the ATSDR model.               I am not trying to
20     critique those.         I am just adopting them just to
21     show if you do a calculation in the same framework
22     that the ATSDR model is and you do it without
23     mistakes or errors, you actually can get a
24     representation that is like this.
25                   So it gives you representative travel

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1      time within a large range which is meant to show
2      that you don't have a single model that would tell
3      you the truth because you don't know where the
4      truth is when you don't have data.
5             Q.     What makes the three pathways you chose
6      representative of what occurred at TT-26?
7             A.     Well, similarly to what the ATSDR model
8      represent, you have transport in layer one, and
9      you have transport in layer three.                And in order
10     to go to the well, you have to basically end up in
11     layer three because the well is screened in layer
12     three, not in layer one.
13                   Now, between the source, which is the
14     ABC Cleaner, all the way to the well, you have
15     basically many ways for the groundwater to get
16     there.      You don't go there through one single
17     pathway.      So that's why I choose some pathways,
18     one which would go a short period of time in layer
19     one and some of that contamination would go
20     through the less permeable layer down to layer
21     three and continue in layer three.
22                   I have another pathway that is closer to
23     the well, and I have another pathway that is in
24     between.      Those are basically estimates that give
25     you a range of travel time of this situation.

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1                      (Hennet Exhibit 27 was marked.)
2      BY MR. DEAN:
3              Q.      I'm going to show you -- this is my
4      copy.        I'm only using page 5-16.          It's the same
5      page he's looking at.
6                      MS. O'LEARY:      The report, sure.
7      BY MR. DEAN:
8              Q.      You've got it in front of you.              I'll
9      hand you a copy in a moment, but there's actually
10     four pathways represented here on your chart;
11     right?
12             A.      There are three pathways to the well
13     screen, the well screen where the pumped water
14     goes through.
15             Q.      But isn't it true that one of the
16     pathways which you actually show an arrow -- you
17     just stop the arrow -- one of the pathways that
18     you're not considering is the pathway that ATSDR
19     utilized, and that's as I drew on Exhibit 27 where
20     the contaminants go directly in the aquifer all
21     the way to the well; right?
22             A.      Again --
23             Q.      Is that a possible travel way?
24                     MS. O'LEARY:      Object to form and
25     foundation.

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1                    THE WITNESS:        This is a possible
2      pathway.      That's an extreme pathway.               That will be
3      the fastest of the fastest, and it doesn't go to
4      the screen, as you know.             It goes basically to
5      touch the casing of the well which is basically
6      not accepting water.
7      BY MR. DEAN:
8             Q.     Do you know who Dr. Konikow is?
9             A.     I do know who Dr. Konikow is.
10            Q.     And did you read his report on pages 28
11     and 29 where Dr. Konikow calculated the
12     alternative travel time to be only 3-1/2 to 5
13     years, not the 15 to 25 that you did?
14            A.     You have to show me that.               And I
15     understand he said something like this.                   However,
16     I think it was for groundwater transport, not at
17     all related.
18            Q.     Do you take issue that Dr. Konikow
19     opined in his rebuttal report it was 3-1/2 to 5
20     years he calculated?           Can you and I agree that's
21     what he said in his report?
22            A.     You have to show me his report.
23            Q.     I'm going to represent to you that's
24     what it says.         Do you disagree or have any basis
25     to disagree with Dr. Konikow's calculations, and

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1      if so, what are the bases of your disagreement?
2                    MS. O'LEARY:        Object to foundation.
3                    THE WITNESS:        What do you represent
4      exactly that Dr. Konikow says?
5      BY MR. DEAN:
6             Q.     I'm representing to you that Dr. Konikow
7      calculated an alternative travel time and opined
8      in this case of 3-1/2 to 5 years, not the 15 to 25
9      you calculated.
10            A.     Well, I would disagree with
11     Dr. Konikow's calculation.
12            Q.     Why?
13            A.     Because I made my calculation, and I
14     agree that my calculations are based on
15     site-specific data and they are based the
16     principles of hydrogeology that would allow me to
17     make this calculation that includes the time of
18     travel that it takes for dissolved PCE, which is a
19     compound, a chemical compound in groundwater, and
20     that dissolved PCE is retarded relative to
21     groundwater.
22                   And I took that into consideration, and
23     I focused on the site-specific data.                  I did not
24     make the same errors that the ATSDR did for the
25     Tawara Terrace model.

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1              Q.      So page 5-21 of your report, page 5-21,
2      second sentence, you say in the second sentence
3      "Pumping of well TT-26 was likely not continuous
4      as the well had to be shut down for maintenance
5      and repair."
6                      Do you see that?
7              A.      I see that.
8              Q.      You're aware that ATSDR took into
9      account based on the pumping records when these
10     various wells were on and off; right?
11             A.      ATSDR for well TT-26 took into account
12     two stoppage of the well for maintenance that
13     happened, if I recall, in the 1980s.                   They did
14     that.        But there is no information from before
15     that.
16                     And what ATSDR did in a conservative
17     way, if you wish, was to assume it was always on,
18     never maintained, never stopped, which is wrong
19     because wells that are used for decades, every
20     well needs maintenance or repair.
21             Q.      What evidence do you have, documents,
22     interviews of anybody that you've conducted or
23     review, what factual basis do you have that
24     support a thought, view, your opinion that TT-26
25     had additional shutdown time not accounted for by

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1      ATSDR?
2                    MS. O'LEARY:        Object to form.
3                    THE WITNESS:        My answer to this is ATSDR
4      has no information, and, therefore, they assume
5      something that is not realistic in the real world.
6      BY MR. DEAN:
7             Q.     Do you have any evidence they are wrong?
8             A.     My evidence that they are wrong is that
9      you don't have wells that would be pumped for 30
10     years without being maintained.               That doesn't
11     exist.
12            Q.     You don't have any specific data, any
13     specific documents or specific testimony about
14     specific periods when the wells were shut down;
15     right?
16                   MS. O'LEARY:        Objection to form.
17                   THE WITNESS:        I believe there is some
18     information.          Some capacity test might have been
19     redone.      I don't remember specifically for well
20     TT-26.      But it is not a correct assumption in my
21     field, in the field of hydrogeology, to assume
22     that because you don't know, it was always on.
23     That is not reasonable.
24     BY MR. DEAN:
25            Q.     Have you ever evaluated a contamination

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1      site for human risk?
2             A.     As a geochemist, I do not do human risk.
3      I just do geochemistry.
4             Q.     For the Hadnot Point spiractor, did you
5      measure the fall height under operating conditions
6      with backwater?
7                    MS. O'LEARY:        Object to foundation.
8                    THE WITNESS:        With backwater?         I do not
9      understand what you mean by that.
10     BY MR. DEAN:
11            Q.     When you were there, did you measure the
12     fall height under operating conditions on
13     February 11 when there was any water left in the
14     bottom of the spiractor, tubes, pipes?
15            A.     So that means the spiractor was working?
16            Q.     Correct.
17            A.     I did not do that.
18            Q.     Ever done that at all?
19            A.     Could never have done that there.
20            Q.     Are you aware that 43 percent of Camp
21     Lejeune samples tested for FOC had values less
22     than .0001?
23                   MS. O'LEARY:        Object to foundation.
24                   THE WITNESS:        Show me the data you are
25     talking about because --

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1      BY MR. DEAN:
2              Q.      I'm just asking.
3              A.      .001 of what?
4              Q.      Have you ever been stricken as an
5      expert?
6              A.      I have never been stricken as an expert.
7              Q.      Have you ever had your opinions
8      disregarded by a court in the United States?
9              A.      Among all the testimonies I have done in
10     court, which is 12 or 13, there was one time when
11     one of my answer was actually taken away from the
12     record because I addressed a topic that had
13     already been decided before, and that was
14     basically not -- I should not have talked about
15     that.        And the judge decided that that should be
16     stricken, my response should be stricken because
17     it had been decided before.              And that's what I
18     understand.
19             Q.      You've never had your opinion -- do you
20     remember the name of that case?
21             A.      I believe that case was Titan,
22     T-I-T-A-N, versus -- I think it's versus the
23     United States.
24                     (Hennet Exhibit 28 was marked.)
25

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1      BY MR. DEAN:
2             Q.     You don't believe a judge has ever
3      disregarded your testimony because he believed
4      that you had insufficient data to provide the
5      opinions that you had given?
6             A.     I do not recollect any case like this
7      based on data.
8             Q.     I show you Exhibit 28.            Turn to page 75.
9      Are you on page 75?
10            A.     Yes.
11            Q.     Page 75, look at page footnote 31.                  "The
12     court disregards the testimony of the defense
13     expert Remy Hennet geochemical fingerprints of the
14     PCBs found at the DICO site and those found at the
15     SIM site did not match.            During cross-examination,
16     Hennet admitted he was mistaken concerning the
17     data on which he based that opinion.                  Because the
18     opinion was based on unreliable methods utilizing
19     insufficient facts of data, it is inadmissible
20     under Federal Rule of Evidence 702."
21                   Do you see that?          Did I read that
22     correctly?
23            A.     You read that correctly.
24            Q.     Now, in the middle of the next paragraph
25     after Federal Rule of Evidence 701, the court went

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1      on to say, "In contrast, the court concludes the
2      testimony by defense expert Dr. Remy Hennet that
3      other sources of PCBs were present on the SIM site
4      constituted impermissible expert testimony.                     The
5      court noted the testimony was based on shear
6      speculation rather than sufficient facts or data
7      and was not the product of reliable principles and
8      methods.      Additionally, the court notes the
9      testimony was not supported by personal knowledge
10     or observation as Hennet neither conducted any
11     testing on other items at the SIM site nor
12     observed any labels on other items at the SIM site
13     indicating the presence of PCBs."
14                   Did I read that correct?
15            A.     You read that correct.
16            Q.     Isn't that the same thing you've done in
17     this case?
18            A.     Pardon me?
19            Q.     You speculated, you've not taken into
20     consideration other well pumping information that
21     I've shown you today.            Isn't that true?
22                   MS. O'LEARY:        Object to foundation.
23                   THE WITNESS:        I disagree.
24     BY MR. DEAN:
25            Q.     That court didn't believe anything --

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1      didn't believe or struck your opinions for the
2      reasons I just read to you; right?
3                    MS. O'LEARY:        Object to form.
4      BY MR. DEAN:
5             Q.     That was 2017, September 2017.
6                    MS. O'LEARY:        Object to form.
7                    THE WITNESS:        Yes, I remember that case.
8      And I think, you know, for that case there was
9      very little information, and it was basically --
10     that was the case.           That's the way it went.            And
11     the judge made his decision.
12                   (Hennet Exhibit 29 was marked.)
13     BY MR. DEAN:
14            Q.     I'll show you what I marked as
15     Exhibit 29 and 30.           Exhibit 29, is this the
16     affidavit you referred to earlier regarding Baby
17     Washington?
18                   MS. O'LEARY:        Object to foundation.
19     BY MR. DEAN:
20            Q.     Is this your report you issued 5 years
21     ago, 4-1/2 years ago, December 22, 2020 expert
22     report Remy Hennet, In Re:              Baby Washington case?
23            A.     It looks like it.          I haven't looked at
24     it in a while, but it looks like it's my expert
25     report, not an affidavit.

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1              Q.    And this was in a Camp Lejeune case
2      pending back in 2020 when you issued this report?
3                    MS. O'LEARY:        Object to foundation and
4      form.
5                    THE WITNESS:        That was one case, one
6      litigation that basically was -- that is basically
7      some correlation to basically Camp Lejeune.
8      BY MR. DEAN:
9              Q.    And in the bottom paragraph on page 1,
10     last full paragraph, you say, "The opinions
11     presented in this report were reached by applying
12     accepted methods in the fields of hydrogeology,
13     geochemistry and environmental sciences.                    Opinions
14     expressed in the report are my own based on my
15     education, my training, my experience and the
16     documents, the information, the photographs, the
17     diagrams, the data and the facts available to me
18     at the time of the writing.              I hold these opinions
19     to a reasonable degree of scientific certainty."
20                   Did I read that correctly?
21             A.    You read that correctly.
22             Q.    And on page 3, next to the bottom
23     paragraph, did you write, "The ATSDR conducted a
24     detailed review of the available data and the
25     information and of the history and contamination

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1      of the base water systems.              (See, for example,
2      Faye and Venezuela 2007; Sautner, et al., 2013)."
3                    Did I read that correctly?
4             A.     You did read that correctly.
5             Q.     You didn't just cite to them.               You said
6      they conducted a detailed review; right?
7                    MS. O'LEARY:        Object.
8                    THE WITNESS:        Yes, I did.
9      BY MR. DEAN:
10            Q.     Turn to page 10, opinion number three,
11     you opined that Holcomb Boulevard water supply
12     wells weren't contaminated during the time period
13     when Rhonda Bell resided on base; did you not?
14            A.     It speaks for itself.
15            Q.     And in the first paragraph, does it
16     read, "The main monthly contaminant concentrations
17     in the Holcomb Boulevard water supply over the
18     period of the relevant" --
19                   MS. O'LEARY:        I'm sorry.      We're at time.
20                   MR. DEAN:       Let me finish this sentence.
21     BY MR. DEAN:
22            Q.     Did you state, "The mean monthly
23     contaminant concentrations in the Holcomb
24     Boulevard water supply over the period of
25     relevance to the complaint as shown in Exhibit C,"

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1      and you relied upon those in opining Ms. Bell was
2      not there when there was contamination?
3             A.     That's at Holcomb Boulevard, and I agree
4      with the ATSDR that the Holcomb Boulevard was not
5      contaminated with the exception of a very short
6      period of time as discussed in my expert report.
7             Q.     You utilized, relied upon that work,
8      ATSDR work and those reports when you signed this
9      affidavit, this report in 2020; right?
10            A.     I did rely.
11            Q.     Did you have time --
12                   MS. O'LEARY:        I'm sorry.      That's your
13     third question now.
14                   THE WITNESS:        Can I answer?
15     BY MR. DEAN:
16            Q.     Yeah, if you answer my question.                 Yes or
17     no.    Did you rely --
18            A.     You cannot jump on me and just confuse
19     me.
20            Q.     Yes or no.       Did you rely upon ATSDR mean
21     monthly concentration data in order to opine that
22     Ms. Bell was not on base at a time period when
23     contamination existed at Holcomb Boulevard?                     Did
24     you opine that?
25            A.     Well, my report speaks for itself.

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1              Q.      And you did opine on that issue using
2      ATSDR's work; correct?
3              A.      I considered the ATSDR work.             It is not
4      the same --
5                      MS. O'LEARY:      I'm sorry.      We're
6      finished.
7                      THE WITNESS:      It is not the same as what
8      I did for this case.
9                      MS. O'LEARY:      We've gone over seven
10     hours, and this deposition is finished.
11     BY MR. DEAN:
12             Q.      Did you have an opportunity --
13                     MS. O'LEARY:      You don't have to answer.
14     BY MR. DEAN:
15             Q.      Did you have an opportunity to review
16     and do the same work you've done in this case at
17     that time that you wanted to?               Can you answer my
18     question?
19             A.      I am advised by counsel that it's out of
20     time.        I don't have to answer.
21             Q.      And you're not going to answer my
22     question?
23                     MS. O'LEARY:      I'm instructing you not to
24     answer.
25                     THE WITNESS:      I did answer your

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1      question.        My report stands for itself.
2      BY MR. DEAN:
3              Q.      No.   My question was -- last question I
4      asked you was:         Did you have an opportunity to do
5      the same work you did in this case back before you
6      did that report if you wanted to?
7                      MS. O'LEARY:      I'm instructing you not to
8      answer.
9                      MR. DEAN:     Can we put on the record that
10     Ms. O'Leary has instructed this witness not to
11     answer my last question.             What time is it?
12                     MS. O'LEARY:      Can we put on the
13     record --
14                     MR. DEAN:     What's the time?
15                     THE VIDEOGRAPHER:        7 hours and 3
16     minutes.
17                     MR. DEAN:     7 hours and 3 minutes.
18     Ms. O'Leary has instructed this witness not to
19     answer my final question.
20                     Thank you for being here, sir.              I wish
21     you'd answer my question, but thank you for the
22     time.        That's all I have at this time.
23                     THE VIDEOGRAPHER:        We are off the record
24     at 1742.
25                     (Whereupon, at 5:42 p.m., the taking of

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1      the instant deposition ceased.)
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1      COMMONWEALTH OF PENNSYLVANIA              )
2      COUNTY OF ALLEGHENY                       )           SS:
3                            C E R T I F I C A T E
4                    I, Ann Medis, RPR, CLR, CSR-WA and
5      Notary Public within and for the Commonwealth of
6      Pennsylvania, do hereby certify:
7                    That REMY J.-C. HENNET, PH.D, the
8      witness whose deposition is hereinbefore set
9      forth, was duly sworn by me and that such
10     deposition is a true record of the testimony given
11     by such witness.
12                   I further certify the inspection,
13     reading and signing of said deposition were not
14     waived by counsel for the respective parties and
15     by the witness.
16                   I further certify that I am not related
17     to any of the parties to this action by blood or
18     marriage and that I am in no way interested in the
19     outcome of this matter.
20                   IN WITNESS WHEREOF, I have hereunto set
21     my hand this 19th day of March, 2025.
22
23                                  <%13877,Signature%>
                                  _______________________________
24                                             Notary Public
25

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1      COMMONWEALTH OF PENNSYLVANIA             )    E R R A T A
       COUNTY OF ALLEGHENY                      )     S H E E T
2
3      I, REMY J.-C. HENNET, PH.D, have read the
       foregoing pages of my deposition given on
4      March 20, 2025, and wish to make the following, if
       any, amendments, additions, deletions or
5      corrections:
6
       Page    Line     Change and reason for change:
7
       ____    ____     __________________________________
8
       ____    ____     __________________________________
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15
       ____    ____     __________________________________
16
       ____    ____     __________________________________
17
       ____    ____     __________________________________
18
19     In all other respects, the transcript is true and
       correct.
20
21                                ____________________________
                                  REMY J.-C. HENNET, PH.D
22
23     _______ day of ________________, 2025.
24     ______________________________________
                   Notary Public
25

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1                         GOLKOW, a Veritext Division
                               One Liberty Place
2                        1650 Market Street, Suite 5150
                       Philadelphia, Pennsylvania 19103
3                                 877.370.3377
4
              March 26, 2025
5
6
              Allison O'Learly, Esquire
7             U.S. Department of Justice
              1100 L Street NW
8             Washington, DC 20005
9             Re: Deposition of REMY J.-C. HENNET, PH.D
                   Notice of Non-Waiver of Signature
10
              Dear Ms. O'Leary:
11
              Please have the deponent read his deposition
12            transcript. All corrections are to be noted on
              the Errata Sheet.
13
              Upon completion of the above, the Deponent must
14            affix his signature on the Errata Sheet, and it is
              to then be notarized.
15
              Please forward the signed original of the Errata
16            Sheet to Kevin R. Dean, Esquire for attachment to
              the original transcript, which is in his
17            possession. Send a copy of same to all counsel.
18            Please return the completed Errata Sheet within 30
              days of receipt hereof.
19
              Sincerely,
20
21
              Ann Medis, RPR, CLR, CSR-WA
22
23            cc:
24
25            Kevin R. Dean, Esquire

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                   Federal Rules of Civil Procedure

                                   Rule 30



      (e) Review By the Witness; Changes.

      (1) Review; Statement of Changes. On request by the

      deponent or a party before the deposition is

      completed, the deponent must be allowed 30 days

      after being notified by the officer that the

      transcript or recording is available in which:

      (A) to review the transcript or recording; and

      (B) if there are changes in form or substance, to

      sign a statement listing the changes and the

      reasons for making them.

      (2) Changes Indicated in the Officer's Certificate.

      The officer must note in the certificate prescribed

      by Rule 30(f)(1) whether a review was requested

      and, if so, must attach any changes the deponent

      makes during the 30-day period.




      DISCLAIMER:       THE FOREGOING FEDERAL PROCEDURE RULES

      ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

      THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

      2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

      OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.




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       COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

 Veritext Legal Solutions represents that the

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 transcript of the colloquies, questions and answers

 as submitted by the court reporter. Veritext Legal

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 attorneys in relation to this deposition and that

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